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                                                                                                                                                                                                                                       LOCATION MAP

                                                                                                                                                                                                                       LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                               Limits of D isturbance

                                                                                                                                                                                                                               Watercou rse

                                                                                                                                                                                                                               Stormw ater Feature (SF)

                                                                                                                                                                                                                               Wetland

                                                                                                                                                                                                                               Man-Induced Wetland (MIW)

                                                                                                                                                                                                                               Ope n-End
                                                                                                                                                                                                                       Estim ated Im pact Area
                                                                                                                                                                                                                               Transient
                                                                                                                                                                                                                               Habitat A lteration
                                                                                                                                                                                         W-MAB-001
                                                                                                                                                                                                                               Fill or Dredge
                                                                                                                                                                                                                               A-1 Polygon
                                                                                                                                                                                                                               A-2 Polygon

                                                                                                                                                                                                                               A-2 Impact


                                                                                                                                                                                            W-MAB-001



                                                                                                                                                                                                                           0                   150                 300

                                                                                                                                                                                                                                              Feet
                                                                                                                                                                                                                                   0            30           60


                                                                                                                                         Resource: Akita (P EM)                       Resource: Akita (P EM)                                  Meters
                                                                                                                                           Impact Type: Fill or Dredge                  Impact Type: Fill or Dredge
                                                                                                                                           Impact Area: 1.280 acres                     Impact Area: 0.530 acres
                                                                                                                                           Polygon Type: A-2                            Polygon Type: A-1                                 BASE MAP SOURC E:
                                                                                                                                                                                                                        NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                          RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                        FIELD OFFIC E, 20191108


                                                                                                                                                                                                                          CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                AKITA BRA PAD
                                                                                                                                                                                                                                  SITE PLAN
                                                                                                                                                                                                                      DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                      Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 2 of 116

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                                                                                                                                                                                                                            LOCATION MAP

                                                                                                                                                                                                            LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                    Limits of D isturbance

                                                                                                                                                                                                                    Watercou rse

                                                                                                                                                                                                                    Stormw ater Feature (SF)

                                                                                                                                                                                                                    Wetland

                                                                                                                                                                                                                    Man-Induced Wetland (MIW)

                                                                                                                                                                                                                    Ope n-End
                                                                                                                                                                                                            Estim ated Im pact Area
                                                                                                                                                                                                                    Transient
                                                                                                                                                                                                                    Habitat A lteration
                                                                                                                                                                                                                    Fill or Dredge
                                                                                                                                                                                                                    A-1 Polygon
                                                                                                                                                                                                                    A-2 Polygon

                                                                                                                                                                                                                    A-2 Impact




                                                                                                                                                                                                                0                   150                 300

                                                                                                                                                                                                                                   Feet
                                                                                                                                                                                                                        0            30           60

                                                                                                                                                                                                                                   Meters



                                                                                                                                                                                                                               BASE MAP SOURC E:
                                                                                                                                                                                                             NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                               RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                             FIELD OFFIC E, 20191108


                                                                                                                                                                                                              CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                  CRANRUN BRA PAD
                                                                                                                                                                                                                      SITE PLAN
                                                                                                                                                                                                          Resource: S -WR A-003 (PER )
                                                                                                                                                                                                            Impact
                                                                                                                                                                                                           DATE:     Type: Fill or Dredge
                                                                                                                                                                                                                 12/18/2020         1 INCH = 150 FEET
                                                                                                                                                                                                            Impact Length: 73 feet
                                                                                                                                                                                                            Polygon Type: A-2
                                                                                                                                      Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 3 of 116

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                                                                                                                                                                                                                               LOCATION MAP

                                                                                                                                                                                                               LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                       Limits of D isturbance

                                                                                                                                                                                                                       Watercou rse

                                                                                                                                                                                                                       Stormw ater Feature (SF)

                                                                                                                                                                                                                       Wetland

                                                                                                                                                                                                                       Man-Induced Wetland (MIW)

                                                                                                                                                                                                                       Ope n-End
                                                                                                                                                                                                               Estim ated Im pact Area
                                                                                                                                                                                                                       Transient
                                                                                                                                                             SF-WRA-001
                                                                                                                                                                                                                       Habitat A lteration
                                                                                                                                                                                                                       Fill or Dredge
                                                                                                                                                                                                                       A-1 Polygon
                                                                                                                                                                                                                       A-2 Polygon

                                                                                                                                                                                                                       A-2 Impact




                                                                                                                                                                                                                   0                   150                 300

                                                                                                                                                                                                                                      Feet
                                                                                                                                                                                                S-W RA-001A                0            30           60

                                                                                                                                                                                                                                      Meters


                                                                                                                                               Resource: S -WR A-003 (PER )
                                                                                                                                                 Impact Type: Fill or Dredge
                                                                                                                                                                                                                                  BASE MAP SOURC E:
                                                                                                                                                                                   S-W RA-003                   NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                 Impact Length: 73 feet                                           RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                FIELD OFFIC E, 20191108
                                                                                                                                                 Polygon Type: A-2
                                                                                                                                                                                                                  CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                   S-W RA-002
                                                                                                                                                                                                                      CRANRUN BRA PAD
                                                                                                                                                                                                                          SITE PLAN
                                                                                                                                                                                                              DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                               Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 4 of 116

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                                                                                                                                                                                                                                                    LOCATION MAP

                                                                                                                                                                                                                                    LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                            Limits of D isturbance

                                                                                                                                                  S-W RA-004                                                                                Watercou rse

                                                                                                                                                                                                                                            Stormw ater Feature (SF)

                                                                                                                                                                                                                                            Wetland

                                                                                                                                                                                                                                            Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                            Ope n-End
                                                                                                                                                                                                                                    Estim ated Im pact Area
                                                                                                                                                                                                                                            Transient
                                                                                                                                                                                                                                            Habitat A lteration
                                                                                                                                                                                                                                            Fill or Dredge
                                                                                                                                                                                                                                            A-1 Polygon
                                                                                                                                                                                                                                            A-2 Polygon

                                                                                                                                                                                                                                            A-2 Impact
                                                                                                                                      W-WRA-001




                                                                                                                                                                                                                                        0                   150                 300

                                                                                                                                                                                                                                                           Feet
                                                                                                                                                                                                                                                0            30           60

                                                                                                                                                                                                                                                           Meters
                                                                                                                                                                                          W-WRA-001


                                                                                                                                                                                                                                                       BASE MAP SOURC E:
                                                                                                                                                                                                                                     NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                       RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                     FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                       CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                           CRANRUN BRA PAD
                                                                                                                                                                                                                                               SITE PLAN
                                                                                                                                                                                                                                   DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                                  Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 5 of 116

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                                                                                                                                                                                   Resource: S -BJT-001 / S -BJT-002B (INT)
                                                                                                                                      S-B JT-001                                     Impact Type: Transient
                                                                                                                                                                                                                                                                         LOCATION MAP
                                                                                                                                                                                     Impact Length: 57 feet
                                                                                                                                                                                     Polygon Type: A-2
                                                                                                                                                                                                                                                         LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                                                 Limits of D isturbance

                                                                                                                                                                                                                                                                 Watercou rse
                                                                                                                                                                                                             Resource: S -BJT-001 / S -BJT-002B (INT)
                                                                                                                                                                                                               Impact Type: Fill or Dredge                       Stormw ater Feature (SF)
                                                                                                                                                                                                               Impact Length: 454 feet
                                                                                                                                                                                                                                                                 Wetland
                                                                                                                                                                                                               Polygon Type: A-2
                                                                                                                                                                                                                                                                 Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                                                 Ope n-End
                                                                                                                                                                                                                                                         Estim ated Im pact Area
                                                                                                                                                                                                                                                                 Transient
                                                                                                                                                                                                                                                                 Habitat A lteration
                                                                                                                                                                                                                                                                 Fill or Dredge
                                                                                                                                                                                                                                                                 A-1 Polygon
                                                                                                                                                                                                                                                                 A-2 Polygon

                                                                                                                                                                                                                                                                 A-2 Impact




                                                                                                                                                                                                                              MIW-B JT-002
                                                                                                                                                                                                                                                             0                   150                 300

                                                                                                                                                                                                                                                                                Feet
                                                                                                                                                                                                                                                                     0            30           60

                                                                                                                                                                                                                                                                                Meters
                                                                                                                                                                                                                 S-B JT-002
                                                                                                                                                   MIW-B JT-003
                                                                                                                                                                                                                                                                            BASE MAP SOURC E:
                                                                                                                                                                     S-B JT-002B                                                                          NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                                            RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                                          FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                                            CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                                                   CSI BRA PAD
                                                                                                                                                                                                                                                                    SITE PLAN
                                                                                                                                                                                                                                                        DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                                          Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 6 of 116

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                                                                                                                                                                                                 Resource: W-JMG-001 (P EM)
                                                                                                                                                                                                   Impact Type: Fill or Dredge                                 LOCATION MAP
                                                                                                                                                                                                   Impact Area: 0.097 acres
                                                                                                                                                                                                   Polygon Type: A-2                           LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                                       Limits of D isturbance

                                                                                                                                                                                                                                                       Watercou rse

                                                                                                                                                                                                                                                       Stormw ater Feature (SF)
                                                                                                                                      Resource: W-JMG-001 (P FO)
                                                                                                                                        Impact Type: Habitat Alteration                                                                                Wetland
                                                                                                                                        Impact Area: 0.024 acres
                                                                                                                                                                                                                                                       Man-Induced Wetland (MIW)
                                                                                                                                        Polygon Type: A-1
                                                                                                                                                                                                                                                       Ope n-End
                                                                                                                                                                                                                                               Estim ated Im pact Area
                                                                                                                                                                                                                                                       Transient
                                                                                                                                                                                                                                                       Habitat A lteration
                                                                                                                                        W-JMG-001
                                                                                                                                                                                                                                                       Fill or Dredge
                                                                                                                                                                                                                                                       A-1 Polygon
                                                                                                                                                                                                                                                       A-2 Polygon

                                                                                                                                                                                                                                                       A-2 Impact




                                                                                                                                                                                                                                                   0                   150                 300
                                                                                                                                         W-JMG-001
                                                                                                                                                                                                                                                                      Feet
                                                                                                                                                                                                                                                           0            30           60

                                                                                                                                                                                                                                                                      Meters



                                                                                                                                                                                                                                                                  BASE MAP SOURC E:
                                                                                                                                                                                                                                                NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                                  RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                                FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                                  CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                                        EDF WYO PAD
                                                                                                                                                                                                                                                          SITE PLAN
                                                                                                                                                                                                                                              DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                              Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 7 of 116

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                                                                                                                                                  W-RCL-001
                                                                                                                                      W-RCL-002                      Resource: W-RCL-001 (PEM)
                                                                                                                                                                       Impact Type: Transient
                                                                                                                                                                       Impact Area: 0.032 acres                                                    LOCATION MAP
                                                                                                                                                                       Polygon Type: A-1
                                                                                                                                                                                                                                   LEGEND (FEATURES WHEN PR ESENT)
                                                                                                                                                                          Resource: W-RCL-001 / W-RC L-002 (P EM)                          Limits of D isturbance
                                                                                                                                                                            Impact Type: Fill or Dredge
                                                                                                                                                                            Impact Area: 0.072 acres                                       Watercou rse
                                                                                                                                                                            Polygon Type: A-2                                              Stormw ater Feature (SF)

                                                                                                                                                                                                                                           Wetland
                                                                                                                                                                              Resource: W-RCL-002 (PEM)
                                                                                                                                                                                Impact Type: Transient                                     Man-Induced Wetland (MIW)
                                                                                                                                                                                Impact Area: 0.073 acres
                                                                                                                                                                                                                                           Ope n-End
                                                                                                                                                                                Polygon Type: A-1
                                                                                                                                                                                                                                   Estim ated Im pact Area
                                                                                                                                                                                                                                           Transient
                                                                                                                                                                             Resource: W-RCL-002 (PEM)                                     Habitat A lteration
                                                                                                                                                                               Impact Type: Fill or Dredge
                                                                                                                                                                               Impact Area: 0.119 acres                                    Fill or Dredge
                                                                                                                                                                               Polygon Type: A-2                                           A-1 Polygon
                                                                                                                                                                                                                                           A-2 Polygon

                                                                                                                                                                                                                                           A-2 Impact




                                                                                                                                                                                                                                       0                   150                 300

                                                                                                                                                                                                                                                          Feet
                                                                                                                                                                                           W-RCL-003
                                                                                                                                                                                                                                               0            30           60

                                                                                                                                                                                                                                                          Meters



                                                                                                                                                                                                                                                      BASE MAP SOURC E:
                                                                                                                                                                                                                                    NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                      RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                    FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                      CHESAPEAKE APPALACHIA LLC
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                                                                                                                                                                                                                                           EILEEN BRA PAD
                                                                                                                                                                                                                                              SITE PLAN
                                                                                                                                                                                                                                  DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                                                   Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 8 of 116




                                                                                                                                                                           W-WRA-002
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                                                                                                                                                               W-WRA-003


                                                                                                                                                                                                                   Resource: W-WRA-001 / W-WRA-002 / W-WRA-003 (PEM)
                                                                                                                                                                                                                     Impact Type: Fill or Dredge
                                                                                                                                                                                                                                                                                        LOCATION MAP
                                                                                                                                                                                                                     Impact Area: 0.195 acres
                                                                                                                                                                                                                     Polygon Type: A-2
                                                                                                                                                                                                                                                                        LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                                                                Limits of D isturbance
                                                                                                                                      Resource: W-WRA-001 (P EM)
                                                                                                                                        Impact Type: Transient                                                                                                                  Watercou rse
                                                                                                                                        Impact Area: 0.055 acres                                                                                                                Stormw ater Feature (SF)
                                                                                                                                        Polygon Type: A-1
                                                                                                                                                                                                                                                                                Wetland

                                                                                                                                                                                                                                                                                Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                                                                Ope n-End
                                                                                                                                                                                                                                                                        Estim ated Im pact Area
                                                                                                                                                                                                                                                                                Transient
                                                                                                                                                                                                                                                                                Habitat A lteration
                                                                                                                                                                                                                                                                                Fill or Dredge
                                                                                                                                                 W-WRA-001
                                                                                                                                                                                                                                                                                A-1 Polygon
                                                                                                                                                                                                                                                                                A-2 Polygon

                                                                                                                                                                                                                                                                                A-2 Impact




                                                                                                                                                                                                                                                                            0                   150                 300

                                                                                                                                                                                                                           MIW-W RA-001                                                        Feet
                                                                                                                                                                                                                                                                                    0            30           60

                                                                                                                                                                                                                                                                                               Meters



                                                                                                                                                                                                                                                                                           BASE MAP SOURC E:
                                                                                                                                                                                                                                                                         NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                                                           RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                                                         FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                                                           CHESAPEAKE APPALACHIA LLC
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                                                                                                                                                                                                                                                                                FRISBEE BRA PAD
                                                                                                                                                                                                                                                                                    SITE PLAN
                                                                                                                                                                                                                                                                       DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                                                                    Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 9 of 116




                                                                                                                                           Resource: W-GJM-006 (P EM)
                                                                                                                                             Impact Type: Fill or Dredge
                                                                                                                                             Impact Area: 0.283 acres
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                                                                                                                                             Polygon Type: A-2

                                                                                                                                                                                                                              Resource: W-GJM-006 (P FO)
                                                                                                                                                                                                                                Impact Type: Habitat Alteration
                                                                                                                                                                                                                                Impact Area: 0.010 acres                                                                            LOCATION MAP
                                                                                                                                                                                                                                Polgyon Type: A-1
                                                                                                                                                                                                                                                                                                                    LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                   Resource: W-GJM-007 (P FO)                                                               Limits of D isturbance
                                                                                                                                                                                                                                     Impact Type: Habitat Alteration
                                                                                                                                      W-GJM-006                                                                                                                                                                             Watercou rse
                                                                                                                                                                                                                                     Impact Area: 0.026 acres
                                                                                                                                                                                                                                     Polygon Type: A-1                                                                      Stormw ater Feature (SF)

                                                                                                                                                                                                                                                                                                                            Wetland
                                                                                                                                                                                                                                      Resource: W-GJM-007 (P EM)                                                            Man-Induced Wetland (MIW)
                                                                                                                                                                                                                                        Impact Type: Fill or Dredge
                                                                                                                                                                                                                                        Impact Area: 0.115 acres                                                            Ope n-End
                                                                                                                                                                                                                                        Polygon Type: A-2                                                           Estim ated Im pact Area
                                                                                                                                      W-GJM-006                                                                                                                                                                             Transient
                                                                                                                                                                                                                                                                                                                            Habitat A lteration
                                                                                                                                                                                                                                                                                                                            Fill or Dredge
                                                                                                                                                                                                                                                                                                                            A-1 Polygon
                                                                                                                                                    W-GJM-007                                                                                                                                                               A-2 Polygon

                                                                                                                                                                                                                                                                                                                            A-2 Impact
                                                                                                                                                         W-GJM-007
                                                                                                                                                                                                                                                 MIW-GJM-002

                                                                                                                                                                                                                                                                       Resource: Goll_1 (P EM)
                                                                                                                                                                                                                                                                         Impact Type: Fill or Dredge                    0                   150                 300
                                                                                                                                                                   Resource: Goll_4 (P EM)                                                                               Impact Area: 0.010 acres
                                                                                                                                                                     Impact Type: Fill or Dredge                                                W-GJM-009
                                                                                                                                                                                                                                                                         Polygon Type: A-2                                                 Feet
                                                                                                                                                                     Impact Area: 0.050 acres
                                                                                                                                                                                                                                                                                                                                0            30           60
                                                                                                                                                                     Polygon Type: A-2
                                                                                                                                                                                                                                                                                 Resource: W-GJM-001 (P EM)                                Meters
                                                                                                                                                                                                                                                                                   Impact Type: Transient
                                                                                                                                                                               Resource: Goll_3 (P SS)                                                                             Impact Area: 0.049 acres
                                                                                                                                                                                 Impact Type: Transient                                                                            Polgyon Type: A-1
                                                                                                                                                                                                                                                                                                                                       BASE MAP SOURC E:
                                                                                                                                                                                 Impact Area: 0.150 acres                                                                                                            NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                 Polygon Type: A-1                                                                                                                     RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                                                                                                     FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                                                                                                       CHESAPEAKE APPALACHIA LLC
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                                                                                                                                                                                                                                                                                 W-GJM-001
                                                                                                                                                                                                                                                                                                                             GOLL BRA PAD
                                                                                                                                                                                            Resource: Goll_2 (P EM)                                                                                                            SITE PLAN
                                                                                                                                                                                              Impact Type: Fill or Dredge
                                                                                                                                                                                              Impact Area: 0.040 acres                                                             Resource: W-GJM-001 (P EM)      DATE: 12/18/2020               1 INCH = 150 FEET

                                                                                                                                                                                              Polygon Type: A-2                                                                      Impact Type: Fill or Dredge
                                                                                                                                                                                                                            W-GJM-010 (PEM)
                                                                                                                                                                                                                                                                                     Impact Area: 0.081 acres
                                                                                                                                                                                                                                                                                     Polygon Type: A-2
                                                                                                                                                                                                                                  W-GJM-001
                                                                                                                                                                             Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 10 of 116

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                                                                                                                                                                            W-WRA-002




                                                                                                                                                                                                                                                                                     LOCATION MAP
                                                                                                                                                                                                                               MIW-W RA-002
                                                                                                                                                                            W-WRA-002                                                                                LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                                                             Limits of D isturbance

                                                                                                                                                                                                                                                                             Watercou rse

                                                                                                                                                                                                                                                                             Stormw ater Feature (SF)
                                                                                                                                                                                                                          Resource: W-WRA-002 (P EM)                         Wetland
                                                                                                                                                                       W-WRA-002                                            Impact Type: Fill or Dredge
                                                                                                                                                                                                                            Impact Area: 0.184 acres                         Man-Induced Wetland (MIW)
                                                                                                                                       Resource: W-WRA-002 (P FO)                                                           Polygon Type: A-1
                                                                                                                                                                                                                                                                             Ope n-End
                                                                                                                                         Impact Type: Fill or Dredge
                                                                                                                                         Impact Area: 0.740 acres                                                                                                    Estim ated Im pact Area
                                                                                                                                         Polygon Type: A-2
                                                                                                                                                                                                                             Resource: W-WRA-002 (P EM)                      Transient
                                                                                                                                                                                                                               Impact Type: Transient                        Habitat A lteration
                                                                                                                                                                                                                               Impact Area: 0.697 acres
                                                                                                                                                                                                                               Polygon Type: A-1                             Fill or Dredge
                                                                                                                                                                                                                                                                             A-1 Polygon
                                                                                                                                                                                                                                                                             A-2 Polygon

                                                                                                                                                                                                                                Resource: W-WRA-002 (P FO)                   A-2 Impact
                                                                                                                                      MIW-W RA-001                                                                                Impact Type: Habitat Alteration
                                                                                                                                                                                                                                  Impact Area: 0.129 acres
                                                                                                                                                                                                                                  Polygon Type: A-1


                                                                                                                                                                                                                                                                         0                   150                 300

                                                                                                                                                                                                                                                                                            Feet
                                                                                                                                                                                                                                                                                 0            30           60

                                                                                                                                                                                                                  Resource: W-WRA-004 (P FO)
                                                                                                                                                                                                                                                                                            Meters
                                                                                                                                                                                                                    Impact Type: Fill or Dredge
                                                                                                                                                                                                                    Impact Area: 0.213 acres
                                                                                                                                                                                                                    Polygon Type: A-2
                                                                                                                                                                                                                                                                                        BASE MAP SOURC E:
                                                                                                                                                                                                                                                                      NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                                                        RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                                                      FIELD OFFIC E, 20191108
                                                                                                                                                            W-WRA-004
                                                                                                                                                                                                           Resource: W-WRA-004 (P FO)
                                                                                                                                                                                                             Impact Type: Fill or Dredge                                CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                             Impact Area: 0.070 acres                                        GRANT BRA PAD
                                                                                                                                                                                                             Polygon Type: A-1                                                  SITE PLAN
                                                                                                                                                              Resource: W-WRA-004 (P FO)                                                                            DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                                Impact Type: Habitat Alteration
                                                                                                                                                                Impact Area: 0.024 acres
                                                                                                                                                                Polygon Type: A-1                  W-WRA-004
                                                                                                                                              Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 11 of 116

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                                                                                                                                                                     Resource: W-BJT-006 (PEM)
                                                                                                                                                                       Impact Type: Fill or Dredge
                                                                                                                                                                       Impact Area: 0.003 acres
                                                                                                                                      W-BJT-006                        Polygon Type: A-2
                                                                                                                                                                                                                                    LOCATION MAP

                                                                                                                                                                                                                    LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                            Limits of D isturbance

                                                                                                                                                                                                                            Watercou rse

                                                                                                                                                                                                                            Stormw ater Feature (SF)
                                                                                                                                                                                           S-B JT-008
                                                                                                                                                                                                                            Wetland

                                                                                                                                                                                                                            Man-Induced Wetland (MIW)

                                                                                                                                                                                                                            Ope n-End
                                                                                                                                                                                                                    Estim ated Im pact Area
                                                                                                                                                                                                                            Transient
                                                                                                                                                                                                                            Habitat A lteration
                                                                                                                                                                                                                            Fill or Dredge
                                                                                                                                                                                                                            A-1 Polygon
                                                                                                                                                                                                                            A-2 Polygon

                                                                                                                                                                                                                            A-2 Impact




                                                                                                                                                                                                                        0                   150                 300

                                                                                                                                                                                                                                           Feet
                                                                                                                                                                                                                                0            30           60

                                                                                                                                                                                                                                           Meters



                                                                                                                                                                                                                                       BASE MAP SOURC E:
                                                                                                                                                                                                                     NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                       RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                     FIELD OFFIC E, 20191108


                                                                                                                                                                                                                       CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                            HANNAN BRA PAD
                                                                                                                                                                                                                               SITE PLAN
                                                                                                                                                                                                                   DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                      Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 12 of 116

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                                                                                                                                                                                                                            LOCATION MAP

                                                                                                                                                                                                            LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                    Limits of D isturbance

                                                                                                                                                                                                                    Watercou rse

                                                                                                                                                                                                                    Stormw ater Feature (SF)

                                                                                                                                                                                                                    Wetland

                                                                                                                                                                                                                    Man-Induced Wetland (MIW)

                                                                                                                                                                                                                    Ope n-End
                                                                                                                                                                                                            Estim ated Im pact Area
                                                                                                                                                                                                                    Transient
                                                                                                                                                                                                                    Habitat A lteration
                                                                                                                                                                   S-B JT-008
                                                                                                                                                                                                                    Fill or Dredge
                                                                                                                                                                                                                    A-1 Polygon
                                                                                                                                                                                                                    A-2 Polygon

                                                                                                                                                                                                                    A-2 Impact




                                                                                                                                                                                                                0                   150                 300

                                                                                                                                                                                                                                   Feet
                                                                                                                                                                                                                        0            30           60

                                                                                                                                                                                                                                   Meters



                                                                                                                                                                                                                               BASE MAP SOURC E:
                                                                                                                                                                                                             NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                               RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                             FIELD OFFIC E, 20191108


                                                                                                                                                                                                               CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                    HANNAN BRA PAD
                                                                                                                                                                                                                       SITE PLAN
                                                                                                                                                                                                           DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                           Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 13 of 116




                                                                                                                                                                                    Resource: W-WRA-008 / W-WRA-009 (PEM)
                                                                                                                                                                                      Impact Type: Fill or Dredge
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                                                                                                                                                                                      Impact Area: 0.047 acres
                                                                                                                                                                                      Polygon Type: A-2

                                                                                                                                                                                                                                             LOCATION MAP

                                                                                                                                                                                                                             LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                     Limits of D isturbance

                                                                                                                                                                                                                                     Watercou rse

                                                                                                                                                                                                                                     Stormw ater Feature (SF)

                                                                                                                                                                                                                                     Wetland

                                                                                                                                                                                                                                     Man-Induced Wetland (MIW)

                                                                                                                                                                                                    W-WRA-008                        Ope n-End
                                                                                                                                                                                                                             Estima ted Impac t Area
                                                                                                                                                                                                                                     Transient
                                                                                                                               W-WRA-009
                                                                                                                                                                                                                                     Habitat Alteration

                                                                                                                                                                                                                                     Fill or Dredg e

                                                                                                                                                                                                                                     A-1 Polygon
                                                                                                                                                                                                                                     A-2 Polygon

                                                                                                                                                                                                                                     A-2 Impact




                                                                                                                                                                                                                                 0                   150                 300

                                                                                                                                                                                                                                                    Feet
                                                                                                                                                                                                                                         0             30           60

                                                                                                                                                                                                                                                    Meters



                                                                                                                                                                                                                                                BASE MAP SOURC E:
                                                                                                                                                                                                                              NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                              FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                    HAYWARD BRA PAD
                                                                                                                                                                                                                                        SITE PLAN
                                                                                                                                                                                                                            DATE: 12/17/2020                1 INCH = 150 FEET
                                                                                                                                       Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 14 of 116

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                                                                                                                                                                                                                             LOCATION MAP

                                                                                                                                                                                                             LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                     Limits of D isturbance

                                                                                                                                                                                                                     Watercou rse

                                                                                                                                                                                                                     Stormw ater Feature (SF)

                                                                                                                                                                                                                     Wetland

                                                                                                                                                                                                                     Man-Induced Wetland (MIW)

                                                                                                                                                                                                                     Ope n-End
                                                                                                                                                                                                             Estima ted Impac t Area
                                                                                                                                                                                                                     Transient

                                                                                                                                                                                                                     Habitat Alteration

                                                                                                                                                                                                                     Fill or Dredg e

                                                                                                                                                                                                                     A-1 Polygon
                                                                                                                                                                                                                     A-2 Polygon

                                                                                                                                                                                                                     A-2 Impact




                                                                                                                                                                                                                 0                   150                 300

                                                                                                                                                                                                                                    Feet
                                                                                                                                                                                                                         0             30           60

                                                                                                                                                                                                                                    Meters



                                                                                                                                                                                                                                BASE MAP SOURC E:
                                                                                                                                                                                                              NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                              FIELD OFFIC E, 20191108


                                                                                                                                                                                                                CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                    HAYWARD BRA PAD
                                                                                                                                                                                                                        SITE PLAN
                                                                                                                                                                                                            DATE: 12/18/2020                1 INCH = 150 FEET
                                                                                                                                                             Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 15 of 116

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                                                                                                                                                                                                                                                   LOCATION MAP

                                                                                                                                                                                                                                   LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                           Limits of D isturbance

                                                                                                                                                                                                                                           Watercou rse

                                                                                                                                                                                                                                           Stormw ater Feature (SF)

                                                                                                                                                                                                                                           Wetland

                                                                                                                                                                                                                                           Man-Induced Wetland (MIW)
                                                                                                                                        W-WRA-002                    Resource: W-WRA-001 / W-WRA-002 (PEM)
                                                                                                                                                                       Impact Type: Fill or Dredge                                         Ope n-End
                                                                                                                                                                       Impact Area: 0.022 acres                                    Estima ted Impac t Area
                                                                                                                                                                       Polygon Type: A-2
                                                                                                                                                                                                                                           Transient

                                                                                                                                                                                                                                           Habitat Alteration

                                                                                                                                                                                                                                           Fill or Dredg e

                                                                                                                                                                              Resource: W-WRA-001 (P EM)                                   A-1 Polygon
                                                                                                                                                                                Impact Type: Transient                                     A-2 Polygon
                                                                                                                                                                                Impact Area: 0.0004 acres
                                                                                                                                                                                Polygon Type: A-2                                          A-2 Impact
                                                                                                                               Resource: W-WRA-002 (P EM)
                                                                                                                                 Impact Type: Transient
                                                                                                                                 Impact Area: 0.0004 acres
                                                                                                                                 Polygon Type: A-2
                                                                                                                                                                           W-WRA-001
                                                                                                                                                                                                                                       0                   150                 300

                                                                                                                                                                                                                                                          Feet
                                                                                                                                                                                                                                               0             30           60

                                                                                                                                                                                                                                                          Meters



                                                                                                                                                                                                                                                      BASE MAP SOURC E:
                                                                                                                                                                                                                                    NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                      RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                    FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                      CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                          HAYWARD BRA PAD
                                                                                                                                                                                                                                              SITE PLAN
                                                                                                                                                                                                                                  DATE: 12/17/2020                1 INCH = 150 FEET
                                                                                                                                      Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 16 of 116

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                                                                                                                                                                                                                                                          LOCATION MAP

                                                                                                                                                                                                                                          LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                                  Limits of D isturbance

                                                                                                                                                                                                                                                  Watercou rse

                                                                                                                                                                                                                                                  Stormw ater Feature (SF)

                                                                                                                                                                                                                                                  Wetland

                                                                                                                                                                                                                                                  Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                                  Ope n-End
                                                                                                                                                                                                                                          Estim ated Im pact Area
                                                                                                                                                                                                                                                  Transient
                                                                                                                                                                                                                                                  Habitat A lteration
                                                                                                                                                                                                                                                  Fill or Dredge
                                                                                                                                                                                             W-BJT-033                                            A-1 Polygon
                                                                                                                                                                                                                                                  A-2 Polygon

                                                                                                                                                                                                                                                  A-2 Impact




                                                                                                                                                                                                                                              0                   150                 300

                                                                                                                                                                                                                                                                 Feet
                                                                                                                                                                                                                                                      0            30           60
                                                                                                                                                      W-BJT-032                                 Resource: W-BJT-032 / W-BJT-033 (P SS)                           Meters
                                                                                                                                                                                                  Impact Type: Fill or Dredge
                                                                                                                                                                                                  Impact Area: 0.067 acres
                                                                                                                                                                                                  Polygon Type: A-2                                          BASE MAP SOURC E:
                                                                                                                                                                                                                                           NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                  W-BJT-032
                                                                                                                                                                                                                                             RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                           FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                             CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                               JOHN BARRETT BRA PAD
                                                                                                                                                                                                                                                     SITE PLAN
                                                                                                                                                                                                                                         DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                        Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 17 of 116

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                                                                                                                                                                                                                                              LOCATION MAP

                                                                                                                                                                                                                              LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                      Limits of D isturbance

                                                                                                                                                                                                                                      Watercou rse

                                                                                                                                                                                                                                      Stormw ater Feature (SF)

                                                                                                                                                                                                                                      Wetland

                                                                                                                                                                                                                                      Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                      Ope n-End
                                                                                                                                                                                                                              Estim ated Im pact Area
                                                                                                                                                                                                                                      Transient
                                                                                                                                                                                                                                      Habitat A lteration
                                                                                                                                                                                                                                      Fill or Dredge
                                                                                                                                      MIW-B JT-015
                                                                                                                                                                                       Resource: W-BJT-015 (PEM)                      A-1 Polygon
                                                                                                                                                                                         Impact Type: Fill or Dredge                  A-2 Polygon
                                                                                                                                                                                         Impact Area: 0.064 acres
                                                                                                                                                                                         Polygon Type: A-2                            A-2 Impact




                                                                                                                                                                                      Resource: W-BJT-015 (PEM)
                                                                                                                                                                                        Impact Type: Transient                    0                   150                 300
                                                                                                                                                                                        Impact Area: 0.037 acres
                                                                                                                                                                                        Polygon Type: A-1                                            Feet
                                                                                                                                                                                                                                          0            30           60
                                                                                                                                            W-BJT-015
                                                                                                                                                                                                                                                     Meters



                                                                                                                                                                                                                                                 BASE MAP SOURC E:
                                                                                                                                                                                                                               NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                 RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                               FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                 CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                       MAY BRA PAD
                                                                                                                                                                                                                                         SITE PLAN
                                                                                                                                                                                                                             DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                     Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 18 of 116

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                                                                                                                                                                                                                                                 LOCATION MAP

                                                                                                                                                                                                                                 LEGEND (FEATURES WHEN PR ESENT)
                                                                                                                                      MIW-R CL-001                                                                                       Limits of D isturbance

                                                                                                                                                                                                                                         Watercou rse

                                                                                                                                                                                                                                         Stormw ater Feature (SF)

                                                                                                                                                                                                                                         Wetland

                                                                                                                                                                                                                                         Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                         Ope n-End
                                                                                                                                                                                                                                 Estim ated Im pact Area
                                                                                                                                                                                                                                         Transient
                                                                                                                                                                                                                                         Habitat A lteration
                                                                                                                                                                                                                                         Fill or Dredge
                                                                                                                                                                                                                                         A-1 Polygon
                                                                                                                                                                                            Resource: W-RCL-002 (PFO)
                                                                                                                                                                                              Impact Type: Habitat Alteration            A-2 Polygon
                                                                                                                                                                                              Impact Area: 0.084 acres                   A-2 Impact
                                                                                                                                                                                              Polygon Type: A-1




                                                                                                                                                                                                                                     0                   150                 300

                                                                                                                                                                                                                                                        Feet
                                                                                                                                                            W-RCL-002
                                                                                                                                                                                        W-RCL-002                                            0            30           60

                                                                                                                                                                                                                                                        Meters



                                                                                                                                                                                                                                                    BASE MAP SOURC E:
                                                                                                                                                                                                                                  NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                    RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                  FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                    CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                         MILLER BRA PAD
                                                                                                                                                                                                                                            SITE PLAN
                                                                                                                                                                                                                                DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                      Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 19 of 116

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                                                                                                                                                                                                                                                   LOCATION MAP

                                                                                                                                                                                                                                   LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                           Limits of D isturbance

                                                                                                                                                                                                                                           Watercou rse

                                                                                                                                                                                                                                           Stormw ater Feature (SF)

                                                                                                                                                                                                                                           Wetland

                                                                                                                                                                                                                                           Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                           Ope n-End
                                                                                                                                                                                                  Resource: W-BJT-034 (PEM)        Estim ated Im pact Area
                                                                                                                                                                                                    Impact Type: Fill or Dredge
                                                                                                                                                                                                    Impact Area: 0.024 acres               Transient
                                                                                                                                                                                                    Polygon Type: A-1                      Habitat A lteration
                                                                                                                                                                                                                                           Fill or Dredge
                                                                                                                                                                                                                                           A-1 Polygon
                                                                                                                                                                                                  Resource: W-BJT-034 (PEM)                A-2 Polygon
                                                                                                                                                                                                    Impact Type: Transient
                                                                                                                                                                                                    Impact Area: 0.084 acres               A-2 Impact
                                                                                                                                                                                                    Polygon Type: A-1




                                                                                                                                                                                                                                       0                   150                 300

                                                                                                                                                                                                                                                          Feet

                                                                                                                                                               W-BJT-034                                                                       0            30           60

                                                                                                                                                                                                                                                          Meters



                                                                                                                                                                                                                                                      BASE MAP SOURC E:
                                                                                                                                                                                                                                    NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                      RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                    FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                      CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                           OTTEN BRA PAD
                                                                                                                                                                                                                                              SITE PLAN
                                                                                                                                                                                                                                  DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                                      Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 20 of 116

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                                                                                                                                                                                                                                                            LOCATION MAP

                                                                                                                                                                                                                                            LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                                    Limits of D isturbance

                                                                                                                                                                                                                                                    Watercou rse

                                                                                                                                                                                                                                                    Stormw ater Feature (SF)
                                                                                                                                      Resource: W-WRA-005 (P EM)
                                                                                                                                                                                                                                                    Wetland
                                                                                                                                        Impact Type: Fill or Dredge
                                                                                                                                        Impact Area: 0.649 acres                                                                                    Man-Induced Wetland (MIW)
                                                                                                                                        Polygon Type: A-2
                                                                                                                                                                                                                                                    Ope n-End
                                                                                                                                                                                                                                            Estim ated Im pact Area
                                                                                                                                                                                                                                                    Transient
                                                                                                                                      Resource: W-WRA-005 (P EM)                                                                                    Habitat A lteration
                                                                                                                                        Impact Type: Transient
                                                                                                                                        Impact Area: 0.111 acres                                                                                    Fill or Dredge
                                                                                                                                        Polygon Type: A-1                                                                                           A-1 Polygon
                                                                                                                                                                                                                                                    A-2 Polygon

                                                                                                                                                                                                                                                    A-2 Impact

                                                                                                                                                  W-WRA-005



                                                                                                                                                                                                                                                0                   150                 300

                                                                                                                                                                                                                                                                   Feet
                                                                                                                                                                                                                                                        0            30           60

                                                                                                                                                                                                                                                                   Meters



                                                                                                                                                                                                                                                               BASE MAP SOURC E:
                                                                                                                                                                                                                                             NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                               RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                             FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                               CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                                   REXFORD BRA PAD
                                                                                                                                                                                                                                                       SITE PLAN
                                                                                                                                                                                                                                           DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                                                            Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 21 of 116

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                                                                                                                                                                     Resource: Rylee (PE M)
                                                                                                                                                                       Impact Type: Fill or Dredge                                                                                LOCATION MAP
                                                                                                                                                                       Impact Area: 2.310 acres
                                                                                                                                                                       Polygon Type: A-2                                                                          LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                                                          Limits of D isturbance

                                                                                                                                      Resource: W-BJT-211 (PS S)                                                                                                          Watercou rse
                                                                                                                                        Impact Type: Habitat Alteration
                                                                                                                                                                                                                                                                          Stormw ater Feature (SF)
                                                                                                                                        Impact Area: 0.022 acres
                                                                                                                                        Polygon Type: A-1                                                                                                                 Wetland

                                                                                                                                                                                                                                                                          Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                                                          Ope n-End
                                                                                                                                                                                                                                                                  Estim ated Im pact Area
                                                                                                                                                W-BJT-211                                                                                                                 Transient
                                                                                                                                                                                                                                                                          Habitat A lteration
                                                                                                                                                                                                                                                                          Fill or Dredge
                                                                                                                                                                                                                                                                          A-1 Polygon
                                                                                                                                               W-BJT-211
                                                                                                                                                                                                                                                                          A-2 Polygon

                                                                                                                                                                                                                                                                          A-2 Impact




                                                                                                                                                                                                                                                                      0                   150                 300
                                                                                                                                                 W-BJT-211
                                                                                                                                                                                                                                                                                         Feet
                                                                                                                                                                                                                                                                              0            30           60

                                                                                                                                                                                                                                                                                         Meters



                                                                                                                                                                                                                                                                                     BASE MAP SOURC E:
                                                                                                                                                                                                                                                                   NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                     Resource: Rylee (PFO)                                           RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                                                   FIELD OFFIC E, 20191108
                                                                                                                                                                                                       Impact Type: Fill or Dredge
                                                                                                                                                                                                       Impact Area: 1.190 acres                                      CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                       Polygon Type: A-1
                                                                                                                                                                                                                                                                          RYLEE SUS PAD
                                                                                                                                                                                                                                                                             SITE PLAN
                                                                                                                                                                                                                                                                 DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                      Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 22 of 116

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                                                                                                                                                                                                                            LOCATION MAP

                                                                                                                                                                                                            LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                    Limits of D isturbance

                                                                                                                                                                                                                    Watercou rse

                                                                                                                                                                                                                    Stormw ater Feature (SF)

                                                                                                                                                                                                                    Wetland

                                                                                                                                                                                                                    Man-Induced Wetland (MIW)

                                                                                                                                                                                                                    Ope n-End
                                                                                                                                                                                                            Estim ated Im pact Area
                                                                                                                                                                                                                    Transient
                                                                                                                                                                                                                    Habitat A lteration
                                                                                                                                                                                                                    Fill or Dredge
                                                                                                                                                                                                                    A-1 Polygon
                                                                                                                                                                                                                    A-2 Polygon

                                                                                                                                                                                                                    A-2 Impact




                                                                                                                                                                                                                0                   150                 300

                                                                                                                                                                                                                                   Feet
                                                                                                                                                                                                                        0            30           60

                                                                                                                                                                                                                                   Meters



                                                                                                                                                                                                                               BASE MAP SOURC E:
                                                                                                                                                                                                             NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                               RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                             FIELD OFFIC E, 20191108


                                                                                                                                                                                                               CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                    RYLEE SUS PAD
                                                                                                                                                                                                                       SITE PLAN
                                                                                                                                                                                                           DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                      Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 23 of 116

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                                                                                                                                                                                                                                  LOCATION MAP

                                                                                                                                                                                                                  LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                          Limits of D isturbance

                                                                                                                                                                                                                          Watercou rse

                                                                                                                                                                                                                          Stormw ater Feature (SF)

                                                                                                                                                                                                                          Wetland

                                                                                                                                                                                                                          Man-Induced Wetland (MIW)

                                                                                                                                                                                                                          Ope n-End
                                                                                                                                                                                                                  Estim ated Im pact Area
                                                                                                                                                                                 Resource: W-RCL-003 (PEM)
                                                                                                                                                                                   Impact Type: Fill or Dredge            Transient
                                                                                                                                                                                   Impact Area: 0.014 acres
                                                                                                                                                                                                                          Habitat A lteration
                                                                                                                                                                                   Polygon Type: A-1
                                                                                                                                                                                                                          Fill or Dredge
                                                                                                                                                                                                                          A-1 Polygon
                                                                                                                                                                                                                          A-2 Polygon

                                                                                                                                                                                                                          A-2 Impact




                                                                                                                                                                                       W-RCL-003

                                                                                                                                                                                                                      0                   150                 300

                                                                                                                                                                                                                                         Feet
                                                                                                                                                                                                                              0            30           60

                                                                                                                                                                                                                                         Meters



                                                                                                                                                                                                                                     BASE MAP SOURC E:
                                                                                                                                                                                                                   NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                     RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                   FIELD OFFIC E, 20191108


                                                                                                                                                                                                                     CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                          SHARER BRA PAD
                                                                                                                                                                                                                             SITE PLAN
                                                                                                                                                                                                                 DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                      Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 24 of 116

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                                                                                                                                                                                                                                          LOCATION MAP

                                                                                                                                                                                                                          LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                  Limits of D isturbance

                                                                                                                                                                                                                                  Watercou rse

                                                                                                                                                                                                                                  Stormw ater Feature (SF)

                                                                                                                                                                                                                                  Wetland

                                                                                                                                                                                                                                  Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                  Ope n-End
                                                                                                                                                                                                                          Estim ated Im pact Area
                                                                                                                                                                                                                                  Transient
                                                                                                                                                                                                                                  Habitat A lteration
                                                                                                                                                                                                                                  Fill or Dredge
                                                                                                                                                                                                                                  A-1 Polygon
                                                                                                                                                                                         Resource: W-BJT-041 (PEM)
                                                                                                                                                                                           Impact Type: Fill or Dredge            A-2 Polygon
                                                                                                                                                                                           Impact Area: 0.054 acres
                                                                                                                                                                                                                                  A-2 Impact
                                                                                                                                                                                           Polygon Type: A-2




                                                                                                                                                                                                                              0                   150                 300

                                                                                                                                                                                                                                                 Feet
                                                                                                                                                                                                                                      0            30           60

                                                                                                                                                                                                                                                 Meters

                                                                                                                                                        W-BJT-041

                                                                                                                                                                                                                                             BASE MAP SOURC E:
                                                                                                                                                                                                                           NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                             RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                    S-B JT-023                                                             FIELD OFFIC E, 20191108


                                                                                                                                                                                                                             CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                 STALFORD BRA PAD
                                                                                                                                                                                                                                     SITE PLAN
                                                                                                                                                                                                                         DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                                            Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 25 of 116

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                                                                                                                                                                                                                                                                                 LOCATION MAP

                                                                                                                                                                                                                                                                 LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                                                         Limits of D isturbance
                                                                                                                                                                                                W-WRA-001
                                                                                                                                                                                                                                                                         Watercou rse

                                                                                                                                                                                                                                                                         Stormw ater Feature (SF)

                                                                                                                                                                                                                                                                         Wetland

                                                                                                                                                                                                                                                                         Man-Induced Wetland (MIW)
                                                                                                                                                                                                                                   Resource: W-WRA-001 (P EM)            Ope n-End
                                                                                                                                                                                                                                     Impact Type: Transient
                                                                                                                                                                                                                                                                 Estim ated Im pact Area
                                                                                                                                                                                                                                     Impact Area: 0.013 acres
                                                                                                                                      Resource: W-WRA-001 (P EM)                                                                     Polygon Type: A-1                   Transient
                                                                                                                                        Impact Type: Fill or Dredge
                                                                                                                                                                                                                                                                         Habitat A lteration
                                                                                                                                        Impact Area: 0.070 acres
                                                                                                                                        Polygon Type: A-2                                                                                                                Fill or Dredge
                                                                                                                                                                                                                                                                         A-1 Polygon
                                                                                                                                                                                                                                                                         A-2 Polygon

                                                                                                                                                                                                                                                                         A-2 Impact




                                                                                                                                                                                                                                                                     0                   150                 300

                                                                                                                                                                                                                                                                                        Feet
                                                                                                                                                                                                                            Resource: W-WRA-001
                                                                                                                                                                                                                                      W-WRA-001(PEM)(P EM)
                                                                                                                                                   MIW-W RA-001                                                               Impact Type: Fill or Dredge                    0            30           60
                                                                                                                                                                                                                              Impact Area: 0.184 acres
                                                                                                                                                                                                                              Polygon Type: A-1                                         Meters



                                                                                                                                                                                                                                                                                    BASE MAP SOURC E:
                                                                                                                                                                                                                                                                  NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                                                    RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                                                  FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                                                    CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                                                          TREAT BRA PAD
                                                                                                                                                                                                                                                                            SITE PLAN
                                                                                                                                                                      SF-WRA-002
                                                                                                                                                                                                                                                                DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                      Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 26 of 116

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                                                                                                                                                                                                                            LOCATION MAP

                                                                                                                                                                                                            LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                    Limits of D isturbance

                                                                                                                                                                                                                    Watercou rse

                                                                                                                                                                                                                    Stormw ater Feature (SF)

                                                                                                                                                                                                                    Wetland

                                                                                                                                                                                                                    Man-Induced Wetland (MIW)

                                                                                                                                                                                                                    Ope n-End
                                                                                                                                                                                                            Estim ated Im pact Area
                                                                                                                                                                                                                    Transient
                                                                                                                                                                                                                    Habitat A lteration
                                                                                                                                                                                                                    Fill or Dredge
                                                                                                                                                                                                                    A-1 Polygon
                                                                                                                                                                                                                    A-2 Polygon

                                                                                                                                                                                                                    A-2 Impact




                                                                                                                                                                                                                0                   150                 300

                                                                                                                                                                                                                                   Feet
                                                                                                                                                                                                                        0            30           60

                                                                                                                                                                                                                                   Meters



                                                                                                                                                                                                                               BASE MAP SOURC E:
                                                                                                                                                                                                             NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                               RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                             FIELD OFFIC E, 20191108


                                                                                                                                                                                                               CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                     TREAT BRA PAD
                                                                                                                                                                                                                       SITE PLAN
                                                                                                                                                                                                           DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                         Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 27 of 116

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                                                                                                                                                                                                                               LOCATION MAP

                                                                                                                                                                                                               LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                       Limits of D isturbance

                                                                                                                                                                                                                       Watercou rse

                                                                                                                                                                                                                       Stormw ater Feature (SF)

                                                                                                                                                                                                                       Wetland

                                                                                                                                                                                                                       Man-Induced Wetland (MIW)

                                                                                                                                                                                                                       Ope n-End
                                                                                                                                                                                                               Estim ated Im pact Area
                                                                                                                                                                                                                       Transient
                                                                                                                                                                                                                       Habitat A lteration
                                                                                                                                                                                                                       Fill or Dredge
                                                                                                                                                                                                                       A-1 Polygon
                                                                                                                                                                                                                       A-2 Polygon

                                                                                                                                                                                                                       A-2 Impact




                                                                                                                                                                                                                   0                   150                 300

                                                                                                                                                                                                                                      Feet
                                                                                                                                                                                                                           0            30           60

                                                                                                                                                                                                                                      Meters



                                                                                                                                                                                                                                  BASE MAP SOURC E:
                                                                                                                                                                                                                NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                  RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                FIELD OFFIC E, 20191108


                                                                                                                                                                                                                  CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                        WAY BRA PAD
                                                                                                                                                                                                                          SITE PLAN
                                                                                                                                                                                                              DATE: 12/18/2020               1 INCH = 150 FEET




                                                                                                                                      W-MAB-001
                                                                                                                                      Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 28 of 116

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                                                                                                                                                                                                                                           LOCATION MAP

                                                                                                                                                                                                                           LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                   Limits of D isturbance

                                                                                                                                                                                                                                   Watercou rse

                                                                                                                                                                                                                                   Stormw ater Feature (SF)

                                                                                                                                                                                                                                   Wetland

                                                                                                                                                                                                                                   Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                   Ope n-End
                                                                                                                                                                                                                           Estim ated Im pact Area
                                                                                                                                                                                                              W-MAB-001            Transient
                                                                                                                                                      W-MAB-001
                                                                                                                                                                                                                                   Habitat A lteration
                                                                                                                                                                                                                                   Fill or Dredge
                                                                                                                                                                                                      W-MAB-001                    A-1 Polygon
                                                                                                                                                                                                                                   A-2 Polygon

                                                                                                                                                                                                                                   A-2 Impact
                                                                                                                                                                                        Resource: W-MA B-001 (PE M)
                                                                                                                                                                                          Impact Type: Transient
                                                                                                                                                        Resource: W-MA B-001 (PFO)        Impact Area: 0.022 acres
                                                                                                                                                          Impact Type: Fill or Dredge     Polygon Type: A-1
                                                                                                                                                          Impact Area: 0.002 acres
                                                                                                                                                          Polygon Type: A-2                                                    0                   150                 300

                                                                                                                                                                                                                                                  Feet
                                                                                                                                                                                                                                       0            30           60

                                                                                                                                                                                                                                                  Meters



                                                                                                                                                                                                                                              BASE MAP SOURC E:
                                                                                                                                                                                                                            NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                              RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                            FIELD OFFIC E, 20191108


                                                                                                                                                                                                                              CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                    WAY BRA PAD
                                                                                                                                                                                                                                      SITE PLAN
                                                                                                                                                                                                                          DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                      Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 29 of 116

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                                                                                                                                                                                                                            LOCATION MAP

                                                                                                                                                                                                            LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                    Limits of D isturbance

                                                                                                                                                                                                                    Watercou rse

                                                                                                                                                                                                                    Stormw ater Feature (SF)

                                                                                                                                                                                                                    Wetland

                                                                                                                                                                                                                    Man-Induced Wetland (MIW)

                                                                                                                                                                                                                    Ope n-End
                                                                                                                                                                                                            Estim ated Im pact Area
                                                                                                                                                                                                                    Transient
                                                                                                                                                                                                                    Habitat A lteration
                                                                                                                                                                                                                    Fill or Dredge
                                                                                                                                                                                                                    A-1 Polygon
                                                                                                                                                                                                                    A-2 Polygon

                                                                                                                                                                                                                    A-2 Impact




                                                                                                                                                                                                                0                   150                 300

                                                                                                                                                                                                                                   Feet
                                                                                                                                                                                                                        0            30           60

                                                                                                                                                                                                                                   Meters



                                                                                                                                                                                                                               BASE MAP SOURC E:
                                                                                                                                                                                                             NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                               RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                             FIELD OFFIC E, 20191108


                                                                                                                                                                                                               CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                   WELLES 2 BRA PAD
                                                                                                                                                                                                                       SITE PLAN
                                                                                                                                                                                                           DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                                                   Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 30 of 116




                                                                                                                                      S-B JT-022
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                                                                                                                                                   Resource: S -BJT-022 (INT)
                                                                                                                                                     Impact Type: Fill or Dredge
                                                                                                                                                     Impact Length: 29 feet                                                                                              LOCATION MAP
                                                                                                                                                     Polygon Type: A-2
                                                                                                                                                                                                                                                         LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                                                 Limits of D isturbance

                                                                                                                                                                                                                                                                 Watercou rse

                                                                                                                                                                                                                                                                 Stormw ater Feature (SF)

                                                                                                                                                                                                                                                                 Wetland

                                                                                                                                                                                                                                                                 Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                                                 Ope n-End
                                                                                                                                                                                                                                                         Estim ated Im pact Area
                                                                                                                                                                                                                                                                 Transient
                                                                                                                                                                                                                                                                 Habitat A lteration
                                                                                                                                                                                                                                                                 Fill or Dredge
                                                                                                                                                                                                                                                                 A-1 Polygon
                                                                                                                                                                                                                                                                 A-2 Polygon

                                                                                                                                                                                                                                                                 A-2 Impact




                                                                                                                                                                                                                                                             0                   150                 300

                                                                                                                                                                                                                                                                                Feet
                                                                                                                                                                                                                                                                     0            30           60

                                                                                                                                                                                                                                                                                Meters



                                                                                                                                                                                                                                                                            BASE MAP SOURC E:
                                                                                                                                                                                                                                                          NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                                            RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                                          FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                                            CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                                                WELLES 2 BRA PAD
                                                                                                                                                                                                                                                                    SITE PLAN
                                                                                                                                                                                                                                                        DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                      Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 31 of 116

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                                                                                                                                                                                                                            LOCATION MAP

                                                                                                                                                                                                            LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                    Limits of D isturbance

                                                                                                                                                                                                                    Watercou rse

                                                                                                                                                                                                                    Stormw ater Feature (SF)

                                                                                                                                                                                                                    Wetland

                                                                                                                                                                                                                    Man-Induced Wetland (MIW)

                                                                                                                                                                                                                    Ope n-End
                                                                                                                                                                                                            Estim ated Im pact Area
                                                                                                                                                                                                                    Transient
                                                                                                                                                                                                                    Habitat A lteration
                                                                                                                                                                                                                    Fill or Dredge
                                                                                                                                                                                                                    A-1 Polygon
                                                                                                                                                                                                                    A-2 Polygon

                                                                                                                                                                                                                    A-2 Impact




                                                                                                                                                                                                                0                   150                 300

                                                                                                                                                                                                                                   Feet
                                                                                                                                                                                                                        0            30           60

                                                                                                                                                                                                                                   Meters

                                                                                                                                                  S-B JT-022
                                                                                                                                                                                                                               BASE MAP SOURC E:
                                                                                                                                                                                                             NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                               RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                             FIELD OFFIC E, 20191108
                                                                                                                                                               Resource: S -BJT-022 (INT)
                                                                                                                                                                 Impact Type: Fill or Dredge
                                                                                                                                                                                                               CHESAPEAKE APPALACHIA LLC
                                                                                                                                                                 Impact Length: 29 feet
Date Saved: 12/17/2020




                                                                                                                                                                 Polygon Type: A-2                                 WELLES 2 BRA PAD
                                                                                                                                                                                                                       SITE PLAN
                                                                                                                                                                                                           DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                                                        Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 32 of 116




                                                                                                                                                                      Resource: W-RCL-002 (PEM)
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                                                                                                                                                                        Impact Type: Fill or Dredge
                                                                                                                                                                        Impact Area: 1.048 acres
                                                                                                                                                                        Polygon Type: A-2
                                                                                                                                      Resource: W-RCL-002 (PEM)
                                                                                                                                                                                                                                                                              LOCATION MAP
                                                                                                                                        Impact Type: Fill or Dredge
                                                                                                                                        Impact Area: 0.320 acres
                                                                                                                                        Polygon Type: A-1                                                     W-RCL-003                                       LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                                                      Limits of D isturbance

                                                                                                                                                                                                                                                                      Watercou rse

                                                                                                                                                                                                                                                                      Stormw ater Feature (SF)

                                                                                                                                                                                                                                                                      Wetland

                                                                                                                                                                                                                                                                      Man-Induced Wetland (MIW)
                                                                                                                                      W-RCL-002
                                                                                                                                                                                                                                                                      Ope n-End
                                                                                                                                                                                                                                                              Estim ated Im pact Area
                                                                                                                                                                                                                                                                      Transient
                                                                                                                                                                                                                                                                      Habitat A lteration
                                                                                                                                                                                                           Resource: W-RCL-003 (PEM)                                  Fill or Dredge
                                                                                                                                                                                                             Impact Type: Fill or Dredge
                                                                                                                                                                                                                                                                      A-1 Polygon
                                                                                                                                                                                                             Impact Area: 0.020 acres
                                                                                                                                                                                                             Polygon Type: A-1                                        A-2 Polygon

                                                                                                                                                                                                                                                                      A-2 Impact



                                                                                                                                                                                            Resource: W-RCL-003 (PEM)
                                                                                                                                           W-RCL-002                                          Impact Type: Fill or Dredge
                                                                                                                                                                                              Impact Area: 0.023 acres
                                                                                                                                                                                              Polygon Type: A-2                                                   0                   150                 300

                                                                                                                                                                                                                                                                                     Feet
                                                                                                                                                                                                                                                                          0            30           60

                                                                                                                                                                                                                                                                                     Meters



                                                                                                                                                                                                                                                                                 BASE MAP SOURC E:
                                                                                                                                                                                                                                                               NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                                                 RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                                               FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                                                 CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                                                       WHITE SUS PAD
                                                                                                                                                                                                                                                                         SITE PLAN
                                                                                                                                                                                                                                                             DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                                               Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 33 of 116




                                                                                                                                                                                                                         Resource: W-CMG-034 (PFO)
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                                                                                                                                                                                                                           Impact Type: Habitat Alteration
                                                                                                                                                         Resource: W-CMG-035 (PFO)                                         Impact Area: 0.082 acres
                                                                                                                                                           Impact Type: Transient     W-CMG-034                            Polygon Type: A-2
                                                                                                                                                           Impact Area: 0.004 acres
                                                                                                                                                           Polygon Type: A-2
                                                                                                                                                                                                                                                                              LOCATION MAP

                                                                                                                                                                                                                                                              LEGEND (FEATURES WHEN PR ESENT)
                                                                                                                                                      W-CMG-035
                                                                                                                                                                                                                                                                      Limits of D isturbance

                                                                                                                                                                                                                                                                      Watercou rse

                                                                                                                                                                                                                                                                      Stormw ater Feature (SF)

                                                                                                                                                                                                                                                                      Wetland

                                                                                                                                                                                                                                                                      Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                                                      Ope n-End
                                                                                                                                                                                                                                                              Estim ated Im pact Area
                                                                                                                                                                                                                                                                      Transient
                                                                                                                                                                                                                                                                      Habitat A lteration
                                                                                                                                                                                                                                                                      Fill or Dredge
                                                                                                                                                                                                                                                                      A-1 Polygon
                                                                                                                                                                                                                                                                      A-2 Polygon

                                                                                                                                                                                                                                                                      A-2 Impact




                                                                                                                                                                                                                                                                  0                   150                 300
                                                                                                                                      Resource: W-CMG-034 / W-CMG-035 (PFO)
                                                                                                                                                                                                                                                                                     Feet
                                                                                                                                        Impact Type: Fill or Dredge
                                                                                                                                        Impact Area: 0.025 acres                                                                                                          0            30           60
                                                                                                                                        Polygon Type: A-2
                                                                                                                                                                                                                                                                                     Meters



                                                                                                                                                                                                                                                                                 BASE MAP SOURC E:
                                                                                                                                                                                                                                                               NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                                                 RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                                               FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                                                 CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                                                       CTG BEA PAD
                                                                                                                                                                                                                                                                         SITE PLAN
                                                                                                                                                                                                                                                             DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                                              Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 34 of 116

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                                                                                                                                                                                                                                                                    LOCATION MAP

                                                                                                                                                                                                                                                    LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                                            Limits of D isturbance

                                                                                                                                                                                                                                                            Watercou rse

                                                                                                                                                                                                                                                            Stormw ater Feature (SF)

                                                                                                                                                                                                                                                            Wetland

                                                                                                                                                                                                                                                            Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                                            Ope n-End
                                                                                                                                                                                                                                                    Estim ated Im pact Area
                                                                                                                                          Resource: W-CMG-034 (PFO)
                                                                                                                                            Impact Type: Habitat Alteration                                                                                 Transient
                                                                                                                                            Impact Area: 0.082 acres                                                                                        Habitat A lteration
4                                                                                                                                           Polygon Type: A-2
                                                                                                                                                                                                                                                            Fill or Dredge
                                                                                                                                                                                                                                                            A-1 Polygon
                                                                                                                                                                                                                                                            A-2 Polygon

                                                                                                                                                                                                                                                            A-2 Impact




                                                                                                                                                                                                                                                        0                   150                 300

                                                                                                                                                                                                                                                                           Feet
                                                                                                                                                                                                                                                                0            30           60

                                                                                                                                                                                                                                                                           Meters



                                                                                                                                                                                                                                                                       BASE MAP SOURC E:
                                                                                                                                                                                                                                                     NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                                       RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                                     FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                                       CHESAPEAKE APPALACHIA LLC
    Date Saved: 12/17/2020




                                                                                                                                                                                                                                                             CTG BEA PAD
                                                                                                                                                                                                                                                               SITE PLAN
                                                                                                                                                                                                                                                   DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                      Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 35 of 116

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                                                                                                                                                                                                                            LOCATION MAP

                                                                                                                                                                                                            LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                    Limits of D isturbance

                                                                                                                                                                                                                    Watercou rse

                                                                                                                                                                                                                    Stormw ater Feature (SF)

                                                                                                                                                                                                                    Wetland

                                                                                                                                                                                                                    Man-Induced Wetland (MIW)

                                                                                                                                                                                                                    Ope n-End
                                                                                                                                                                                                            Estim ated Im pact Area
                                                                                                                                                                                                                    Transient
                                                                                                                                                                                                                    Habitat A lteration
                                                                                                                                                                                                                    Fill or Dredge
                                                                                                                                                                                                                    A-1 Polygon
                                                                                                                                                                                                                    A-2 Polygon

                                                                                                                                                                                                                    A-2 Impact




                                                                                                                                                                                                                0                   150                 300

                                                                                                                                                                                                                                   Feet
                                                                                                                                                                                                                        0            30           60

                                                                                                                                                                                                                                   Meters



                                                                                                                                                                                                                               BASE MAP SOURC E:
                                                                                                                                                                                                             NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                               RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                             FIELD OFFIC E, 20191108


                                                                                                                                                                                                               CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                     CTG BEA PAD
                                                                                                                                                                                                                       SITE PLAN
                                                                                                                                                                                                           DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                                      Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 36 of 116

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                                                                                                                                      Resource: W-JLK-203 (PFO)
                                                                                                                                        Impact Type: Fill or Dredge
                                                                                                                                        Impact Area: 0.079 acres
                                                                                                                                        Polygon Type: A-2                                       MIW-JLK-203
                                                                                                                                                                                                                                                                             LOCATION MAP

                                                                                                                                                                                                                                                              LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                    Resource: W-JLK-202 / W-JLK-205 (PFO)            Limits of D isturbance
                                                                                                                                                                                                                      Impact Type: Fill or Dredge                    Watercou rse
                                                                                                                                                                                                                      Impact Area: 0.033 acres
                                                                                                                                                                                                                      Polygon Type: A-2                              Stormw ater Feature (SF)

                                                                                                                                                                                                                                                                     Wetland

                                                                                                                                                                                                                                                                     Man-Induced Wetland (MIW)

                                                                                                                                                                                                                      W-JLK-205                                      Ope n-End
                                                                                                                                                                                                                                                              Estim ated Im pact Area
                                                                                                                                                                                                                                                                     Transient
                                                                                                                                                                                                                                                                     Habitat A lteration
                                                                                                                                                                                                                                                                     Fill or Dredge
                                                                                                                                                                                                   W-JLK-203
                                                                                                                                                                                                                                                                     A-1 W-JLK-202
                                                                                                                                                                                                                                                                          Polygon
                                                                                                                                                                                                                                                                     A-2 Polygon
                                                                                                                                                                                                               MIW-JLK-202                                           A-2 Impact


                                                                                                                                                                                                                                                               Resource: W-JLK-202 (PFO)
                                                                                                                                                                                                                                                                 Impact Type: Transient
                                                                                                                                                                                                                                                                 Impact Area: 0.146 acres
                                                                                                                                                                                                                                                                0Polygon Type:150
                                                                                                                                                                                                                                                                                A-2                      300

                                                                                                                                                                                                                                                                                    Feet
                                                                                                                                                                                                                                                            Resource: W-JLK-205 (PFO)
                                                                                                                                                                                                                                                                      0         30                 60
                                                                                                                                                                                                                                                              Impact Type: Transient
                                                                                                                                                                                                                                                              Impact Area: 0.010 acres
                                                                                                                                                                                                                                                                               Meters
                                                                                                                                                                                                                                                              Polygon Type: A-2


                                                                                                                                                                                                                                                                                BASE MAP SOURC E:
                                                                                                                                                                                                                                                              NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                                                RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                                              FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                                                CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                                                     KERRY BEA PAD
                                                                                                                                                                                                                                                                        SITE PLAN
                                                                                                                                                                                                                                                            DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                                                                  Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 37 of 116

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                                                                                                                                                                                                                                                                                        LOCATION MAP

                                                                                                                                                                                                                                                                        LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                                                                Limits of D isturbance

                                                                                                                                                                                                                                                                                Watercou rse

                                                                                                                                                                                                                                                                                Stormw ater Feature (SF)

                                                                                                                                                                                                                                                                                Wetland

                                                                                                                                                                                                                                                                                Man-Induced Wetland (MIW)
                                                                                                                                      MIW-JLK-203
                                                                                                                                                                                                                                                                                Ope n-End
                                                                                                                                                                                                                                                                        Estim ated Im pact Area
                                                                                                                                                                                                                                                                                Transient
                                                                                                                                                                                                                                                                                Habitat A lteration
                                                                                                                                                          Resource: W-JLK-202 / W-JLK-205 (PFO)
                                                                                                                                                            Impact Type: Fill or Dredge                                                   MIW-JLK-205                           Fill or Dredge
                                                                                                                                                            Impact Area: 0.033 acres                                                                                            A-1 Polygon
                                                                                                                                                            Polygon Type: A-2
                                                                                                                                                                                                                                                                                A-2 Polygon
                                                                                                                                                                                                                                         MIW-JLK-206                            A-2 Impact

                                                                                                                                                            W-JLK-205


                                                                                                                                                                                                                                 W-JLK-201
                                                                                                                                                                                                                                                                            0                   150                 300

                                                                                                                                                                                                                                                                                               Feet
                                                                                                                                         W-JLK-203
                                                                                                                                                                                                                             W-JLK-202                                              0            30           60

                                                                                                                                                                                                                                                                                               Meters

                                                                                                                                                     MIW-JLK-202
                                                                                                                                                                                                                                                                                           BASE MAP SOURC E:
                                                                                                                                                                                                                                                                         NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                     Resource: W-JLK-202 (PFO)                             RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                                                         FIELD OFFIC E, 20191108
                                                                                                                                                                                                                       Impact Type: Transient
                                                                                                                                                                                                                       Impact Area: 0.146 acres                            CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                       Polygon Type: A-2
                                                                                                                                                                                                                                                                                KERRY BEA PAD
                                                                                                                                                                                                                                                                                   SITE PLAN
                                                                                                                                                                                                                  Resource: W-JLK-205 (PFO)
                                                                                                                                                                                                                    Impact Type: Transient                             DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                                                                                    Impact Area: 0.010 acres
                                                                                                                                                                                                                    Polygon Type: A-2
                                                                                                                                                                                     Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 38 of 116



                                                                                                                                                                   Resource: W-BJT-289 (PEM)
                                                                                                                                                                     Impact Type: Transient
                                                                                                                                                                     Impact Area: 0.085 acres
                                                                                                                                                                     Polygon Type: A-1


                                                                                                                                                                                                                        MIW-B JT-290
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                                                                                                                                                                            W-BJT-289



                                                                                                                                                                                                                                                                                              LOCATION MAP

                                                                                                                                                                                                                                                                              LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                             Resource: W-MA B-106 (PE M)              Limits of D isturbance
                                                                                                                                                                                                MIW-MAB -038
                                                                                                                                                                                                                                               Impact Type: Fill or Dredge
                                                                                                                                                                                                                                                                                      Watercou rse
                                                                                                                                                                                                                                               Impact Area: 0.071 acres
                                                                                                                                                                                                                                               Polygon Type: A-2                      Stormw ater Feature (SF)
                                                                                                                                                                                    W-MAB-106
                                                                                                                                                                                                                                                                                      Wetland
                                                                                                                                           Resource: W-BJT-293 / W-MAB-106 (P EM)
                                                                                                                                             Impact Type: Fill or Dredge                                                                                                              Man-Induced Wetland (MIW)
                                                                                                                                             Impact Area: 0.073 acres                                                                                                                 Ope n-End
                                                                                                                                             Polygon Type: A-1
                                                                                                                                                                                                                                                                              Estim ated Im pact Area
                                                                                                                                                                                                                                                                                      Transient
                                                                                                                                                                                                                                                                                      Habitat A lteration

                                                                                                                                                                                                                                           Resource: W-MA B-106 (PE M)                Fill or Dredge
                                                                                                                                                                                                                                             Impact Type: Transient
                                                                                                                                                                                                                                                                                      A-1 Polygon
                                                                                                                                                                                                                                             Impact Area: 0.009 acres
                                                                                                                                      Resource: W-BJT-293 (PEM)                                                                              Polygon Type: A-1                        A-2 Polygon
                                                                                                                                        Impact Type: Transient
                                                                                                                                        Impact Area: 0.074 acres                                                                                                                      A-2 Impact
                                                                                                                                        Polygon Type: A-1



                                                                                                                                                      W-BJT-293                                                                                                                   0                   150                 300

                                                                                                                                                                                                                                                                                                     Feet
                                                                                                                                                                                                                                                                                          0            30           60

                                                                                                                                                                                                                                                                                                     Meters



                                                                                                                                                                                                                                                                                                 BASE MAP SOURC E:
                                                                                                                                                                                                                                                                               NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                                                                 RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                                                               FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                                                                 CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                                                                       ACW BRA PAD
                                                                                                                                                                                                                                                                                         SITE PLAN
                                                                                                                                                                                                                                                                             DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                      Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 39 of 116

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                                                                                                                                                                                                                            LOCATION MAP

                                                                                                                                                                                                            LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                    Limits of D isturbance

                                                                                                                                                                                                                    Watercou rse

                                                                                                                                                                                                                    Stormw ater Feature (SF)

                                                                                                                                                                                                                    Wetland

                                                                                                                                                                                                                    Man-Induced Wetland (MIW)

                                                                                                                                                                                                                    Ope n-End
                                                                                                                                                                                                            Estim ated Im pact Area
                                                                                                                                                                                                                    Transient
                                                                                                                                                                                                                    Habitat A lteration
                                                                                                                                                                                                                    Fill or Dredge
                                                                                                                                                                                                                    A-1 Polygon
                                                                                                                                                                                                                    A-2 Polygon

                                                                                                                                                                                                                    A-2 Impact




                                                                                                                                                                                                                0                   150                 300

                                                                                                                                                                                                                                   Feet
                                                                                                                                                                                                                        0            30           60

                                                                                                                                                                                                                                   Meters



                                                                                                                                                                                                                               BASE MAP SOURC E:
                                                                                                                                                                                                             NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                               RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                             FIELD OFFIC E, 20191108


                                                                                                                                                                                                               CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                  ALEXANDER BRA PAD
                                                                                                                                                                                                                       SITE PLAN
                                                                                                                                                                                                                                                                  T
                                                                                                                                                                                                           DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                               Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 40 of 116

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                                                                                                                                                                                                                                               LOCATION MAP


                                                                                                                                                                 W-JLK-110                                                     LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                       Limits of D isturbance

                                                                                                                                                                                                                                       Watercou rse
                                                                                                                                                                W-JLK-110
                                                                                                                                                                                                                                       Stormw ater Feature (SF)

                                                                                                                                                                                                                                       Wetland

                                                                                                                                                               MIW-JLK-109                                                             Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                       Ope n-End
                                                                                                                                                                                                                               Estim ated Im pact Area
                                                                                                                                                                                                                                       Transient
                                                                                                                                                                                                                                       Habitat A lteration
                                                                                                                                      MIW-JLK-108
                                                                                                                                                                                                                                       Fill or Dredge
                                                                                                                                                                                                                                       A-1 Polygon
                                                                                                                                                                                                                                       A-2 Polygon

                                                                                                                                                                                                                                       A-2 Impact


                                                                                                                                                             Resource: W-JLK-110 (PFO)
                                                                                                                                                               Impact Type: Habitat Alteration
                                                                                                                                                               Impact Area: 0.059 acres          Resource: W-JLK-110 (PEM)
                                                                                                                                                               Polygon Type: A-1                                                   0                   150                 300
                                                                                                                                                                                                   Impact Type: Transient
                                                                                                                                                                                                   Impact Area: 0.020 acres                           Feet
                                                                                                                                                                                                   Polygon Type: A-1
                                                                                                                                                                                                                                           0            30           60

                                                                                                                                                                                                                                                      Meters



                                                                                                                                                                                                                                                  BASE MAP SOURC E:
                                                                                                                                                                                                                                NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                  RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                  CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                     ALEXANDER BRA PAD
                                                                                                                                                                                                                                          SITE PLAN
                                                                                                                                                                                                                                                                                     T
                                                                                                                                                                                                                              DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                                     Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 41 of 116

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                                                                                                                                                                                                 Resource: W-WRA-008 (P EM)
                                                                                                                                                                                                   Impact Type: Fill or Dredge
                                                                                                                                                                                                   Impact Area: 0.096 acres                                        LOCATION MAP
                                                                                                                                                                                                   Polygon Type: A-2
                                                                                                                                                                                                                                                   LEGEND (FEATURES WHEN PR ESENT)
                                                                                                                                                                                                                                      W-WRA-009
                                                                                                                                                                                                                                                           Limits of D isturbance
                                                                                                                                      W-WRA-008
                                                                                                                                                                                                                                                           Watercou rse
                                                                                                                                                                                                                W-WRA-013
                                                                                                                                                                                                                                                           Stormw ater Feature (SF)

                                                                                                                                                                                                                                                           Wetland

                                                                                                                                                                                                                                                           Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                                           Ope n-End
                                                                                                                                                                                                                                                   Estim ated Im pact Area
                                                                                                                                                                                                                                                           Transient
                                                                                                                                                                                                                                                           Habitat A lteration
                                                                                                                                                                                                                                                           Fill or Dredge
                                                                                                                                                  Resource: S -WR A-005 (PER )
                                                                                                                                                                                                                                                           A-1 Polygon
                                                                                                                                                    Impact Type: Fill or Dredge
                                                                                                                                                    Impact Length: 63 feet                                                                                 A-2 Polygon
                                                                                                                                                    Polygon Type: A-2
                                                                                                                                                                                                                                                           A-2 Impact



                                                                                                                                                          S-W RA-005

                                                                                                                                                                                                                                                       0                   150                 300

                                                                                                                                                                                                                                                                          Feet
                                                                                                                                                                                                                                                               0            30           60
                                                                                                                                                          S-W RA-006
                                                                                                                                                                                                                                                                          Meters



                                                                                                                                                                                                                                                                      BASE MAP SOURC E:
                                                                                                                                                                                                                                                    NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                                      RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                                    FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                                      CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                                         AMMERMAN BRA PAD
                                                                                                                                                                                                                                                              SITE PLAN
                                                                                                                                                                                                                                                  DATE: 12/18/2020               1 INCH = 150 FEET

                                                                                                                                                                                  MIW-W RA-005
                                                                                                                                      Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 42 of 116

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                                                                                                                                                                                                                                                     LOCATION MAP

                                                                                                                                                                                                                                     LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                             Limits of D isturbance

                                                                                                                                                                                                                                             Watercou rse

                                                                                                                                                                                                                                             Stormw ater Feature (SF)

                                                                                                                                                                                                                                             Wetland

                                                                                                                                                                                                                                             Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                             Ope n-End
                                                                                                                                                                                                                                     Estim ated Im pact Area
                                                                                                                                                                                                                                             Transient
                                                                                                                                                                                                                                             Habitat A lteration
                                                                                                                                                                                                                                             Fill or Dredge
                                                                                                                                                                                                                                             A-1 Polygon
                                                                                                                                                                                                                                             A-2 Polygon

                                                                                                                                                                                                                                             A-2 Impact



                                                                                                                                                                                                    Resource: Balent (P SS)
                                                                                                                                                                                                      Impact Type: Fill or Dredge
                                                                                                                                                                                                      Impact Area: 0.020 acres
                                                                                                                                                                                                                                         0                   150                 300
                                                                                                                                                                                                      Polygon Type: A-1
                                                                                                                                                                                                                                                            Feet
                                                                                                                                                                                                                                                 0            30           60

                                                                                                                                                                                                                                                            Meters



                                                                                                                                                                                                                                                        BASE MAP SOURC E:
                                                                                                                                                                                                                                      NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                        RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                      FIELD OFFIC E, 20191108

                                                                                                                                                                                                    W-SLH-149
                                                                                                                                                             Resource: Balent (P SS)                                                    CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                               Impact Type: Fill or Dredge                                                   BALENT BRA PAD
                                                                                                                                                               Impact Area: 0.020 acres                                                         SITE PLAN
                                                                                                                                                               Polygon Type: A-2
                                                                                                                                                                                                                                    DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                                              Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 43 of 116




                                                                                                                                                                                       MIW-W RA-223

                                                                                                                                      Resource: W-WRA-222 / W-WRA-224 (PEM)                                  W-WRA-224
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                                                                                                                                        Impact Type: Fill or Dredge
                                                                                                                                        Impact Area: 0.010 acres
                                                                                                                                        Polygon Type: A-2

                                                                                                                                                                                                                    MIW-W RA-225
                                                                                                                                                                                                                                                                    LOCATION MAP

                                                                                                                                                                                                                                                    LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                                            Limits of D isturbance

                                                                                                                                                                                                                                                            Watercou rse

                                                                                                                                                                                                                                                            Stormw ater Feature (SF)
                                                                                                                                      W-WRA-222
                                                                                                                                                                                                                                                            Wetland

                                                                                                                                                                                                                                                            Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                                            Ope n-End
                                                                                                                                                                                                                                                    Estim ated Im pact Area
                                                                                                                                                                                                                                                            Transient
                                                                                                                                                                                                                                                            Habitat A lteration
                                                                                                                                                                                                                                                            Fill or Dredge
                                                                                                                                                                                                                                                            A-1 Polygon
                                                                                                                                                                                                                                                            A-2 Polygon

                                                                                                                                                                                                                                                            A-2 Impact




                                                                                                                                                                                                                                                        0                   150                 300

                                                                                                                                                                                                                                                                           Feet
                                                                                                                                                                                                                                                                0            30           60

                                                                                                                                                                                                                                                                           Meters



                                                                                                                                                                                                                                                                       BASE MAP SOURC E:
                                                                                                                                                                                                                                                     NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                                       RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                                     FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                                       CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                                         BARTHOLOMEW BRA PAD
                                                                                                                                                                                                                                                               SITE PLAN
                                                                                                                                                                                                                                                   DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                      Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 44 of 116

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                                                                                                                                                                                                                            LOCATION MAP

                                                                                                                                                                                                            LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                    Limits of D isturbance

                                                                                                                                                                                                                    Watercou rse

                                                                                                                                                                                                                    Stormw ater Feature (SF)

                                                                                                                                                                                                                    Wetland

                                                                                                                                                                                                                    Man-Induced Wetland (MIW)

                                                                                                                                                                                                                    Ope n-End
                                                                                                                                                                                                            Estim ated Im pact Area
                                                                                                                                                                                                                    Transient
                                                                                                                                                                                                                    Habitat A lteration
                                                                                                                                                                                                                    Fill or Dredge
                                                                                                                                                                                                                    A-1 Polygon
                                                                                                                                                                                                                    A-2 Polygon

                                                                                                                                                                                                                    A-2 Impact




                                                                                                                                                                                                                0                   150                 300

                                                                                                                                                                                                                                   Feet
                                                                                                                                                                                                                        0            30           60

                                                                                                                                                                                                                                   Meters



                                                                                                                                                                                                                               BASE MAP SOURC E:
                                                                                                                                                                                                             NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                               RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                             FIELD OFFIC E, 20191108


                                                                                                                                                                                                               CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                   BENNETT BRA PAD
                                                                                                                                                                                                                       SITE PLAN
                                                                                                                                                                                                           DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                                        Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 45 of 116

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                                                                                                                                                                                                                                                              LOCATION MAP

                                                                                                                                                                                                                                              LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                         W-MRK-010                                                    Limits of D isturbance

                                                                                                                                        Resource: W-MR K-010 (PE M)                                                                                   Watercou rse
                                                                                                                                          Impact Type: Fill or Dredge
                                                                                                                                                                                                                                                      Stormw ater Feature (SF)
                                                                                                                                          Impact Area: 0.009 acres
                                                                                                                                          Polygon Type: A-2                                                                                           Wetland

                                                                                                                                                                                                                                                      Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                                      Ope n-End
                                                                                                                                                                                                 Resource: W-MR K-001 / W-MRK-010 (PEM)
                                                                                                                                                                                                   Impact Type: Fill or Dredge                Estim ated Im pact Area
                                                                                                                                                                                                   Impact Area: 0.056 acres
                                                                                                                                                                                                                                                      Transient
                                                                                                                                                                                                   Polygon Type: A-1
                                                                                                                                                                                                                                                      Habitat A lteration
                                                                                                                                                                                                                                                      Fill or Dredge
                                                                                                                                                                                                         W-MRK-001
                                                                                                                                                     W-MRK-002                                                                                        A-1 Polygon
                                                                                                                                                                                                                                                      A-2 Polygon

                                                                                                                                                                                                                                                      A-2 Impact




                                                                                                                                                                                                              Resource: W-MR K-001 (PE M)
                                                                                                                                      W-DJY-007                                                                 Impact Type: Transient
                                                                                                                                                                                                                Impact Area: 0.022 acres          0                   150                 300
                                                                                                                                                                                                                Polygon Type: A-1
                                                                                                                                                                                                                                                                     Feet
                                                                                                                                                                                                                                                          0            30           60

                                                                                                                                                                                                                                                                     Meters



                                                                                                                                                                              Resource: W-DJY-007 (PEM)                                                          BASE MAP SOURC E:

                                                                                                                                                                                Impact Type: Fill or Dredge
                                                                                                                                                                                                                                               NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                                 RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                Impact Area: 0.003 acres                                                       FIELD OFFIC E, 20191108

                                                                                                                                                                                Polygon Type: A-2
                                                                                                                                                                                                                                                 CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                                     BENNETT BRA PAD
                                                                                                                                                                                                                                                         SITE PLAN
                                                                                                                                                                                                                                             DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                      Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 46 of 116

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                                                                                                                                                                                                                                                                     LOCATION MAP
                                                                                                                                                                                               Resource: W-SLH-097 (PE M)
                                                                                                                                                                                                 Impact Type: Fill or Dredge                         LEGEND (FEATURES WHEN PR ESENT)
                                                                                                                                                                                                 Impact Area: 0.061 acres
                                                                                                                                                                                                                                                             Limits of D isturbance
                                                                                                                                                                                                 Polygon Type: A-2
                                                                                                                                                                                                                                                             Watercou rse

                                                                                                                                                                                                                                                             Stormw ater Feature (SF)

                                                                                                                                                                                                                                                             Wetland

                                                                                                                                                                                                                                                             Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                                             Ope n-End
                                                                                                                                                                                                                                                     Estim ated Im pact Area
                                                                                                                                                                                                                                                             Transient
                                                                                                                                                                                                                                                             Habitat A lteration
                                                                                                                                                                                                                                                             Fill or Dredge
                                                                                                                                                                                                                       Resource: W-SLH-097 (PE M)
                                                                                                                                                                                                                                                             A-1 Polygon
                                                                                                                                                                                                                         Impact Type: Transient
                                                                                                                                                                                                                         Impact Area: 0.022 acres            A-2 Polygon
                                                                                                                                                                                                                         Polygon Type: A-1
                                                                                                                                                                                                                                                             A-2 Impact




                                                                                                                                                                                                                                                         0                   150                 300

                                                                                                                                                                                                                                                                            Feet
                                                                                                                                                                                                                                                                 0            30           60
                                                                                                                                                                                           W-SLH-097
                                                                                                                                      MIW-S LH -047
                                                                                                                                                                                                                                                                            Meters



                                                                                                                                                               W-SLH-097                                                                                                BASE MAP SOURC E:
                                                                                                                                                                                                                                                      NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                                        RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                                      FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                                        CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                                       BRAD 108 - LEHMAN FRAC POND
                                                                                                                                                                                                                                                                  SITE PLAN
                                                                                                                                                                                                                                                    DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                            Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 47 of 116

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                                                                                                                                                                                                                                LOCATION MAP

                                                                                                                                                                                                                LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                        Limits of D isturbance

                                                                                                                                                                                                                        Watercou rse

                                                                                                                                                                                                                        Stormw ater Feature (SF)

                                                                                                                                                                                                                        Wetland

                                                                                                                                                                                                                        Man-Induced Wetland (MIW)

                                                                                                                                                                                                                        Ope n-End

                                                                                                                                                                                  Resource: W-GJM-025 (P EM)    Estima ted Impac t Area
                                                                                                                                                                                    Impact Type: Transient              Transient
                                                                                                                                                                                    Impact Area: 0.120 acres
                                                                                                                                                                                    Polygon Type: A-1                   Habitat Alteration

                                                                                                                                                                                                                        Fill or Dredg e

                                                                                                                                                                                                                        A-1 Polygon
                                                                                                                                                                                                                        A-2 Polygon

                                                                                                                                                                                                                        A-2 Impact




                                                                                                                                                                                                                    0                   150                 300

                                                                                                                                                                                                                                       Feet
                                                                                                                                                                                                                            0             30           60

                                                                                                                                                                                                                                       Meters
                                                                                                                                                                                  W-GJM-025

                                                                                                                                                                                                                                   BASE MAP SOURC E:
                                                                                                                                                                                                                 NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                   RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                 FIELD OFFIC E, 20191108

                                                                                                                                             Resource: W-GJM-025 (P EM)
                                                                                                                                                                                                                   CHESAPEAKE APPALACHIA LLC
                                                                                                                                               Impact Type: Fill or Dredge
Date Saved: 12/17/2020




                                                                                                                                               Impact Area: 0.032 acres                                             BRAD 14 - WARD FRAC POND
                                                                                                                                               Polygon Type: A-1                                                             SITE PLAN
                                                                                                                                                                                                               DATE: 12/17/2020                1 INCH = 150 FEET




                                                                                                                                                                                                                                                                      MA
                                                                                                                                                                            Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 48 of 116

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                                                                                                                                               Resource: W-SLH-045 (PE M)
                                                                                                                                                 Impact Type: Transient
                                                                                                                                                 Impact Area: 0.070 acres            W-SLH-045                                                                    LOCATION MAP
                                                                                                                                                 Polygon Type: A-1
                                                                                                                                                                                                                                                  LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                                          Limits of D isturbance

                                                                                                                                      Resource: W-SLH-045 (PE M)                                                                                          Watercou rse
                                                                                                                                        Impact Type: Fill or Dredge                                                                                       Stormw ater Feature (SF)
                                                                                                                                        Impact Area: 0.044 acres
                                                                                                                                        Polygon Type: A-2                                                                                                 Wetland

                                                                                                                                                                                                                                                          Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                                          Ope n-End
                                                                                                                                                                                                                                                  Estim ated Im pact Area
                                                                                                                                                                                                                                                          Transient
                                                                                                                                                                                                                                                          Habitat A lteration
                                                                                                                                                                                                                                                          Fill or Dredge
                                                                                                                                                                                                                                                          A-1 Polygon
                                                                                                                                                                                                                                                          A-2 Polygon

                                                                                                                                                                                                                                                          A-2 Impact




                                                                                                                                                                                                                                                      0                   150                 300

                                                                                                                                                                                                                                                                         Feet
                                                                                                                                                                                                                                                              0            30           60

                                                                                                                                                                                                                                                                         Meters



                                                                                                                                                                                                                                                                     BASE MAP SOURC E:
                                                                                                                                                                                                                                                   NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                                     RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                                   FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                                     CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                                      BRAD 19 - COLE FRAC POND
                                                                                                                                                                                                                                                               SITE PLAN
                                                                                                                                                                                                                                                 DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                                        Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 49 of 116

                                                                                                                                                                W-WRA-296
                                                                                                                                      MIW-W RA-295


                                                                                                                                                                     Resource: W-WRA-296 (P EM)
                                                                                                                                                                       Impact Type: Transient
                                                                                                                                                                       Impact Area: 0.038 acres
                                                                                                                                                                       Polygon Type: A-1
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                                                                                                                                                                        Resource: W-WRA-296 (P EM)
                                                                                                                                                                          Impact Type: Fill or Dredge
                                                                                                                                                                          Impact Area: 0.046 acres
                                                                                                                                                                          Polygon Type: A-2

                                                                                                                                                                                                                                                              LOCATION MAP

                                                                                                                                                                                                                                              LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                     W-WRA-297                                                        Limits of D isturbance

                                                                                                                                                                                                                                                      Watercou rse

                                                                                                                                                                                                                                                      Stormw ater Feature (SF)
                                                                                                                                                                                           Resource: W-WRA-297 (P EM)                                 Wetland
                                                                                                                                                                                             Impact Type: Fill or Dredge
                                                                                                                                                                                                                                                      Man-Induced Wetland (MIW)
                                                                                                                                                                                             Impact Area: 0.079 acres
                                                                                                                                                                                             Polygon Type: A-2                                        Ope n-End
                                                                                                                                                                                                                                              Estim ated Im pact Area
                                                                                                                                                                                                                                                      Transient

                                                                                                                                                                                              MIW-W RA-202                                            Habitat A lteration
                                                                                                                                                                                                                                                      Fill or Dredge
                                                                                                                                                                                                                                                      A-1 Polygon
                                                                                                                                                                                                Resource: W-WRA-292 (P EM)
                                                                                                                                                                                                                                                      A-2 Polygon
                                                                                                                                                                                                  Impact Type: Transient
                                                                                                                                                                                                  Impact Area: 0.057 acres                            A-2 Impact
                                                                                                                                                                                                  Polygon Type: A-1




                                                                                                                                                                                                Resource: W-WRA-292 (P EM)                        0                   150                 300
                                                                                                                                                                                                  Impact Type: Fill or Dredge
                                                                                                                                                                                                  Impact Area: 0.020 acres                                           Feet
                                                                                                                                                                                                  Polygon Type: A-1
                                                                                                                                                                                                                                                          0            30           60

                                                                                                                                                                                                                                                                     Meters



                                                                                                                                         MIW-W RA-293                                                                                                            BASE MAP SOURC E:
                                                                                                                                                                                                                                               NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                                 RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                               FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                                 CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                                 BRAD 64 - WILMOT FRAC POND
                                                                                                                                                                                                                                                           SITE PLAN
                                                                                                                                                                                                                                             DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                        W-WRA-292
                                                                                                                                                                      Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 50 of 116


                                                                                                                                           S-B JT-208
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                                                                                                                                                                                                                                                            LOCATION MAP

                                                                                                                                                                                                                                            LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                                    Limits of D isturbance

                                                                                                                                                                                                                                                    Watercou rse

                                                                                                                                                                                                                                                    Stormw ater Feature (SF)

                                                                                                                                                                                                                                                    Wetland

                                                                                                                                                                                                                                                    Man-Induced Wetland (MIW)
                                                                                                                                      Resource: S -BJT-208 (INT)
                                                                                                                                                                                                                                                    Ope n-End
                                                                                                                                        Impact Type: Fill or Dredge
                                                                                                                                        Impact Length: 53 feet                                                                              Estim ated Im pact Area
                                                                                                                                        Polygon Type: A-2                                                                                           Transient
                                                                                                                                                                                                                                                    Habitat A lteration
                                                                                                                                                                                                                                                    Fill or Dredge
                                                                                                                                                                                                                                                    A-1 Polygon
                                                                                                                                                                                                                                                    A-2 Polygon

                                                                                                                                                                                                                                                    A-2 Impact




                                                                                                                                                                                                                                                0                   150                 300
                                                                                                                                                  MIW-B JT-358
                                                                                                                                                                                                                                                                   Feet
                                                                                                                                                                                                                                                        0            30           60

                                                                                                                                                                                                                                                                   Meters



                                                                                                                                                                                                                                                               BASE MAP SOURC E:
                                                                                                                                                                                                                                             NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                               RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                             FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                              CHESAPEAKE APPALACHIA LLC
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                                                                                                                                                                                                                                              BRAD 65 - RUSSELL FRAC POND
                                                                                                                                                                                                                                                         SITE PLAN
                                                                                                                                                                                                                                           DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                                      Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 51 of 116




                                                                                                                                                                       W-SLH-142
                                                                                                                                        Resource: W-SLH-142 (PE M)
                                                                                                                                          Impact Type: Transient
                                                                                                                                          Impact Area: 0.006 acres
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                                                                                                                                          Polygon Type: A-2
                                                                                                                                                                                   W-SLH-143



                                                                                                                                                                                                                                                                                LOCATION MAP

                                                                                                                                                                                                                                                                LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                                                        Limits of D isturbance

                                                                                                                                                                                                                                                                        Watercou rse
                                                                                                                                                                                                                            Resource: W-SLH-143 (PE M)                  Stormw ater Feature (SF)
                                                                                                                                      Resource: W-SLH-142 (PE M)                                                              Impact Type: Transient
                                                                                                                                                                                                                              Impact Area: 0.002 acres                  Wetland
                                                                                                                                        Impact Type: Fill or Dredge
                                                                                                                                        Impact Area: 0.112 acres                                                              Polygon Type: A-2                         Man-Induced Wetland (MIW)
                                                                                                                                        Polygon Type: A-2
                                                                                                                                                                                                                                                                        Ope n-End
                                                                                                                                                                                                                                                                Estim ated Im pact Area
                                                                                                                                                                                                                                                                        Transient
                                                                                                                                                                                                                                                                        Habitat A lteration
                                                                                                                                                                                                                                                                        Fill or Dredge
                                                                                                                                                                                                                                                                        A-1 Polygon
                                                                                                                                                                                                                                                                        A-2 Polygon
                                                                                                                                                                                                                       Resource: W-SLH-061 / W-SLH-143 (PEM)            A-2 Impact
                                                                                                                                                                                                                         Impact Type: Fill or Dredge
                                                                                                                                                                                                                         Impact Area: 0.148 acres
                                                                                                                                                                                                                         Polygon Type: A-2


                                                                                                                                                                                                                                                                    0                   150                 300

                                                                                                                                                                                                                                                                                       Feet
                                                                                                                                                                                                                                                                            0            30           60
                                                                                                                                                   W-SLH-061
                                                                                                                                                                                                                                                                                       Meters



                                                                                                                                                                                                                                                                                   BASE MAP SOURC E:
                                                                                                                                                                                                                                                                 NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                                                   RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                                                 FIELD OFFIC E, 20191108
                                                                                                                                                                                                             Resource: W-SLH-061 (PE M)
                                                                                                                                                                                                               Impact Type: Transient
                                                                                                                                                                                                                                                                 CHESAPEAKE APPALACHIA LLC
                                                                                                                                                                                                               Impact Area: 0.033 acres
Date Saved: 12/17/2020




                                                                                                                                                                                                               Polygon Type: A-1                               BRAD 70 - EASTABROOK FRAC POND
                                                                                                                                                                                                                                                                           SITE PLAN
                                                                                                                                                                                                                                                               DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                   Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 52 of 116

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                                                                                                                                                                                        W-WRA-289


                                                                                                                                      Resource: W-WRA-289 / W-WRA-290 (PEM)                                                              LOCATION MAP
                                                                                                                                        Impact Type: Fill or Dredge
                                                                                                                                        Impact Area: 0.339 acres                                                         LEGEND (FEATURES WHEN PR ESENT)
                                                                                                                                        Polygon Type: A-2
                                                                                                                                                                                                                                 Limits of D isturbance

                                                                                                                                                                                                                                 Watercou rse

                                                                                                                                                                                                                                 Stormw ater Feature (SF)

                                                                                                                                                                                                                                 Wetland

                                                                                                                                                                                                                                 Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                 Ope n-End
                                                                                                                                                                                                                         Estim ated Im pact Area
                                                                                                                                                                                                                                 Transient
                                                                                                                                                                                                                                 Habitat A lteration
                                                                                                                                                                                                                                 Fill or Dredge
                                                                                                                                                                                                                                 A-1 Polygon
                                                                                                                                                                                                                                 A-2 Polygon

                                                                                                                                                                                                                                 A-2 Impact




                                                                                                                                                                                                                             0                   150                 300

                                                                                                                                                                                                                                                Feet
                                                                                                                                                                                                                                     0            30           60

                                                                                                                                                                                                                                                Meters
                                                                                                                                                         W-WRA-290


                                                                                                                                                                                                                                            BASE MAP SOURC E:
                                                                                                                                                                                                                          NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                            RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                          FIELD OFFIC E, 20191108


                                                                                                                                                                                                                            CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                            BRAD 78 - ELSTON FRAC POND
                                                                                                                                                                                                                                      SITE PLAN
                                                                                                                                                                                                                        DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                                             Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 53 of 116




                                                                                                                                                                                        Resource: Lecrone_2 (PEM)
                                                                                                                                                    Resource: Lecrone_1 (PEM)             Impact Type: Fill or Dredge
                                                                                                                                                      Impact Type: Fill or Dredge         Impact Area: 0.677 acres
                                                                                                                                                      Impact Area: 0.050 acres            Polygon Type: A-2
                                                                                                                                                                                                                              Resource: Lecrone_2 (PEM)
                                                                                                                                                      Polygon Type: A-2
                                                                                                                                                                                                                                Impact Type: Fill or Dredge
                                                                                                                                                                                                                                Impact Area: 0.094 acres
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                                                                                                                                                                                                                                Polygon Type: A-1



                                                                                                                                                                                                                                                                               LOCATION MAP

                                                                                                                                                                                                                                                               LEGEND (FEATURES WHEN PR ESENT)
                                                                                                                                                                                                                                        W-GJM-029
                                                                                                                                                                                                                                                                       Limits of D isturbance

                                                                                                                                                                                                                                                                       Watercou rse

                                                                                                                                                                                                                                                                       Stormw ater Feature (SF)

                                                                                                                                                                                                                                                                       Wetland

                                                                                                                                                                                                                                    W-GJM-029                          Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                                                       Ope n-End
                                                                                                                                                                                                                                                               Estim ated Im pact Area
                                                                                                                                                                                                                                                                       Transient
                                                                                                                                                                                                                                                                       Habitat A lteration
                                                                                                                                                                                                                                                                       Fill or Dredge
                                                                                                                                                                                                                                                                       A-1 Polygon
                                                                                                                                                                                                                                                                       A-2 Polygon

                                                                                                                                                                                                                                                                       A-2 Impact




                                                                                                                                        W-GJM-028

                                                                                                                                                                                                                                                                   0                   150                 300

                                                                                                                                                                                                                                                                                      Feet
                                                                                                                                                                                                                                                                           0            30           60

                                                                                                                                      Resource: W-GJM-028 (P EM)                                                                                                                      Meters
                                                                                                                                        Impact Type: Transient                           Resource: W-GJM-028 (P EM)
                                                                                                                                        Impact Area: 0.027 acres                           Impact Type: Fill or Dredge
                                                                                                                                        Polygon Type: A-1                                  Impact Area: 0.077 acres
                                                                                                                                                                                                                                                                                  BASE MAP SOURC E:
                                                                                                                                                                                           Polygon Type: A-1                                                    NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                                                  RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                                                FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                                                  CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                                                 BRAD 84 - LECRONE FRAC POND
                                                                                                                                                                                                                                                                            SITE PLAN
                                                                                                                                                                                                                                                              DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                      Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 54 of 116

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                                                                                                                                                                                                 Resource: W-BJT-350 (PEM)                               LOCATION MAP
                                                                                                                                                                                                   Impact Type: Transient
                                                                                                                                                                                                   Impact Area: 0.014 acres              LEGEND (FEATURES WHEN PR ESENT)
                                                                                                                                                                                                   Polygon Type: A-1
                                                                                                                                                                                                                                                 Limits of D isturbance

                                                                                                                                                                                                                                                 Watercou rse
                                                                                                                                                                                                                W-BJT-350                        Stormw ater Feature (SF)

                                                                                                                                                                                                                                                 Wetland

                                                                                                                                                                                                                                                 Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                                 Ope n-End
                                                                                                                                                                                                                                         Estim ated Im pact Area
                                                                                                                                                                                                                                                 Transient
                                                                                                                                                                                                                                                 Habitat A lteration
                                                                                                                                                                                                        Resource: W-BJT-350 (PEM)
                                                                                                                                                                                                          Impact Type: Fill or Dredge            Fill or Dredge
                                                                                                                                                                                                          Impact Area: 0.035 acres               A-1 Polygon
                                                                                                                                                                                                          Polygon Type: A-1
                                                                                                                                                                                                                                                 A-2 Polygon

                                                                                                                                                                                                                                                 A-2 Impact




                                                                                                                                                                                                                                             0                   150                 300

                                                                                                                                                                                                                                                                Feet
                                                                                                                                                                                                                                                     0            30           60

                                                                                                                                                                                                                                                                Meters



                                                                                                                                                                                                                                                            BASE MAP SOURC E:
                                                                                                                                                                                                                                          NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                            RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                          FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                          CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                        BRAD 9 - EARL BROWN FRAC POND
                                                                                                                                                                                                                                                    SITE PLAN
                                                                                                                                                                                                                                        DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                      Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 55 of 116

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                                                                                                                                                                                                                            LOCATION MAP

                                                                                                                                                                                                            LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                    Limits of D isturbance

                                                                                                                                                                                                                    Watercou rse

                                                                                                                                                                                                                    Stormw ater Feature (SF)

                                                                                                                                                                                                                    Wetland

                                                                                                                                                                                                                    Man-Induced Wetland (MIW)

                                                                                                                                                                                                                    Ope n-End
                                                                                                                                                                                                            Estim ated Im pact Area
                                                                                                                                                                                                                    Transient
                                                                                                                                                                                                                    Habitat A lteration
                                                                                                                                                                                                                    Fill or Dredge
                                                                                                                                                                                                                    A-1 Polygon
                                                                                                                                                                                                                    A-2 Polygon

                                                                                                                                                                                                                    A-2 Impact




                                                                                                                                                                                                                0                   150                 300

                                                                                                                                                                                                                                   Feet
                                                                                                                                                                                                                        0            30           60

                                                                                                                                                                                                                                   Meters



                                                                                                                                                                                                                               BASE MAP SOURC E:
                                                                                                                                                                                                             NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                               RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                             FIELD OFFIC E, 20191108


                                                                                                                                                                                                               CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                     CARR BRA PAD
                                                                                                                                                                                                                       SITE PLAN
                                                                                                                                                                                                           DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                       Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 56 of 116

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                                                                                                                                                                                                                             LOCATION MAP

                                                                                                                                                                                                             LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                     Limits of D isturbance

                                                                                                                                                                                                                     Watercou rse

                                                                                                                                                                                                                     Stormw ater Feature (SF)

                                                                                                                                                                                                                     Wetland

                                                                                                                                                                                                                     Man-Induced Wetland (MIW)

                                                                                                                                                                                                                     Ope n-End
                                                                                                                                                                                                             Estim ated Im pact Area
                                                                                                                                                                                                                     Transient
                                                                                                                                                                                                                     Habitat A lteration

                                                                                                                                            S-S LH-034                                                               Fill or Dredge
                                                                                                                                                                                                                     A-1 Polygon
                                                                                                                                                                                                                     A-2 Polygon
                                                                                                                                            W-SLH-068                                                                A-2 Impact




                                                                                                                                                                                                                 0                   150                 300

                                                                                                                                                                                                                                    Feet
                                                                                                                                                                                                                         0            30           60
                                                                                                                                      Resource: W-SLH-068 (PS S)
                                                                                                                                        Impact Type: Fill or Dredge                                                                 Meters
                                                                                                                                        Impact Area: 0.020 acres
                                                                                                                                        Polygon Type: A-1
                                                                                                                                                                                                                                BASE MAP SOURC E:
                                                                                                                                                                                                              NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                   Resource: W-SLH-068 (PS S)                                                 FIELD OFFIC E, 20191108

                                                                                                                                                     Impact Type: Fill or Dredge
                                                                                                                                                     Impact Area: 0.016 acres                                   CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                     Polygon Type: A-2                                                CARR BRA PAD
                                                                                                                                                                                                                        SITE PLAN
                                                                                                                                                                                                            DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                                                                                Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 57 of 116




                                                                                                                                                                                                                                Resource: W-BJT-270 (PEM)
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                                                                                                                                                                                       W-BJT-270                                  Impact Type: Fill or Dredge
                                                                                                                                                                                                                                  Impact Area: 0.021 acres
                                                                                                                                                                                                                                  Polygon Type: A-2
                                                                                                                                      Resource: W-BJT-268 / W-BJT-269 (P EM)
                                                                                                                                        Impact Type: Fill or Dredge
                                                                                                                                        Impact Area: 0.045 acres                                                                                                                                      LOCATION MAP
                                                                                                                                        Polygon Type: A-2                                                                                     MIW-B JT-272
                                                                                                                                                                                       W-BJT-269                                                                                      LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                                                                              Limits of D isturbance

                                                                                                                                                                                                                                                                                              Watercou rse

                                                                                                                                                                                                                                                                                              Stormw ater Feature (SF)

                                                                                                                                                                                                                                                                                              Wetland

                                                                                                                                                                                                                                                                                              Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                                                                              Ope n-End
                                                                                                                                                                                                                                                                                      Estim ated Im pact Area
                                                                                                                                                                                                                                                                                              Transient
                                                                                                                                                                                                                                                                                              Habitat A lteration
                                                                                                                                                                                                                                                                                              Fill or Dredge
                                                                                                                                             S-B JT-017                                                                                                                                       A-1 Polygon
                                                                                                                                                                                                                                                                                              A-2 Polygon
                                                                                                                                                                               S-B JT-116                                                                                                     A-2 Impact

                                                                                                                                                 W-BJT-268



                                                                                                                                                                                            W-BJT-270
                                                                                                                                                                                                                                                                                          0                   150                 300

                                                                                                                                                                                                                                                                                                             Feet
                                                                                                                                                                                                    W-BJT-270                                                                                     0            30           60
                                                                                                                                                                                                                            W-BJT-270
                                                                                                                                                                                                                                                                                                             Meters



                                                                                                                                                                                                                                                                                                         BASE MAP SOURC E:
                                                                                                                                                                                                                                                                                       NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                                                                         RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                                                                       FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                                                                         CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                                                                               DAVE BRA PAD
                                                                                                                                                                                                                                                                                                 SITE PLAN
                                                                                                                                                                                                                                                                                     DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                      Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 58 of 116

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                                                                                                                                                                                                                            LOCATION MAP

                                                                                                                                                                                                            LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                    Limits of D isturbance

                                                                                                                                                                                                                    Watercou rse

                                                                                                                                                                                                                    Stormw ater Feature (SF)

                                                                                                                                                                                                                    Wetland

                                                                                                                                                                                                                    Man-Induced Wetland (MIW)

                                                                                                                                                                                                                    Ope n-End
                                                                                                                                                                                                            Estim ated Im pact Area
                                                                                                                                                                                                                    Transient
                                                                                                                                                                                                                    Habitat A lteration
                                                                                                                                                                                                                    Fill or Dredge
                                                                                                                                                                                                                    A-1 Polygon
                                                                                                                                                                                                                    A-2 Polygon

                                                                                                                                                                                                                    A-2 Impact




                                                                                                                                                                                                                0                   150                 300

                                                                                                                                                                                                                                   Feet
                                                                                                                                                                                                                        0            30           60

                                                                                                                                                                                                                                   Meters



                                                                                                                                                                                                                               BASE MAP SOURC E:
                                                                                                                                                                                                             NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                               RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                             FIELD OFFIC E, 20191108


                                                                                                                                                                                                               CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                   DRISCOLL BRA PAD
                                                                                                                                                                                                                       SITE PLAN
                                                                                                                                                                                                           DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                                      Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 59 of 116

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                                                                                                                                                                                            S-B JT-119
                                                                                                                                                                                                                                                            LOCATION MAP

                                                                                                                                                                                                                                            LEGEND (FEATURES WHEN PR ESENT)
                                                                                                                                      Resource: S -BJT-119 (P ER)                                                                                   Limits of D isturbance
                                                                                                                                        Impact Type: Fill or Dredge
                                                                                                                                        Impact Length: 40 feet                                                                                      Watercou rse
                                                                                                                                        Polygon Type: A-2                                                                                           Stormw ater Feature (SF)

                                                                                                                                                                                                                                                    Wetland

                                                                                                                                                                                                                                                    Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                                    Ope n-End
                                                                                                                                                                                                                                            Estim ated Im pact Area
                                                                                                                                                                                                                                                    Transient
                                                                                                                                                                                                                                                    Habitat A lteration
                                                                                                                                                                                                                                                    Fill or Dredge
                                                                                                                                                                                                                                                    A-1 Polygon
                                                                                                                                                                                                                                                    A-2 Polygon

                                                                                                                                                                                                                                                    A-2 Impact




                                                                                                                                                                                                                                                0                   150                 300

                                                                                                                                                                                                                                                                   Feet
                                                                                                                                                                                                                                                        0            30           60

                                                                                                                                                                                                                                                                   Meters



                                                                                                                                                                                                                                                               BASE MAP SOURC E:
                                                                                                                                                                                                                                             NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                               RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                             FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                               CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                                   DRISCOLL BRA PAD
                                                                                                                                                                                                                                                       SITE PLAN
                                                                                                                                                                                                                                           DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                                        Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 60 of 116

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                                                                                                                                                                                                                                                                             LOCATION MAP

                                                                                                                                                                                                                                                             LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                                                     Limits of D isturbance

                                                                                                                                                                                                                                                                     Watercou rse

                                                                                                                                                                                                                                                                     Stormw ater Feature (SF)

                                                                                                                                                                                                                                                                     Wetland

                                                                                                                                                                                                                                                                     Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                                                     Ope n-End
                                                                                                                                                                                                                           Resource: Fausto (PEM)
                                                                                                                                                                                                                             Impact Type: Fill or Dredge     Estim ated Im pact Area
                                                                                                                                                                                                                             Impact Area: 0.580 acres                Transient
                                                                                                                                                                                                                             Polygon Type: A-2
                                                                                                                                                                                                                                                                     Habitat A lteration
                                                                                                                                      Resource: W-WRA-001 (P EM)
                                                                                                                                        Impact Type: Transient                                                                                                       Fill or Dredge
                                                                                                                                        Impact Area: 0.091 acres                                                                                                     A-1 Polygon
                                                                                                                                        Polygon Type: A-1
                                                                                                                                                                                                                                                                     A-2 Polygon

                                                                                                                                                                                                                                                                     A-2 Impact




                                                                                                                                             W-WRA-001                                                                                                           0                   150                 300

                                                                                                                                                                                                                                                                                    Feet
                                                                                                                                                                                                                                                                         0            30           60
                                                                                                                                                                                                                            Resource: Fausto (PEM)
                                                                                                                                                                                                                              Impact Type: Fill or Dredge                           Meters
                                                                                                                                                                                                                              Impact Area: 0.410 acres
                                                                                                                                                                                                                              Polygon Type: A-1
                                                                                                                                           W-WRA-001                                                                                                                            BASE MAP SOURC E:
                                                                                                                                                                                                                                                              NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                                                RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                                              FIELD OFFIC E, 20191108



                                                                                                                                                            W-WRA-001
                                                                                                                                                                                                                                                                CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                                                     FAUSTO BRA PAD
                                                                                                                                                                                                                                                                        SITE PLAN
                                                                                                                                                                                                                                                            DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                                                   Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 61 of 116

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                                                                                                                                                                                                                                                                                      LOCATION MAP

                                                                                                                                                                                                                                                                      LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                                                              Limits of D isturbance

                                                                                                                                                                                                                                                                              Watercou rse

                                                                                                                                                                                                                                                                              Stormw ater Feature (SF)

                                                                                                                                                                                                                                                                              Wetland

                                                                                                                                                                                                                                                                              Man-Induced Wetland (MIW)

                                                                                                                                                   Resource: Feusner_1A (PE M)                                                                                                Ope n-End
                                                                                                                                                     Impact Type: Fill or Dredge                                                                                      Estim ated Im pact Area
                                                                                                                                                     Impact Area: 0.130 acres
                                                                                                                                                     Polygon Type: A-2                                                                                                        Transient
                                                                                                                                                                                                                                 Resource: Feusner_2A (PE M)                  Habitat A lteration
                                                                                                                                                                                                                                   Impact Type: Fill or Dredge
                                                                                                                                                                                                                                   Impact Area: 0.340 acres                   Fill or Dredge
                                                                                                                                                                                                                                   Polygon Type: A-2                          A-1 Polygon
                                                                                                                                                         MIW-W RA-004
                                                                                                                                                                                                                                                                              A-2 Polygon

                                                                                                                                                                                                                                                                              A-2 Impact




                                                                                                                                                                                                                                        Resource: Feusner_2C (PEM)
                                                                                                                                      Resource: Feusner_1B (PEM)                                                                          Impact Type: Transient
                                                                                                                                        Impact Type: Transient                                                                            Impact Area: 0.010 acres        0                   150                 300
                                                                                                                                        Impact Area: 0.030 acres                                                                          Polygon Type: A-1
                                                                                                                                                                                                                                                                                             Feet
                                                                                                                                       Polygon Type: A-1
                                                                                                                                                                                                                                                                                  0            30           60

                                                                                                                                                                                                                                                                                             Meters
                                                                                                                                                                                                                            W-WRA-008

                                                                                                                                                                                                                                                                                         BASE MAP SOURC E:
                                                                                                                                                                                                                                                                       NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                                                         RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                                                       FIELD OFFIC E, 20191108
                                                                                                                                            W-WRA-005
                                                                                                                                                                                                                   Resource: Feusner_2B (PEM)
                                                                                                                                                                                                                     Impact Type: Transient                              CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                     Impact Area: 0.030 acres                                FEUSNER BRA PAD
                                                                                                                                                                                                                     Polygon Type: A-1                                           SITE PLAN
                                                                                                                                                                                                                                                                     DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                                                   W-WRA-006
                                                                                                                                      Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 62 of 116

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                                                                                                                                                                                                                            LOCATION MAP

                                                                                                                                                                                                            LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                    Limits of D isturbance

                                                                                                                                                                                                                    Watercou rse

                                                                                                                                                                                                                    Stormw ater Feature (SF)

                                                                                                                                                                                                                    Wetland

                                                                                                                                                                                                                    Man-Induced Wetland (MIW)

                                                                                                                                                                                                                    Ope n-End
                                                                                                                                                                                                            Estim ated Im pact Area
                                                                                                                                                                                                                    Transient
                                                                                                                                                                                                                    Habitat A lteration
                                                                                                                                                                                                                    Fill or Dredge
                                                                                                                                                                                                                    A-1 Polygon
                                                                                                                                                                                                                    A-2 Polygon

                                                                                                                                                                                                                    A-2 Impact




                                                                                                                                                                                                                0                   150                 300

                                                                                                                                                                                                                                   Feet
                                                                                                                                                                                                                        0            30           60

                                                                                                                                                                                                                                   Meters



                                                                                                                                                                                                                               BASE MAP SOURC E:
                                                                                                                                                                                                             NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                               RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                             FIELD OFFIC E, 20191108


                                                                                                                                                                                                               CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                   FEUSNER BRA PAD
                                                                                                                                                                                                                       SITE PLAN
                                                                                                                                                                                                           DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                                                                  Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 63 of 116

                                                                                                                                                    Resource: W-SLH-041 / W-SLH-042 (PEM)
                                                                                                                                                      Impact Type: Fill or Dredge
                                                                                                                                                      Impact Area: 0.014 acres
                                                                                                                                                      Polygon Type: A-2
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                                                                                                                                                                W-SLH-041


                                                                                                                                                                                                                                                                  MIW-S LH -007

                                                                                                                                                                                                                                                                                                               LOCATION MAP

                                                                                                                                                                                                                                                                                               LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                                                                                       Limits of D isturbance
                                                                                                                                                                                                                                                                              MIW-S LH -008
                                                                                                                                                                        W-SLH-039                                                                                                                      Watercou rse
                                                                                                                                        W-SLH-042                                                                                                                                                      Stormw ater Feature (SF)

                                                                                                                                                                                                                                                                                                       Wetland

                                                                                                                                                                                                                                                                                                       Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                                                                                       Ope n-End
                                                                                                                                               W-SLH-040                                    Resource: W-SLH-010 (PE M)
                                                                                                                                                                                                                                                                                               Estim ated Im pact Area
                                                                                                                                                                                              Impact Type: Fill or Dredge
                                                                                                                                                                                              Impact Area: 0.010 acres                                                                                 Transient
                                                                                                                                                                                              Polygon Type: A-2
                                                                                                                                                                                                                                                                                                       Habitat A lteration
                                                                                                                                                                                                                                                                                                       Fill or Dredge
                                                                                                                                                                                                                                                                                                       A-1 Polygon
                                                                                                                                      Resource: W-SLH-039 / W-SLH-040 (PEM)
                                                                                                                                                                                                                                                                                                       A-2 Polygon
                                                                                                                                        Impact Type: Fill or Dredge
                                                                                                                                        Impact Area: 0.022 acres                                                                                                                                       A-2 Impact
                                                                                                                                        Polygon Type: A-2




                                                                                                                                                                                                                                                                                                   0                   150                 300

                                                                                                                                                                                               W-SLH-010                                                                                                              Feet
                                                                                                                                                                                                                                                                                                           0            30           60

                                                                                                                                                                                                                                                                                                                      Meters



                                                                                                                                                                                                                                                                                                                  BASE MAP SOURC E:

                                                                                                                                                                                                 MIW-S LH -009
                                                                                                                                                                                                                                                                                                NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                                                                                  RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                                                                                FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                                                                                  CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                                                                                        FLASH BRA PAD
                                                                                                                                                                                                                                                                                                          SITE PLAN
                                                                                                                                                                                                                                                                                              DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                                                  Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 64 of 116

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                                                                                                                                                                                                                                                                                                     LOCATION MAP
                                                                                                                                      Resource: W-SLH-043 / W-SLH-044 (PEM)
                                                                                                                                        Impact Type: Fill or Dredge
                                                                                                                                                                                                                                                                                     LEGEND (FEATURES WHEN PR ESENT)
                                                                                                                                        Impact Area: 0.018 acres
                                                                                                                                        Polygon Type: A-2                                                                                                                                     Limits of D isturbance

                                                                                                                                                                                                                                                                                              Watercou rse

                                                                                                                                                                                                                                                                                              Stormw ater Feature (SF)

                                                                                                                                                                                                                                                                                              Wetland

                                                                                                                                                                                                                                           Resource: W-SLH-041 / W-SLH-042 (PEM)              Man-Induced Wetland (MIW)
                                                                                                                                                                                                                                             Impact Type: Fill or Dredge
                                                                                                                                                                                              W-SLH-044                                                                                       Ope n-End
                                                                                                                                                                                                                                             Impact Area: 0.014 acres
                                                                                                                                                                                                                                             Polygon Type: A-2                       Estim ated Im pact Area
                                                                                                                                                                                                                                                                                              Transient
                                                                                                                                                                                                                                                                                              Habitat A lteration
                                                                                                                                                                                                                                                                                              Fill or Dredge
                                                                                                                                                                                                                                                       W-SLH-041
                                                                                                                                                                                                                                                                                              A-1 Polygon
                                                                                                                                                                                                                                                                                              A-2 Polygon

                                                                                                                                                                                                                                                                                              A-2 Impact

                                                                                                                                                   W-SLH-043



                                                                                                                                                                                                                                                                                          0                  150                 300
                                                                                                                                                                                                                                                               W-SLH-039
                                                                                                                                                                                                                                                                                                             Feet
                                                                                                                                                                                                                               W-SLH-042
                                                                                                                                                                                                                                                                                                 0            30            60

                                                                                                                                                                              MIW-S LH -011                                                                                                                 Meters



                                                                                                                                                                                                                                     W-SLH-040                                     Resource: W-SLH-010             (PE M)
                                                                                                                                                                                                                                                                                                       BASE MAP SOURC    E:
                                                                                                                                                                                                                                                                                     Impact     Type: Fill or Dredge
                                                                                                                                                                                                                                                                                     NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                                                                       RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                                                     Impact Area:       0.010
                                                                                                                                                                                                                                                                                                     FIELD OFFIC acres
                                                                                                                                                                                                                                                                                                                 E, 20191108

                                                                                                                                                                                                                                                                                     Polygon Type: A-2
                                                                                                                                                                                                                                                                                        CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                                                                              FLASH BRA PAD
                                                                                                                                                                                                                                                                                                SITE PLAN
                                                                                                                                                                                                                            Resource: W-SLH-039 / W-SLH-040 (PEM)
                                                                                                                                                                                                                                                                                   DATE: 12/18/2020                 1 INCH = 150 FEET
                                                                                                                                                                                                                              Impact Type: Fill or Dredge
                                                                                                                                                                                                                              Impact Area: 0.022 acres
                                                                                                                                                                                                                              Polygon Type: A-2
                                                                                                                                       Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 65 of 116

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                                                                                                                                                                                                                                      LOCATION MAP

                                                                                                                                                                                                                      LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                              Limits of D isturbance

                                                                                                                                                                                                                              Watercou rse

                                                                                                                                                                                                                              Stormw ater Feature (SF)

                                                                                                                                                                                                                              Wetland

                                                                                                                                                                                                                              Man-Induced Wetland (MIW)

                                                                                                                                                                                                                              Ope n-End
                                                                                                                                                                                                                      Estim ated Im pact Area
                                                                                                                                                                                                                              Transient
                                                                                                                                                                                                                              Habitat A lteration
                                                                                                                                                                                                                              Fill or Dredge
                                                                                                                                                                                                                              A-1 Polygon
                                                                                                                                                                                                                              A-2 Polygon

                                                                                                                                                                                                                              A-2 Impact

                                                                                                                                                                                 Resource: W-MA B-042 (PFO)
                                                                                                                                                                                   Impact Type: Fill or Dredge
                                                                                                                                                                                   Impact Area: 0.050 acres
                                                                                                                                                                                   Polygon Type: A-1
                                                                                                                                                                                                                          0                   150                 300

                                                                                                                                                                                                                                             Feet
                                                                                                                                                                                        Resource: W-MA B-042 (PFO)                0            30           60
                                                                                                                                                                                          Impact Type: Transient
                                                                                                                                                                                          Impact Area: 0.052 acres                           Meters
                                                                                                                                                                                          Polygon Type: A-1

                                                                                                                                                                                                                                         BASE MAP SOURC E:
                                                                                                                                                                                                                       NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                         RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                       FIELD OFFIC E, 20191108
                                                                                                                                      Resource: W-MA B-042 (PFO)
                                                                                                                                        Impact Type: Fill or Dredge                                                      CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                        Impact Area: 0.066 acres                  W-MAB-042                                  GREGORY BRA PAD
                                                                                                                                        Polygon Type: A-2                                                                        SITE PLAN
                                                                                                                                                                                                                     DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                                  Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 66 of 116



                                                                                                                                     Resource: W-GJM-021 (P EM)
                                                                                                                                       Impact Type: Transient
                                                                                                                                       Impact Area: 0.020 acres
                                                                                                                                       Polygon Type: A-1
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                                                                                                                                                                                                                                                        LOCATION MAP

                                                                                                                                                                                                                                        LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                                Limits of D isturbance

                                                                                                                                                                                                                                                Watercou rse

                                                                                                                                                                                                                                                Stormw ater Feature (SF)

                                                                                                                                                                                                                                                Wetland
                                                                                                                                            W-GJM-021
                                                                                                                                                                                                                                                Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                                Ope n-End
                                                                                                                                                                                                                                        Estima ted Impac t Area
                                                                                                                                                                                                                                                Transient

                                                                                                                                                                                                                                                Habitat Alteration

                                                                                                                                                                                                                                                Fill or Dredg e

                                                                                                                                                                                                                                                A-1 Polygon
                                                                                                                                                                                                                                                A-2 Polygon

                                                                                                                                                                                                                                                A-2 Impact




                                                                                                                                                                                                                                            0                   150                 300

                                                                                                                                                                                                                                                               Feet
                                                                                                                                                                                                                                                    0             30           60

                                                                                                                                                                                                                                                               Meters



                                                                                                                                                                                                                                                           BASE MAP SOURC E:
                                                                                                                                                                                                                                         NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                           RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                         FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                           CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                                HARRY BRA PAD
                                                                                                                                                                                                                                                   SITE PLAN
                                                                                                                                                                                                                                       DATE: 12/17/2020                1 INCH = 150 FEET



                                                                                                                                                                                                                        MIW-GJM-023
                                                                                                                                                   Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 67 of 116

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                                                                                                                                                                                                                                         LOCATION MAP

                                                                                                                                                                                                                         LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                 Limits of D isturbance

                                                                                                                                                                                                                                 Watercou rse

                                                                                                                                                                                                                                 Stormw ater Feature (SF)

                                                                                                                                                                                                                                 Wetland

                                                                                                                                                                                                                                 Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                 Ope n-End
                                                                                                                                                                                                                         Estima ted Impac t Area
                                                                                                                                                                                                                                 Transient

                                                                                                                                                                                                                                 Habitat Alteration

                                                                                                                                                                                                                                 Fill or Dredg e

                                                                                                                                                                                                                                 A-1 Polygon
                                                                                                                                                                                                                                 A-2 Polygon

                                                                                                                                                                                                                                 A-2 Impact

                                                                                                                                     MIW-GJM-023



                                                                                                                                                                                                                             0                   150                 300

                                                                                                                                                                                                                                                Feet
                                                                                                                                                                                                                                     0             30           60

                                                                                                                                                                                                                                                Meters



                                                                                                                                                                                                                                            BASE MAP SOURC E:
                                                                                                                                                                                                                          NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                            RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                          FIELD OFFIC E, 20191108


                                                                                                                                                                                                                            CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                 HARRY BRA PAD
                                                                                                                                                                                                                                    SITE PLAN
                                                                                                                                                                                                                        DATE: 12/17/2020                1 INCH = 150 FEET
                                                                                                                                                                                           Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 68 of 116

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                                                                                                                                                  Resource: W-MA B-083 / W-MAB-084 (PEM)                                                                                                           LOCATION MAP
                                                                                                                                                    Impact Type: Fill or Dredge
                                                                                                                                                    Impact Area: 0.226 acres                                                                                                       LEGEND (FEATURES WHEN PR ESENT)
                                                                                                                                                    Polygon Type: A-2
                                                                                                                                                                                                                                                                                           Limits of D isturbance

                                                                                                                                                                                                                                                                                           Watercou rse
                                                                                                                                                                                                                                                    Resource: W-MA B-084 (PE M)
                                                                                                                                                                                                                                                                                           Stormw ater Feature (SF)
                                                                                                                                                                                                                                                      Impact Type: Transient
                                                                                                                                                                                                                                                      Impact Area: 0.239 acres             Wetland
                                                                                                                                                                                                                                                      Polygon Type: A-1
                                                                                                                                                                                                                                                                                           Man-Induced Wetland (MIW)
                                                                                                                                         Resource: W-MA B-081 (PE M)                                                                                                                       Ope n-End
                                                                                                                                           Impact Type: Fill or Dredge
                                                                                                                                                                                                                                                                                   Estim ated Im pact Area
                                                                                                                                           Impact Area: 0.013 acres
                                                                                                                                           Polygon Type: A-2                                                                                                                               Transient

                                                                                                                                                                                                                                                                W-MAB-084                  Habitat A lteration
                                                                                                                                      Resource: W-MA B-081 (PFO)                                                                                                                           Fill or Dredge
                                                                                                                                        Impact Type: Habitat Alteration
                                                                                                                                                                                                                                                                                           A-1 Polygon
                                                                                                                                        Impact Area: 0.036 acres
                                                                                                                                        Polygon Type: A-1                                                                                                                                  A-2 Polygon

                                                                                                                                                                                                                                                                                           A-2 Impact




                                                                                                                                           W-MAB-081
                                                                                                                                                                                                                                                                                       0                   150                 300

                                                                                                                                                                                                                                                                                                          Feet
                                                                                                                                                                                                                                                                                               0            30           60
                                                                                                                                                       W-MAB-081
                                                                                                                                                                                                                                               W-MAB-083                                                  Meters


                                                                                                                                                                          S-MAB -040
                                                                                                                                                                                                                                                                                                      BASE MAP SOURC E:
                                                                                                                                                                                                                                                                                    NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                             Resource: W-MA B-083 (PE M)                              RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY

                                                                                                                                                                                                                               Impact Type: Transient
                                                                                                                                                                                                                                                                                                    FIELD OFFIC E, 20191108

                                                                                                                                                                                                                               Impact Area: 0.047 acres
                                                                                                                                                                                                                               Polygon Type: A-1
                                                                                                                                                                                                                                                                                      CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                                                                      HATCH - BRAD 20 FRAC POND
                                                                                                                                                                                                                                                                                               SITE PLAN
                                                                                                                                                                                                                                                                                  DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                                   Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 69 of 116

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                                                                                                                                                                                                                   Resource: W-MA B-025 (PE M)
                                                                                                                                                                                                                     Impact Type: Transient
                                                                                                                                                                                                                     Impact Area: 0.004 acres                                 LOCATION MAP
                                                                                                                                                                                                                     Polygon Type: A-1
                                                                                                                                                                                                                                                              LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                                                      Limits of D isturbance

                                                                                                                                                                                                                                                                      Watercou rse

                                                                                                                                                                                                                                                                      Stormw ater Feature (SF)
                                                                                                                                                                                                                              W-MAB-025
                                                                                                                                                                                                                                                                      Wetland

                                                                                                                                                                                                                                                                      Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                                                      Ope n-End
                                                                                                                                                                                                                                                              Estim ated Im pact Area
                                                                                                                                                                                                                                              W-MAB-021
                                                                                                                                                                                                                                                                      Transient
                                                                                                                                                                                                                                                                      Habitat A lteration
                                                                                                                                                                                                                                             W-MAB-021                Fill or Dredge
                                                                                                                                                                                                                                                                      A-1 Polygon
                                                                                                                                                                                                                                                                      A-2 Polygon

                                                                                                                                      Resource: W-MA B-023 (PFO)                                                                                                      A-2 Impact
                                                                                                                                        Impact Type: Habitat Alteration
                                                                                                                                        Impact Area: 0.094 acres
                                                                                                                                        Polygon Type: A-1

                                                                                                                                                                                                                         Resource: W-MA B-021 (PFO)
                                                                                                                                                                                                                           Impact Type: Habitat Alteration        0                   150                 300
                                                                                                                                                                                                                           Impact Area: 0.081 acres
                                                                                                                                                                                                                           Polygon Type: A-1                                         Feet
                                                                                                                                                                                                                                                                          0            30           60

                                                                                                                                                                                                                                                                                     Meters



                                                                                                                                                                                                                                                                                 BASE MAP SOURC E:
                                                                                                                                                                                                                                                               NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                                                 RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                                               FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                                                 CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                                                      JACOBS BRA PAD
                                                                                                                                                                                               W-MAB-023                                                                 SITE PLAN
                                                                                                                                                                                                                                                             DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                        W-MAB-023
                                                                                                                                                                                     Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 70 of 116



                                                                                                                                                                         Resource: W-MA B-005 / W-JLK-123 (PE M)
                                                                                                                                                                           Impact Type: Fill or Dredge
                                                                                                                                                                           Impact Area: 0.025 acres
                                                                                                                                                                           Polygon Type: A-1
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                                                                                                                                                                                                                          W-JLK-125

                                                                                                                                                                                                                                                                                                           LOCATION MAP

                                                                                                                                                                                                                                                                                           LEGEND (FEATURES WHEN PR ESENT)
                                                                                                                                      S-JLK-045                                                                                                                                                    Limits of D isturbance

                                                                                                                                                                                                                                  W-JLK-125                                                        Watercou rse

                                                                                                                                                                                                                                                                                                   Stormw ater Feature (SF)
                                                                                                                                                       W-MAB-005
                                                                                                                                                                                                                                                                                                   Wetland

                                                                                                                                                                                                                                                                                                   Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                                          Resource: W-JLK-126 (PEM)                Ope n-End
                                                                                                                                                                                                                                                            Impact Type: Fill or Dredge    Estim ated Im pact Area
                                                                                                                                                                                                                                                            Impact Area: 0.009 acres
                                                                                                                                                                                                                                                            Polygon Type: A-1                      Transient
                                                                                                                                                                                                                                                                                                   Habitat A lteration

                                                                                                                                                  W-JLK-123                                                                                                                                        Fill or Dredge
                                                                                                                                                                                                                                                                                                   A-1 Polygon
                                                                                                                                                                                                                                                                       S-JLK-046
                                                                                                                                                                                                                                                                                                   A-2 Polygon

                                                                                                                                                                                                                                                                                                   A-2 Impact



                                                                                                                                                                                                                                                           W-JLK-126
                                                                                                                                                              Resource: W-JLK-123 (PEM)
                                                                                                                                                                Impact Type: Transient                                                                                                         0                   150                 300
                                                                                                                                                                Impact Area: 0.011 acres
                                                                                                                                                                Polygon Type: A-1                                                                                                                                 Feet
                                                                                                                                                                                                                                                                                                       0            30           60

                                                                                                                                                                                                                                                                                                                  Meters

                                                                                                                                                                                  Resource: W-JLK-123 (PEM)
                                                                                                                                                                                    Impact Type: Fill or Dredge                                                                                               BASE MAP SOURC E:
                                                                                                                                                                                    Impact Area: 0.081 acres                                                                                NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                                                                              RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                    Polygon Type: A-1                                                                                                       FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                                                                              CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                                                                                JAMES BARRETT BRA PAD
                                                                                                                                                                                                                                                                                                       SITE PLAN
                                                                                                                                                                                                                                                                                          DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                     Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 71 of 116

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                                                                                                                                      MIW-W RA-274
                                                                                                                                                                                                                                                 LOCATION MAP

                                                                                                                                                                                                                                 LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                         Limits of D isturbance

                                                                                                                                                                                                                                         Watercou rse

                                                                                                                                                                                                                                         Stormw ater Feature (SF)

                                                                                                                                                                                                                                         Wetland

                                                                                                                                                                                                                                         Man-Induced Wetland (MIW)

                                                                                                                                                                                                Resource: W-WRA-275 (P EM)               Ope n-End
                                                                                                                                                                                                  Impact Type: Fill or Dredge    Estim ated Im pact Area
                                                                                                                                                                                                  Impact Area: 0.165 acres
                                                                                                                                                                                                  Polygon Type: A-2                      Transient
                                                                                                                                                                                                                                         Habitat A lteration
                                                                                                                                                                                                                                         Fill or Dredge
                                                                                                                                                                                                                                         A-1 Polygon
                                                                                                                                                                                                                                         A-2 Polygon

                                                                                                                                                                                                                                         A-2 Impact
                                                                                                                                      W-WRA-275




                                                                                                                                                                                                                                     0                   150                 300

                                                                                                                                                                                                                                                        Feet
                                                                                                                                                                                                                                             0            30           60

                                                                                                                                                                                                                                                        Meters



                                                                                                                                                                                                                                                    BASE MAP SOURC E:
                                                                                                                                                                                                                                  NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                    RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                  FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                    CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                       LAMBS FARM BRA PAD
                                                                                                                                                                                                                                            SITE PLAN
                                                                                                                                                                                                                                DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                      Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 72 of 116

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                                                                                                                                                                                                                            LOCATION MAP

                                                                                                                                                                                                            LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                    Limits of D isturbance

                                                                                                                                                                                                                    Watercou rse

                                                                                                                                                                                                                    Stormw ater Feature (SF)

                                                                                                                                                                                                                    Wetland

                                                                                                                                                                                                                    Man-Induced Wetland (MIW)

                                                                                                                                                                                                                    Ope n-End
                                                                                                                                                                                                            Estim ated Im pact Area
                                                                                                                                                                                                                    Transient
                                                                                                                                                                                                                    Habitat A lteration
                                                                                                                                                                                                                    Fill or Dredge
                                                                                                                                                                                                                    A-1 Polygon
                                                                                                                                                                                                                    A-2 Polygon

                                                                                                                                                                                                                    A-2 Impact




                                                                                                                                                                                                                0                   150                 300

                                                                                                                                                                                                                                   Feet
                                                                                                                                                                                                                        0            30           60

                                                                                                                                                                                                                                   Meters



                                                                                                                                                                                                                               BASE MAP SOURC E:
                                                                                                                                                                                                             NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                               RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                             FIELD OFFIC E, 20191108


                                                                                                                                                                                                               CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                  LAMBS FARM BRA PAD
                                                                                                                                                                                                                       SITE PLAN
                                                                                                                                                                                                           DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                      Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 73 of 116



                                                                                                                                                        S-B JT-123




                                                                                                                                                                                                Resource: W-BJT-285 (PSS )
                                                                                                                                                                                                  Impact Type: Fill or Dredge
                                                                                                                                                                                                  Impact Area: 0.018 acres
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                                                                                                                                                                                                  Polygon Type: A-2




                                                                                                                                                                                                            Resource: W-BJT-285 (PSS )                    LOCATION MAP
                                                                                                                                                                                                              Impact Type: Transient
                                                                                                                                                                                                              Impact Area: 0.013 acres    LEGEND (FEATURES WHEN PR ESENT)
                                                                                                                                                                                                              Polygon Type: A-2
                                                                                                                                                                                                                                                  Limits of D isturbance

                                                                                                                                                                                                                                                  Watercou rse

                                                                                                                                                                                                                                                  Stormw ater Feature (SF)

                                                                                                                                                                                                                                                  Wetland

                                                                                                                                                                                                                                                  Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                                  Ope n-End
                                                                                                                                                                                                                                          Estim ated Im pact Area
                                                                                                                                                                                                                                                  Transient
                                                                                                                                                                                                                                                  Habitat A lteration
                                                                                                                                                                                                                                                  Fill or Dredge
                                                                                                                                                                                                                                                  A-1 Polygon
                                                                                                                                                                                                                                                  A-2 Polygon

                                                                                                                                                                                                                                                  A-2 Impact




                                                                                                                                                                                                                                              0                   150                 300

                                                                                                                                                                                                                                                                 Feet
                                                                                                                                                                                                                                                      0            30           60

                                                                                                                                                                                                                                                                 Meters



                                                                                                                                                                                                                                                             BASE MAP SOURC E:
                                                                                                                                                                                                                                           NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                             RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                      W-BJT-285                                            FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                             CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                             LEMOREVIEW FARMS BRA PAD
                                                                                                                                                                                                                                                     SITE PLAN
                                                                                                                                      W-BJT-285                                                                                          DATE: 12/18/2020               1 INCH = 150 FEET



                                                                                                                                           W-BJT-285
                                                                                                                                      Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 74 of 116

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                                                                                                                                                                                                                            LOCATION MAP

                                                                                                                                                                                                            LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                    Limits of D isturbance

                                                                                                                                                                                                                    Watercou rse

                                                                                                                                                                                                                    Stormw ater Feature (SF)

                                                                                                                                                                                                                    Wetland

                                                                                                                                                                                                                    Man-Induced Wetland (MIW)

                                                                                                                                                                                                                    Ope n-End
                                                                                                                                                                                                            Estim ated Im pact Area
                                                                                                                                                                                                                    Transient
                                                                                                                                                                                                                    Habitat A lteration
                                                                                                                                                                                                                    Fill or Dredge
                                                                                                                                                                                                                    A-1 Polygon
                                                                                                                                                                                                                    A-2 Polygon

                                                                                                                                                                                                                    A-2 Impact




                                                                                                                                                                                                                0                   150                 300

                                                                                                                                                                                                                                   Feet
                                                                                                                                                                                                                        0            30           60

                                                                                                                                                                                                                                   Meters



                                                                                                                                                                                                                               BASE MAP SOURC E:
                                                                                                                                                                                                             NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                               RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                             FIELD OFFIC E, 20191108


                                                                                                                                                                                                               CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                               LEMOREVIEW FARMS BRA PAD
                                                                                                                                                                                                                       SITE PLAN
                                                                                                                                                                                                           DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                      Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 75 of 116

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                                                                                                                                                                                                                                                 LOCATION MAP

                                                                                                                                                                                                                                 LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                         Limits of D isturbance

                                                                                                                                                                                                                                         Watercou rse

                                                                                                                                                                                                                                         Stormw ater Feature (SF)

                                                                                                                                                                                                                                         Wetland

                                                                                                                                                                                                                                         Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                         Ope n-End
                                                                                                                                                                                                                                 Estim ated Im pact Area
                                                                                                                                                                                                                                         Transient
                                                                                                                                                                                                                                         Habitat A lteration
                                                                                                                                                                                                                                         Fill or Dredge
                                                                                                                                                                    W-WRA-442
                                                                                                                                                                                                                                         A-1 Polygon
                                                                                                                                                                                                                                         A-2 Polygon

                                                                                                                                                                                                                                         A-2 Impact




                                                                                                                                                                                                                                     0                   150                 300

                                                                                                                                                                                                                                                        Feet
                                                                                                                                                                                                                                             0            30           60

                                                                                                                                                                                                                                                        Meters



                                                                                                                                                                                                                                                    BASE MAP SOURC E:
                                                                                                                                                                                                                                  NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                    RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                  FIELD OFFIC E, 20191108

                                                                                                                                       W-WRA-441
                                                                                                                                                                                        Resource: W-WRA-441 / W-WRA-442 (PEM)
                                                                                                                                                                                                                                    CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                          Impact Type: Fill or Dredge                     LUCY BRA PAD
                                                                                                                                                                                          Impact Area: 0.017 acres                          SITE PLAN
                                                                                                                                                                                          Polygon Type: A-2
                                                                                                                                                                                                                                DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                      Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 76 of 116

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                                                                                                                                                                                                                            LOCATION MAP

                                                                                                                                                                                                            LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                    Limits of D isturbance

                                                                                                                                                                                                                    Watercou rse

                                                                                                                                                                                                                    Stormw ater Feature (SF)

                                                                                                                                                                                                                    Wetland

                                                                                                                                                                                                                    Man-Induced Wetland (MIW)

                                                                                                                                                                                                                    Ope n-End
                                                                                                                                                                                                            Estim ated Im pact Area
                                                                                                                                                                                                                    Transient
                                                                                                                                                                                                                    Habitat A lteration
                                                                                                                                                                                                                    Fill or Dredge
                                                                                                                                                                                                                    A-1 Polygon
                                                                                                                                                                                                                    A-2 Polygon

                                                                                                                                                                                                                    A-2 Impact




                                                                                                                                                                                                                0                   150                 300

                                                                                                                                                                                                                                   Feet
                                                                                                                                                                                                                        0            30           60

                                                                                                                                                                                                                                   Meters



                                                                                                                                                                                                                               BASE MAP SOURC E:
                                                                                                                                                                                                             NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                               RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                             FIELD OFFIC E, 20191108


                                                                                                                                                                                                               CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                     LUCY BRA PAD
                                                                                                                                                                                                                       SITE PLAN
                                                                                                                                                                                                           DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                      Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 77 of 116

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                                                                                                                                        S-W RA-210                                                                          LOCATION MAP

                                                                                                                                                                                                            LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                    Limits of D isturbance

                                                                                                                                                                                                                    Watercou rse

                                                                                                                                                                                                                    Stormw ater Feature (SF)

                                                                                                                                                                                                                    Wetland

                                                                                                                                                                                                                    Man-Induced Wetland (MIW)

                                                                                                                                                                                                                    Ope n-End
                                                                                                                                                                                                            Estim ated Im pact Area
                                                                                                                                                                                                                    Transient
                                                                                                                                                                                                                    Habitat A lteration
                                                                                                                                                                                                                    Fill or Dredge
                                                                                                                                                                                                                    A-1 Polygon
                                                                                                                                                                                                                    A-2 Polygon

                                                                                                                                                                                                                    A-2 Impact



                                                                                                                                                          S-W RA-209


                                                                                                                                                                                                                0                   150                 300

                                                                                                                                                                                                                                   Feet
                                                                                                                                                                                                                        0            30           60

                                                                                                                                                                                                                                   Meters



                                                                                                                                                                                                                               BASE MAP SOURC E:
                                                                                                                                                                                                             NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                               RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                             FIELD OFFIC E, 20191108


                                                                                                                                                                                                               CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                     LUCY BRA PAD
                                                                                                                                                                                                                       SITE PLAN
                                                                                                                                                                                                           DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                      Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 78 of 116




                                                                                                                                             W-MAB-012
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                                                                                                                                                                                   Resource: W-MA B-012 (PE M)
                                                                                                                                                                                     Impact Type: Transient
                                                                                                                                                                                     Impact Area: 0.013 acres
                                                                                                                                                                                     Polygon Type: A-1                            LOCATION MAP

                                                                                                                                                                                                                  LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                          Limits of D isturbance

                                                                                                                                                                                                                          Watercou rse

                                                                                                                                                                                                                          Stormw ater Feature (SF)

                                                                                                                                                                                                                          Wetland

                                                                                                                                                                                                                          Man-Induced Wetland (MIW)

                                                                                                                                                                                                                          Ope n-End
                                                                                                                                                                                                                  Estim ated Im pact Area
                                                                                                                                                                                                                          Transient
                                                                                                                                                                                                                          Habitat A lteration
                                                                                                                                                                                                                          Fill or Dredge
                                                                                                                                                                                                                          A-1 Polygon
                                                                                                                                                                                                                          A-2 Polygon

                                                                                                                                                                                                                          A-2 Impact




                                                                                                                                                                                                                      0                   150                 300

                                                                                                                                                                                                                                         Feet
                                                                                                                                                                                                                              0            30           60

                                                                                                                                                                                                                                         Meters



                                                                                                                                                                                                                                     BASE MAP SOURC E:
                                                                                                                                                                                                                   NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                     RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                   FIELD OFFIC E, 20191108


                                                                                                                                                                                                                     CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                      MATT WILL FARMS BRA PAD
                                                                                                                                                                                                                             SITE PLAN
                                                                                                                                                                                                                 DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                      Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 79 of 116

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                                                                                                                                                                                                                            LOCATION MAP

                                                                                                                                                                                                            LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                    Limits of D isturbance

                                                                                                                                                                                                                    Watercou rse

                                                                                                                                                                                                                    Stormw ater Feature (SF)

                                                                                                                                                                                                                    Wetland

                                                                                                                                                                                                                    Man-Induced Wetland (MIW)

                                                                                                                                                                                                                    Ope n-End
                                                                                                                                                                                                            Estim ated Im pact Area
                                                                                                                                                                                                                    Transient
                                                                                                                                                                                                                    Habitat A lteration
                                                                                                                                                                                                                    Fill or Dredge
                                                                                                                                                                                                                    A-1 Polygon
                                                                                                                                                                                                                    A-2 Polygon

                                                                                                                                                                                                                    A-2 Impact




                                                                                                                                                                                                                0                   150                 300

                                                                                                                                                                                                                                   Feet
                                                                                                                                                                                                                        0            30           60

                                                                                                                                                                                                                                   Meters



                                                                                                                                                                                                                               BASE MAP SOURC E:
                                                                                                                                                                                                             NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                               RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                             FIELD OFFIC E, 20191108


                                                                                                                                                                                                               CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                MATT WILL FARMS BRA PAD
                                                                                                                                                                                                                       SITE PLAN
                                                                                                                                                                                                           DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                            Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 80 of 116

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                                                                                                                                                                                                                                                  LOCATION MAP

                                                                                                                                                                                                                                  LEGEND (FEATURES WHEN PR ESENT)
                                                                                                                                                     MIW-B JT-284                                                                         Limits of D isturbance

                                                                                                                                                                                                                                          Watercou rse

                                                                                                                                                                                                                                          Stormw ater Feature (SF)

                                                                                                                                                                                                                                          Wetland

                                                                                                                                                                                                                                          Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                          Ope n-End
                                                                                                                                                                                                                                  Estim ated Im pact Area
                                                                                                                                                                                                                                          Transient
                                                                                                                                                                                                                                          Habitat A lteration
                                                                                                                                                                                                                                          Fill or Dredge
                                                                                                                                                                                                                                          A-1 Polygon
                                                                                                                                                                                                                                          A-2 Polygon

                                                                                                                                                                                                                                          A-2 Impact




                                                                                                                                                                                                                                      0                   150                 300
                                                                                                                                      MIW-B JT-283
                                                                                                                                                                                                                                                         Feet
                                                                                                                                                                                                                                              0            30           60

                                                                                                                                                                                                                                                         Meters



                                                                                                                                                                                                                                                     BASE MAP SOURC E:
                                                                                                                                                                                                                                   NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                     RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                   FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                     CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                          OILCAN BRA PAD
                                                                                                                                                                                                                                             SITE PLAN
                                                                                                                                                                                                                                 DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                      Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 81 of 116

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                                                                                                                                                                                                                                           LOCATION MAP
                                                                                                                                                                                                           MIW-B JT-284
                                                                                                                                                                                                                           LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                   Limits of D isturbance

                                                                                                                                                                                                                                   Watercou rse

                                                                                                                                                                                                                                   Stormw ater Feature (SF)

                                                                                                                                                                                                                                   Wetland

                                                                                                                                                                                                                                   Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                   Ope n-End
                                                                                                                                                                                                                           Estim ated Im pact Area
                                                                                                                                                                                                                                   Transient
                                                                                                                                                                                                                                   Habitat A lteration
                                                                                                                                                                                                                                   Fill or Dredge
                                                                                                                                                                                                                                   A-1 Polygon
                                                                                                                                                                                                                                   A-2 Polygon

                                                                                                                                                                                                                                   A-2 Impact



                                                                                                                                                                               MIW-B JT-283

                                                                                                                                                                                                                               0                   150                 300

                                                                                                                                                                                                                                                  Feet
                                                                                                                                                                                                                                       0            30           60

                                                                                                                                                                                                                                                  Meters



                                                                                                                                                                                                                                              BASE MAP SOURC E:
                                                                                                                                                                                                                            NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                              RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                            FIELD OFFIC E, 20191108


                                                                                                                                                                                                                              CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                   OILCAN BRA PAD
                                                                                                                                                                                                                                      SITE PLAN
                                                                                                                                                                                                                          DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                     Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 82 of 116

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                                                                                                                                                                                                                                           LOCATION MAP

                                                                                                                                                                                                                           LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                   Limits of D isturbance

                                                                                                                                                                                                                                   Watercou rse

                                                                                                                                                                                                                                   Stormw ater Feature (SF)

                                                                                                                                                                                                                                   Wetland

                                                                                                                                                                                                                                   Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                   Ope n-End
                                                                                                                                                                                                                           Estim ated Im pact Area
                                                                                                                                                                                                                                   Transient
                                                                                                                                                                                                                                   Habitat A lteration
                                                                                                                                                                                                                                   Fill or Dredge
                                                                                                                                                                                                                                   A-1 Polygon
                                                                                                                                                                                                                                   A-2 Polygon

                                                                                                                                                                                                                                   A-2 Impact




                                                                                                                                                                                                                               0                   150                 300

                                                                                                                                                                                                                                                  Feet
                                                                                                                                      MIW-B JT-278
                                                                                                                                                                                                                                       0            30           60


                                                                                                                                                                 Resource: S -BJT-121 (PE R)                                                      Meters
                                                                                                                                                                   Impact Type: Fill or Dredge
                                                                                                                                                                   Impact Length: 37 feet
                                                                                                                                                                   Polygon Type: A-2                                                          BASE MAP SOURC E:
                                                                                                                                                                                                                            NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                              RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                            FIELD OFFIC E, 20191108



                                                                                                                                                                   S-B JT-121                                                 CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                   OILCAN BRA PAD
                                                                                                                                                                                                                                      SITE PLAN
                                                                                                                                                                                                                          DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                      Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 83 of 116

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                                                                                                                                                                                                                            LOCATION MAP

                                                                                                                                                                                                            LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                    Limits of D isturbance

                                                                                                                                                                                                                    Watercou rse

                                                                                                                                                                                                                    Stormw ater Feature (SF)

                                                                                                                                                                                                                    Wetland

                                                                                                                                                                                                                    Man-Induced Wetland (MIW)

                                                                                                                                                                                                                    Ope n-End
                                                                                                                                                                                                            Estim ated Im pact Area
                                                                                                                                                                                                                    Transient
                                                                                                                                                                                                                    Habitat A lteration
                                                                                                                                                                                                                    Fill or Dredge
                                                                                                                                                                                                                    A-1 Polygon
                                                                                                                                                                                                                    A-2 Polygon

                                                                                                                                                                                                                    A-2 Impact




                                                                                                                                                                                                                0                   150                 300

                                                                                                                                                                                                                                   Feet
                                                                                                                                                                                                                        0            30           60

                                                                                                                                                                                                                                   Meters



                                                                                                                                                                                                                               BASE MAP SOURC E:
                                                                                                                                                                                                             NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                               RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                             FIELD OFFIC E, 20191108


                                                                                                                                                                                                               CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                    OILCAN BRA PAD
                                                                                                                                                                                                                       SITE PLAN
                                                                                                                                                                                                           DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                      Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 84 of 116

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                                                                                                                                                                                                                            LOCATION MAP

                                                                                                                                                                                                            LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                    Limits of D isturbance

                                                                                                                                                                                                                    Watercou rse

                                                                                                                                                                                                                    Stormw ater Feature (SF)

                                                                                                                                                                                                                    Wetland

                                                                                                                                                                                                                    Man-Induced Wetland (MIW)

                                                                                                                                                                                                                    Ope n-End
                                                                                                                                                                                                            Estim ated Im pact Area
                                                                                                                                                                                                                    Transient
                                                                                                                                                                                                                    Habitat A lteration
                                                                                                                                                                                                                    Fill or Dredge
                                                                                                                                                                                                                    A-1 Polygon
                                                                                                                                                                                                                    A-2 Polygon

                                                                                                                                                                                                                    A-2 Impact




                                                                                                                                                                                                                0                   150                 300

                                                                                                                                                                                                                                   Feet
                                                                                                                                                                                                                        0            30           60

                                                                                                                                                                                                                                   Meters



                                                                                                                                                                                                                               BASE MAP SOURC E:
                                                                                                                                                                                                             NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                               RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                             FIELD OFFIC E, 20191108


                                                                                                                                                                                                               CHESAPEAKE APPALACHIA LLC
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                                                                                                                                                                                                                    OILCAN BRA PAD
                                                                                                                                                                                                                       SITE PLAN
                                                                                                                                                                                                           DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                          Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 85 of 116




                                                                                                                                             Resource: W-BJT-275 (PEM)
                                                                                                                                               Impact Type: Transient
                                                                                                                                               Impact Length: 0.003 acres
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                                                                                                                                               Polygon Type: A-1

                                                                                                                                                                                        Resource: S -BJT-120 (PE R)
                                                                                                                                                                                          Impact Type: Fill or Dredge
                                                                                                                                                                                          Impact Length: 88 feet                         LOCATION MAP
                                                                                                                                                                                          Polygon Type: A-2
                                                                                                                                                                                                                         LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                 Limits of D isturbance

                                                                                                                                                                                                                                 Watercou rse
                                                                                                                                      S-B JT-120                                                                                 Stormw ater Feature (SF)

                                                                                                                                                                                                                                 Wetland

                                                                                                                                                                                                                                 Man-Induced Wetland (MIW)
                                                                                                                                              W-BJT-275
                                                                                                                                                                                                                                 Ope n-End
                                                                                                                                                                                                                         Estim ated Im pact Area
                                                                                                                                                                                                                                 Transient
                                                                                                                                                                                                                                 Habitat A lteration
                                                                                                                                                                                                                                 Fill or Dredge
                                                                                                                                                                                                                                 A-1 Polygon
                                                                                                                                                                                                                                 A-2 Polygon

                                                                                                                                                                                                                                 A-2 Impact




                                                                                                                                                                                                                             0                   150                 300

                                                                                                                                                                                                                                                Feet
                                                                                                                                                                                                                                     0            30           60

                                                                                                                                                                                                                                                Meters



                                                                                                                                                                                                                                            BASE MAP SOURC E:
                                                                                                                                                                                                                          NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                            RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                          FIELD OFFIC E, 20191108


                                                                                                                                                                                                                            CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                 OILCAN BRA PAD
                                                                                                                                                                                                                                    SITE PLAN
                                                                                                                                                                                                                        DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                                               Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 86 of 116




                                                                                                                                                                                                                 MIW-B JT-346


                                                                                                                                                     W-BJT-345A
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                                                                                                                                                                                                                                Resource: W-BJT-345A (P EM)                                 LOCATION MAP
                                                                                                                                                                                                                                  Impact Type: Transient
                                                                                                                                                                                                                                  Impact Area: 0.002 acres                  LEGEND (FEATURES WHEN PR ESENT)
                                                                                                                                                                                                                                  Polygon Type: A-2
                                                                                                                                                                                                                                                                                    Limits of D isturbance

                                                                                                                                                                                                                                                                                    Watercou rse
                                                                                                                                      W-BJT-344
                                                                                                                                                                                                                                                                                    Stormw ater Feature (SF)
                                                                                                                                                                                                                                     Resource: W-BJT-344 (PFO)
                                                                                                                                                                                                                                       Impact Type: Habitat Alteration              Wetland
                                                                                                                                                                                                                                       Impact Area: 0.262 acres
                                                                                                                                                                                                                                       Polygon Type: A-2                            Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                                                                    Ope n-End
                                                                                                                                                                                                                                                                            Estim ated Im pact Area
                                                                                                                                                                                                                                                                                    Transient
                                                                                                                                                                                                                                           Resource: S -BJT-201 (INT)
                                                                                                                                                                                                                                             Impact Type: Fill or Dredge            Habitat A lteration
                                                                                                                                                                                                                                             Impact Length: 128 feet                Fill or Dredge
                                                                                                                                        W-BJT-344                                                                                            Polygon Type: A-2
                                                                                                                                                                                                                                                                                    A-1 Polygon
                                                                                                                                                                                                                                                                                    A-2 Polygon

                                                                                                                                                                                                                                                                                    A-2 Impact


                                                                                                                                         W-BJT-344


                                                                                                                                                                                                                                                                                0                   150                 300

                                                                                                                                                                                                                                                                                                   Feet
                                                                                                                                                                                                                                                                                        0            30           60

                                                                                                                                                                                                                                                                                                   Meters



                                                                                                                                                                                                                                                                                               BASE MAP SOURC E:
                                                                                                                                                                                                                                                                             NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                                                               RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                                                             FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                                                               CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                      S-B JT-202                                   PACKARD BRA PAD
                                                                                                                                                                                                                                                                                       SITE PLAN
                                                                                                                                                                                                                                                                           DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                                  S-B JT-201
                                                                                                                                         Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 87 of 116




                                                                                                                                      Resource: W-MA B-032 (PE M)
                                                                                                                                        Impact Type: Fill or Dredge
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                                                                                                                                        Impact Area: 0.023 acres
                                                                                                                                        Polygon Type: A-2



                                                                                                                                                                                                                               LOCATION MAP

                                                                                                                                                                                                               LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                       Limits of D isturbance

                                                                                                                                                                                                                       Watercou rse

                                                                                                                                                                                                                       Stormw ater Feature (SF)

                                                                                                                                                                                                                       Wetland

                                                                                                                                                                                                                       Man-Induced Wetland (MIW)

                                                                                                                                                                                                                       Ope n-End
                                                                                                                                                                                                               Estim ated Im pact Area
                                                                                                                                                                      W-MAB-032
                                                                                                                                                                                                                       Transient
                                                                                                                                                                                                                       Habitat A lteration
                                                                                                                                                                                                                       Fill or Dredge
                                                                                                                                                                                                                       A-1 Polygon
                                                                                                                                                                                                                       A-2 Polygon

                                                                                                                                                                                                                       A-2 Impact




                                                                                                                                                                                                                   0                   150                 300

                                                                                                                                                                                                                                      Feet
                                                                                                                                                                                                                           0            30           60

                                                                                                                                                                                                                                      Meters



                                                                                                                                                                                                                                  BASE MAP SOURC E:
                                                                                                                                                                                                                NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                  RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                FIELD OFFIC E, 20191108


                                                                                                                                                                                                                  CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                       POTTER BRA PAD
                                                                                                                                                                                                                          SITE PLAN
                                                                                                                                                                                                              DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                   Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 88 of 116

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                                                                                                                                      S-MAB -030                                                                                         LOCATION MAP

                                                                                                                                                                                                                         LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                 Limits of D isturbance

                                                                                                                                                                                                                                 Watercou rse

                                                                                                                                                                                                                                 Stormw ater Feature (SF)

                                                                                                                                                                                                                                 Wetland

                                                                                                                                                                                                                                 Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                 Ope n-End
                                                                                                                                                                                                                         Estim ated Im pact Area
                                                                                                                                                                                                                                 Transient
                                                                                                                                                                                                                                 Habitat A lteration
                                                                                                                                                                                                                                 Fill or Dredge
                                                                                                                                                                                                                                 A-1 Polygon
                                                                                                                                                                                                                                 A-2 Polygon

                                                                                                                                                                                                                                 A-2 Impact




                                                                                                                                                                                                                             0                   150                 300

                                                                                                                                                                                                                                                Feet
                                                                                                                                                                                                                                     0            30           60

                                                                                                                                                                                                                                                Meters



                                                                                                                                                                                                                                            BASE MAP SOURC E:
                                                                                                                                                                                                                          NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                            RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                          FIELD OFFIC E, 20191108


                                                                                                                                                                                                                            CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                 POTTER BRA PAD
                                                                                                                                                                                                                                    SITE PLAN
                                                                                                                                                                                                                        DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                     Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 89 of 116




                                                                                                                                                                                                           W-WRA-016




                                                                                                                                                                                                                   Resource: W-WRA-016 (P FO)
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                                                                                                                                                                                                                     Impact Type: Habitat Alteration
                                                                                                                                                                                                                     Impact Area: 0.081 acres
                                                                                                                                                                                                                     Polygon: A-1


                                                                                                                                                                                                                                                                        LOCATION MAP

                                                                                                                                                                                                                                                        LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                                                Limits of D isturbance

                                                                                                                                                                                                                                                                Watercou rse
                                                                                                                                      MIW-W RA-007                                                                                                              Stormw ater Feature (SF)

                                                                                                                                                                                                                                                                Wetland

                                                                                                                                                                                                                                                                Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                                                Ope n-End
                                                                                                                                                                                                                                                        Estim ated Im pact Area
                                                                                                                                                                                                              W-WRA-016                                         Transient
                                                                                                                                                                                                                                                                Habitat A lteration
                                                                                                                                                                                                                                                                Fill or Dredge
                                                                                                                                                                                                                                                                A-1 Polygon

                                                                                                                                                                                                    MIW-W RA-008                                                A-2 Polygon

                                                                                                                                                                                                                                                                A-2 Impact




                                                                                                                                                                                                                                                            0                   150                 300

                                                                                                                                                                                                                                                                               Feet
                                                                                                                                                                                                      MIW-W RA-009                                                  0            30           60

                                                                                                                                                                                                                                                                               Meters



                                                                                                                                                                                                                                                                           BASE MAP SOURC E:
                                                                                                                                                                                                                                                         NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                                           RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                                         FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                                           CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                                                SARAH BRA PAD
                                                                                                                                                                                                                                                                   SITE PLAN
                                                                                                                                                                                                                                                                                                              AT

                                                                                                                                                                              W-WRA-017                                                                DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                      Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 90 of 116

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                                                                                                                                                                                                                                 LOCATION MAP

                                                                                                                                                                                                                 LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                         Limits of D isturbance

                                                                                                                                                                                                                         Watercou rse

                                                                                                                                                                                                                         Stormw ater Feature (SF)

                                                                                                                                                                                                                         Wetland

                                                                                                                                                                                                                         Man-Induced Wetland (MIW)

                                                                                                                                                                                                                         Ope n-End
                                                                                                                                                                                                                 Estim ated Im pact Area
                                                                                                                                                                                                                         Transient
                                                                                                                                                                                                                         Habitat A lteration
                                                                                                                                                                                                                         Fill or Dredge
                                                                                                                                                                                                                         A-1 Polygon
                                                                                                                                                                                                                         A-2 Polygon

                                                                                                                                                                                                                         A-2 Impact




                                                                                                                                                                                                                     0                   150                 300

                                                                                                                                                                                                 MIW-W RA-010                           Feet
                                                                                                                                                                                                                             0            30           60

                                                                                                                                                                                                                                        Meters



                                                                                                                                                                                                                                    BASE MAP SOURC E:
                                                                                                                                                                                                                  NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                    RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                  FIELD OFFIC E, 20191108


                                                                                                                                                                                                                    CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                         SARAH BRA PAD
                                                                                                                                                                                                                            SITE PLAN
                                                                                                                                                                                                                                                                       AT
                                                                                                                                                                                                                DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                                      Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 91 of 116


                                                                                                                                                                                              Resource: S -MAB-017 (INT)
                                                                                                                                                                                                Impact Type: Fill or Dredge
                                                                                                                                                                                                Impact Length: 656 feet
                                                                                                                                                                                                Polygon Type: A-2
                                                                                                                                        SF-MAB-004
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                                                                                                                                      Resource: S -MAB-016 (INT)
                                                                                                                                        Impact Type: Fill or Dredge
                                                                                                                                        Impact Length: 50 feet
                                                                                                                                        Polygon Type: A-2                                                               S-MAB -017
                                                                                                                                                                                                                                                                                               LOCATION MAP

                                                                                                                                                                                                                                                                               LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                                                                       Limits of D isturbance

                                                                                                                                                                                                                                                                                       Watercou rse

                                                                                                                                                                                                                                                                                       Stormw ater Feature (SF)

                                                                                                                                                                                                                                                                                       Wetland
                                                                                                                                                     SF-MAB-005
                                                                                                                                                                                                                                                                                       Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                                                                       Ope n-End
                                                                                                                                                                                                                                                                               Estim ated Im pact Area
                                                                                                                                                                                                                                     Resource: W-MA B-018 / W-MAB-052 (PFO)
                                                                                                                                                                                                                                       Impact Type: Fill or Dredge                     Transient
                                                                                                                                                                                                                                       Impact Area: 0.526 acres
                                                                                                                                                                                                                                                                                       Habitat A lteration
                                                                                                                                                                                                                                       Polygon Type: A-2
                                                                                                                                                                                                                                                                                       Fill or Dredge
                                                                                                                                                                                                                                                                                       A-1 Polygon
                                                                                                                                                                                                                                                                                       A-2 Polygon

                                                                                                                                                                                                                                                                                       A-2 Impact
                                                                                                                                                                                                                                     Resource: W-MA B-052 (PFO)
                                                                                                                                                                                                                                       Impact Type: Habitat Alteration
                                                                                                                                                   W-MAB-018                                                                           Impact Area: 0.022 acres
                                                                                                                                                                                                                                       Polygon Type: A-2

                                                                                                                                                                                                                                                                                   0                   150                 300

                                                                                                                                                                                                                                                                                                      Feet
                                                                                                                                                                                                                                                                                           0            30           60

                                                                                                                                                                                                                                     W-MAB-052                                                        Meters



                                                                                                                                                                                                                                                                                                  BASE MAP SOURC E:
                                                                                                                                                                                                                                                                                NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                                                                  RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                                                                FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                                                                  CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                                                                       SGL 289B BRA PAD
                                                                                                                                                                                                                                                                                           SITE PLAN
                                                                                                                                                                                                                                                                                                                                     W
                                                                                                                                                                                                                                                                              DATE: 12/18/2020               1 INCH = 150 FEET

                                                                                                                                                                                                        MIW-MAB -008
                                                                                                                                                                        Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 92 of 116




                                                                                                                                                                          Resource: S -MAB-010 (P ER)
                                                                                                                                                                            Impact Type: Fill or Dredge
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                                                                                                                                                                            Impact Length: 99 feet
                                                                                                                                                                            Polygon Type: A-2               Resource: S -MAB-012 (P ER)
                                                                                                                                                                                                              Impact Type: Fill or Dredge
                                                                                                                                                                                                              Impact Length: 57 feet
                                                                                                                                                                                                              Polygon Type: A-2                                            LOCATION MAP


                                                                                                                                      S-MAB -010                                                                                                           LEGEND (FEATURES WHEN PR ESENT)
                                                                                                                                                                                                              S-MAB -012
                                                                                                                                                                                                                                                                   Limits of D isturbance

                                                                                                                                                                                                                                                                   Watercou rse

                                                                                                                                                                                                                                                                   Stormw ater Feature (SF)

                                                                                                                                                                                                                                                                   Wetland

                                                                                                                                                                                                                                                                   Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                                                   Ope n-End

                                                                                                                                                   Resource: S -MAB-011 (PER)                                                                              Estim ated Im pact Area
                                                                                                                                                     Impact Type: Fill or Dredge                                                                                   Transient
                                                                                                                                                     Impact Length: 112 feet
                                                                                                                                                     Polygon Type: A-2                                                                                             Habitat A lteration
                                                                                                                                                                                                                                                                   Fill or Dredge
                                                                                                                                                                                                                                                                   A-1 Polygon
                                                                                                                                                                    S-MAB -011                                                                                     A-2 Polygon

                                                                                                                                                                                                                                                                   A-2 Impact




                                                                                                                                                                                                                                             S-MAB -016
                                                                                                                                                                                                          SF-MAB-003
                                                                                                                                                                                                                                                               0                   150                 300

                                                                                                                                                                                                                                                                                  Feet
                                                                                                                                                                                                                                                                       0            30           60

                                                                                                                                                                                                                                                                                  Meters



                                                                                                                                                                                                                                                                              BASE MAP SOURC E:
                                                                                                                                                                                                                                                            NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                                              RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                                            FIELD OFFIC E, 20191108


                                                                                                                                                                                                               SF-MAB-004                                     CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                                                   SGL 289B BRA PAD
                                                                                                                                                                                                                                                                       SITE PLAN
                                                                                                                                                                                                                                                                                                                 W
                                                                                                                                                                                                            Resource: S -MAB-016 (INT)                    DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                                                                              Impact Type: Fill or Dredge
                                                                                                                                                                                                              Impact Length: 50 feet
                                                                                                                                                                                                              Polygon Type: A-2
                                                                                                                                                                                         Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 93 of 116

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                                                                                                                                                       Resource: W-MA B-014 (PS S)                                             MIW-MAB -005
                                                                                                                                                         Impact Type: Fill or Dredge            S-MAB -008
                                                                                                                                                         Impact Area: 0.025 acres                                                                                                                         LOCATION MAP
                                                                                                                                                         Polygon Type: A-2
                                                                                                                                      W-MAB-014                                                                                                                                           LEGEND (FEATURES WHEN PR ESENT)
                                                                                                                                                                                                                                                         Resource: S -MAB-009 (P ER)
                                                                                                                                                                                                                                                                                                  Limits of D isturbance
                                                                                                                                                                                                                                                           Impact Type: Fill or Dredge
                                                                                                                                                                                                                                                           Impact Length: 106 feet                Watercou rse
                                                                                                                                                                                                                                                           Polygon Type: A-2
                                                                                                                                                                                                                                                                                                  Stormw ater Feature (SF)

                                                                                                                                                                                                                                                                                                  Wetland

                                                                                                                                                                                                                                                                                                  Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                                                                                  Ope n-End
                                                                                                                                                                                                                                                                                          Estim ated Im pact Area
                                                                                                                                                                                                                                                                                                  Transient
                                                                                                                                                                                                                                                                                                  Habitat A lteration
                                                                                                                                                                                                                                                                                                  Fill or Dredge
                                                                                                                                                                                                             MIW-MAB -004                                           S-MAB -009                    A-1 Polygon
                                                                                                                                                                                                                                                                                                  A-2 Polygon
                                                                                                                                                              Resource: S -MAB-008 (INT)                                                                                                          A-2 Impact
                                                                                                                                                                Impact Type: Fill or Dredge
                                                                                                                                                                Impact Length: 167 feet
                                                                                                                                          S-MAB -007            Polygon Type: A-2


                                                                                                                                                                                                                                                                                              0                   150                 300

                                                                                                                                                                                                                                                                                                                 Feet
                                                                                                                                                                                                                                                                                                      0            30           60

                                                                                                                                                                                                                                                                                                                 Meters



                                                                                                                                                                                                                                                                                                             BASE MAP SOURC E:
                                                                                                                                                                                                                                                                                           NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                                                                             RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                                                                           FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                                  S-MAB -010                                 CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                                                                                  SGL 289B BRA PAD
                                                                                                                                                                                                                                                                                                      SITE PLAN
                                                                                                                                                                                                                                                                                                                                                W
                                                                                                                                                                                                                                                                                         DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                                      Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 94 of 116

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                                                                                                                                                                                             W-DHB-002
                                                                                                                                                                                                                                                            LOCATION MAP
                                                                                                                                      Resource: W-DHB-002 (P EM)
                                                                                                                                        Impact Type: Fill or Dredge                                                                         LEGEND (FEATURES WHEN PR ESENT)
                                                                                                                                        Impact Area: 0.047 acres
                                                                                                                                                                                                                                                    Limits of D isturbance
                                                                                                                                        Polygon Type: A-1
                                                                                                                                                                                                                                                    Watercou rse

                                                                                                                                                                                                                                                    Stormw ater Feature (SF)

                                                                                                                                                                                                                                                    Wetland

                                                                                                                                                                                                                                                    Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                                    Ope n-End
                                                                                                                                                                                                                                            Estim ated Im pact Area
                                                                                                                                                                                                                                                    Transient
                                                                                                                                                                                                                                                    Habitat A lteration
                                                                                                                                                                                                                                                    Fill or Dredge
                                                                                                                                                                                                                                                    A-1 Polygon
                                                                                                                                                                                                                                                    A-2 Polygon

                                                                                                                                                                                                                                                    A-2 Impact




                                                                                                                                                                                                                                                0                   150                 300

                                                                                                                                                                                                                                                                   Feet
                                                                                                                                                                                                                                                        0            30           60

                                                                                                                                                                                                                                                                   Meters



                                                                                                                                                                                                                                                               BASE MAP SOURC E:
                                                                                                                                                                                                                                             NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                               RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                            W-DHB-003                                                        FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                               CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                                   STEMPEL BRA PAD
                                                                                                                                                                                                                                                       SITE PLAN
                                                                                                                                                                                                                                           DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                                                         Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 95 of 116

                                                                                                                                                                                                  W-WRA-025



                                                                                                                                      W-WRA-026
                                                                                                                                                                                                                      W-WRA-025


                                                                                                                                       W-WRA-026

                                                                                                                                                                                                                        W-WRA-025
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                                                                                                                                        W-WRA-026


                                                                                                                                                                                                                                                                                                                LOCATION MAP

                                                                                                                                                                                                                                                                                                LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                                                                                        Limits of D isturbance
                                                                                                                                                                                                                           Resource: W-WRA-025 (P FO)
                                                                                                                                                                                                                             Impact Type: Habitat Alteration                                            Watercou rse
                                                                                                                                                                                                                             Impact Area: 0.458 acres
                                                                                                                                                                                                                                                                                                        Stormw ater Feature (SF)
                                                                                                                                                                                                                             Polygon Type: A-1
                                                                                                                                                                                                                                                                                                        Wetland

                                                                                                                                                                                                                                                                                                        Man-Induced Wetland (MIW)
                                                                                                                                                                                                                      Resource: W-WRA-025 (P FO)
                                                                                                                                                                                                                                                                                                        Ope n-End
                                                                                                                                                                                                                        Impact Type: Fill or Dredge
                                                                                                                                                                                                                        Impact Area: 0.125 acres                                                Estim ated Im pact Area
                                                                                                                                                                                                                        Polygon Type: A-2
                                                                                                                                                                                                                                                                                                        Transient
                                                                                                                                                                                                                                                                                                        Habitat A lteration
                                                                                                                                                                                                                                                                                                        Fill or Dredge

                                                                                                                                                                                                                                                  W-WRA-024                                             A-1 Polygon
                                                                                                                                                                                                                                                                                                        A-2 Polygon

                                                                                                                                                                                                                                                               Resource: W-WRA-024 (P EM)               A-2 Impact
                                                                                                                                                                                                                                                                 Impact Type: Fill or Dredge
                                                                                                                                                                                                                                                                 Impact Area: 0.092 acres
                                                                                                                                                                                                                                                                 Polygon Type: A-2
                                                                                                                                      Resource: W-WRA-026 (P FO)
                                                                                                                                        Impact Type: Habitat Alteration
                                                                                                                                        Impact Area: 0.329 acres                                                                                                                                    0                   150                 300
                                                                                                                                        Polygon Type: A-1
                                                                                                                                                                                                                                                                                                                       Feet
                                                                                                                                                                                                               W-WRA-022
                                                                                                                                                                                                                                                                  W-WRA-023                                 0            30           60
                                                                                                                                                         Resource: W-WRA-026 (P FO)
                                                                                                                                                           Impact Type: Fill or Dredge                                                                                                                                 Meters
                                                                                                                                                           Impact Area: 0.068 acres
                                                                                                                                                           Polygon Type: A-2
                                                                                                                                                                                                                                                                                                                   BASE MAP SOURC E:
                                                                                                                                                                                                                                                                                                 NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                                                                                   RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                                                                                 FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                                                                                   CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                                                                                         THALL BRA PAD
                                                                                                                                                                                                                                                                                                           SITE PLAN
                                                                                                                                                                                                   Resource: W-WRA-022 / W-WRA-023 (PEM)
                                                                                                                                                                                                                                                                                               DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                                                                     Impact Type: Fill or Dredge
                                                                                                                                                                                                     Impact Area: 0.090 acres
                                                                                                                                                                                                     Polygon Type: A-2
                                                                                                                                                            Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 96 of 116




                                                                                                                                                          S-S LH-019
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                                                                                                                                                                                                                                                  LOCATION MAP

                                                                                                                                                                                                                                  LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                          Limits of D isturbance

                                                                                                                                                                                                                                          Watercou rse

                                                                                                                                                                                                                                          Stormw ater Feature (SF)

                                                                                                                                                                                                                                          Wetland
                                                                                                                                      Resource: W-SLH-052 (PE M)
                                                                                                                                                                                                                                          Man-Induced Wetland (MIW)
                                                                                                                                        Impact Type: Fill or Dredge
                                                                                                                                        Impact Area: 0.093 acres                                                                          Ope n-End
                                                                                                                                        Polygon Type: A-2                                      W-SLH-052                          Estim ated Im pact Area
                                                                                                                                                                                                                                          Transient
                                                                                                                                                                                                                                          Habitat A lteration
                                                                                                                                                                                                                                          Fill or Dredge
                                                                                                                                                                                                                                          A-1 Polygon
                                                                                                                                                                                                                                          A-2 Polygon

                                                                                                                                                                                                                                          A-2 Impact




                                                                                                                                                                                                                                      0                   150                 300

                                                                                                                                                                                                                                                         Feet
                                                                                                                                                                                                                                              0            30           60

                                                                                                                                                                                                                                                         Meters



                                                                                                                                                                                                                                                     BASE MAP SOURC E:
                                                                                                                                                                                                                                   NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                     RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                   FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                     CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                           WALT BRA PAD
                                                                                                                                                                                                                                             SITE PLAN
                                                                                                                                                                                                                                 DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                   Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 97 of 116

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                                                                                                                                                                                                                                                  LOCATION MAP

                                                                                                                                                                                                                                  LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                          Limits of D isturbance

                                                                                                                                                                                                                                          Watercou rse

                                                                                                                                                                                                                                          Stormw ater Feature (SF)

                                                                                                                                                                                                                                          Wetland

                                                                                                                                                                                                                                          Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                          Ope n-End
                                                                                                                                                                                                                                  Estim ated Im pact Area
                                                                                                                                                                                                                                          Transient
                                                                                                                                                                                                                                          Habitat A lteration
                                                                                                                                                                                                                                          Fill or Dredge

                                                                                                                                      S-S LH-020                                                                                          A-1 Polygon
                                                                                                                                                                                                                                          A-2 Polygon

                                                                                                                                                                                                                                          A-2 Impact




                                                                                                                                                                                                                                      0                   150                 300

                                                                                                                                                                                                                                                         Feet
                                                                                                                                                                                                                                              0            30           60

                                                                                                                                                                                                                                                         Meters



                                                                                                                                                                                                                                                     BASE MAP SOURC E:
                                                                                                                                                                                                                                   NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                     RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                    S-S LH-019                     FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                     CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                           WALT BRA PAD
                                                                                                                                                                                                                                             SITE PLAN
                                                                                                                                                                                                                                 DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                       Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 98 of 116


                                                                                                                                                                                                                            S-S LH-020
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                                                                                                                                                      S-S LH-021

                                                                                                                                                                                                                                                          LOCATION MAP

                                                                                                                                                                                                                                          LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                                  Limits of D isturbance

                                                                                                                                                                                                                                                  Watercou rse

                                                                                                                                                                                                                                                  Stormw ater Feature (SF)

                                                                                                                                                                                                                                                  Wetland

                                                                                                                                      S-S LH-022                                                                                                  Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                                  Ope n-End
                                                                                                                                                                                                                                          Estim ated Im pact Area
                                                                                                                                                                                                                                                  Transient
                                                                                                                                                                                                                                                  Habitat A lteration
                                                                                                                                                                                                                                                  Fill or Dredge
                                                                                                                                                                                                                                                  A-1 Polygon
                                                                                                                                                                                                                                                  A-2 Polygon

                                                                                                                                                                                                                                                  A-2 Impact




                                                                                                                                                                                                                                              0                   150                 300

                                                                                                                                                                                                                                                                 Feet
                                                                                                                                                                                                                                                      0            30           60

                                                                                                                                                                                                                                                                 Meters



                                                                                                                                                                                                                                                             BASE MAP SOURC E:
                                                                                                                                                                                                                                           NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                             RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                           FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                             CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                                   WALT BRA PAD
                                                                                                                                                                                                                                                     SITE PLAN

                                                                                                                                                   S-S LH-024                                                                            DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                      Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 99 of 116

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                                                                                                                                                                                                                            LOCATION MAP

                                                                                                                                                                                                            LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                    Limits of D isturbance

                                                                                                                                                                                                                    Watercou rse

                                                                                                                                                                                                                    Stormw ater Feature (SF)

                                                                                                                                                                                                                    Wetland

                                                                                                                                                                                                                    Man-Induced Wetland (MIW)

                                                                                                                                                                                                                    Ope n-End
                                                                                                                                                                                                            Estim ated Im pact Area
                                                                                                                                                                                                                    Transient
                                                                                                                                                                                                                    Habitat A lteration
                                                                                                                                                                                                                    Fill or Dredge
                                                                                                                                                                                                                    A-1 Polygon
                                                                                                                                                                                                                    A-2 Polygon

                                                                                                                                                                                                                    A-2 Impact




                                                                                                                                                                                                                0                   150                 300

                                                                                                                                                                                                                                   Feet
                                                                                                                                                                                                                        0            30           60

                                                                                                                                                                                                                                   Meters



                                                                                                                                                                             Resource: W-SLH-102 (PE M)                        BASE MAP SOURC E:
                                                                                                                                                                               Impact Type: Transient        NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                               Impact Area: 0.148 acres
                                                                                                                                                                                                               RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                             FIELD OFFIC E, 20191108
                                                                                                                                                                               Polygon Type: A-2
                                                                                                                                           W-SLH-102
                                                                                                                                                                                                               CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                    WASYL BRA PAD
                                                                                                                                                                                                                       SITE PLAN
                                                                                                                                                                                                           DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                                 Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 100 of 116




                                                                                                                                                                                 Resource: W-MA B-051 (PE M)
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                                                                                                                                                                                   Impact Type: Transient
                                                                                                                                                                                   Impact Area: 0.069 acres
                                                                                                                                                                                   Polygon Type: A-2

                                                                                                                                                     W-MAB-051                                                                                          LOCATION MAP
                                                                                                                                                                                         Resource: W-MA B-051 (PE M)
                                                                                                                                                                                           Impact Type: Fill or Dredge
                                                                                                                                                                                                                                        LEGEND (FEATURES WHEN PR ESENT)
                                                                                                                                                                                           Impact Area: 0.030 acres
                                                                                                                                                                                           Polygon Type: A-2                                    Limits of D isturbance

                                                                                                                                                                                                                                                Watercou rse

                                                                                                                                                                                                                                                Stormw ater Feature (SF)
                                                                                                                                      MIW-MAB -020
                                                                                                                                                                                                                                                Wetland

                                                                                                                                                                                                                                                Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                                Ope n-End
                                                                                                                                                                                                                                        Estim ated Im pact Area
                                                                                                                                                                                                                                                Transient
                                                                                                                                                                                                                                                Habitat A lteration
                                                                                                                                                                                                                                                Fill or Dredge
                                                                                                                                                                                                                                                A-1 Polygon
                                                                                                                                                                                                                                                A-2 Polygon

                                                                                                                                                                                                                                                A-2 Impact

                                                                                                                                        S-MAB -036



                                                                                                                                                                                                                                            0                   150                 300

                                                                                                                                                                                                                                                               Feet
                                                                                                                                                                                                                                                    0            30           60
                                                                                                                                                                                                                  S-MAB -037
                                                                                                                                                                                                                                                               Meters



                                                                                                                                                                                                                                                           BASE MAP SOURC E:
                                                                                                                                                                                                                                         NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                           RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                         FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                           CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                               BEDFORD SUL PAD
                                                                                                                                                                                                                                                   SITE PLAN
                                                                                                                                                                                                                                       DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                             Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 101 of 116

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                                                                                                                                                                                                                                            LOCATION MAP

                                                                                                                                                                                                                            LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                    Limits of D isturbance

                                                                                                                                                                                                                                    Watercou rse
                                                                                                                                                                                           Resource: W-BJT-266 (PEM)                Stormw ater Feature (SF)
                                                                                                                                                                                             Impact Type: Fill or Dredge
                                                                                                                                                                                             Impact Area: 0.064 acres               Wetland
                                                                                                                                                                                             Polygon Type: A-1                      Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                    Ope n-End
                                                                                                                                                                                                                            Estim ated Im pact Area
                                                                                                                                                                                             Resource: W-BJT-266 (PEM)
                                                                                                                                                                                                                                    Transient
                                                                                                                                                                                               Impact Type: Transient
                                                                                                                                                                                               Impact Area: 0.021 acres             Habitat A lteration
                                                                                                                                                                                               Polygon Type: A-1
                                                                                                                                                                                                                                    Fill or Dredge
                                                                                                                                                                                                                                    A-1 Polygon
                                                                                                                                                                                                                                    A-2 Polygon

                                                                                                                                                                                                                                    A-2 Impact




                                                                                                                                                                                                                                0                   150                 300

                                                                                                                                                                                                                                                   Feet
                                                                                                                                                                                                                                        0            30           60

                                                                                                                                                                                                                                                   Meters


                                                                                                                                      MIW-B JT-267
                                                                                                                                                                                         W-BJT-266
                                                                                                                                                                                                                                               BASE MAP SOURC E:
                                                                                                                                                           W-BJT-266                                                         NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                               RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                             FIELD OFFIC E, 20191108


                                                                                                                                                                                                                               CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                    YENGO SUL PAD
                                                                                                                                                                                                                                       SITE PLAN
                                                                                                                                                                                                                           DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                      Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 102 of 116

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                                                                                                                                                                                                                                                          LOCATION MAP

                                                                                                                                                                                                                                          LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                                  Limits of D isturbance

                                                                                                                                                                                                                                                  Watercou rse

                                                                                                                                                                                                                                                  Stormw ater Feature (SF)

                                                                                                                                                                                                                                                  Wetland

                                                                                                                                                                                                                                                  Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                                  Ope n-End
                                                                                                                                                                                                                                          Estim ated Im pact Area
                                                                                                                                                                                                                                                  Transient
                                                                                                                                                                                                                                                  Habitat A lteration
                                                                                                                                                                                                                                                  Fill or Dredge
                                                                                                                                                                                                                                                  A-1 Polygon
                                                                                                                                                                                                                                                  A-2 Polygon

                                                                                                                                                                                                                                                  A-2 Impact




                                                                                                                                                                                                                                              0                   150                 300

                                                                                                                                                                                                                                                                 Feet
                                                                                                                                                                            W-SLH-030                                                                 0            30           60

                                                                                                                                                                                                                                                                 Meters



                                                                                                                                                                                                                                                             BASE MAP SOURC E:
                                                                                                                                                                                                                                           NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                             RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                           FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                             CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                               DECKER FARMS SUS PAD
                                                                                                                                                                                                                                                     SITE PLAN
                                                                                                                                                                                                            Resource: W-SLH-030 (PE M)
                                                                                                                                                                                                                                         DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                                                                              Impact Type: Transient
                                                                                                                                                                                                              Impact Area: 0.003 acres
                                                                                                                                                                                                              Polygon Type: A-1
                                                                                                                                      Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 103 of 116




                                                                                                                                           W-SLH-030
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                                                                                                                                                                                                                             LOCATION MAP

                                                                                                                                                                                                             LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                     Limits of D isturbance

                                                                                                                                                                                                                     Watercou rse
                                                                                                                                                                          Resource: W-SLH-030 (PE M)
                                                                                                                                                                            Impact Type: Transient                   Stormw ater Feature (SF)
                                                                                                                                                                            Impact Area: 0.003 acres
                                                                                                                                                                                                                     Wetland
                                                                                                                                                                            Polygon Type: A-1
                                                                                                                                                                                                                     Man-Induced Wetland (MIW)

                                                                                                                                                                                                                     Ope n-End
                                                                                                                                                                                                             Estim ated Im pact Area
                                                                                                                                                                                                                     Transient
                                                                                                                                                                                                                     Habitat A lteration
                                                                                                                                                                                                                     Fill or Dredge
                                                                                                                                                                                                                     A-1 Polygon
                                                                                                                                                                                                                     A-2 Polygon

                                                                                                                                                                                                                     A-2 Impact




                                                                                                                                                                                                                 0                   150                 300

                                                                                                                                                                                                                                    Feet
                                                                                                                                                                                                                         0            30           60

                                                                                                                                                                                                                                    Meters

                                                                                                                                                          MIW-S LH -004
                                                                                                                                                                                                                                BASE MAP SOURC E:
                                                                                                                                                                                                              NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                              FIELD OFFIC E, 20191108


                                                                                                                                                                                                                CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                  DECKER FARMS SUS PAD
                                                                                                                                                                                                                        SITE PLAN
                                                                                                                                                                                                            DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                                    Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 104 of 116

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                                                                                                                                       Resource: W-JLK-192 (PEM)
                                                                                                                                         Impact Type: Transient
                                                                                                                                         Impact Area: 0.071 acres
                                                                                                                                         Polygon Type: A-1
                                                                                                                                                                                                                        MIW-JLK-189                        LOCATION MAP

                                                                                                                                                                                                                                           LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                                   Limits of D isturbance

                                                                                                                                                                                                                                                   Watercou rse

                                                                                                                                                                                                                                                   Stormw ater Feature (SF)

                                                                                                                                                                                                                                                   Wetland

                                                                                                                                                                                                                                                   Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                                   Ope n-End
                                                                                                                                                                                                                                           Estim ated Im pact Area
                                                                                                                                                                                                                                                   Transient
                                                                                                                                      W-JLK-194
                                                                                                                                                                                                                                                   Habitat A lteration
                                                                                                                                                                                                                     MIW-JLK-190                   Fill or Dredge
                                                                                                                                                                                                                                                   A-1 Polygon
                                                                                                                                                                                                                                                   A-2 Polygon

                                                                                                                                                                                                                                                   A-2 Impact
                                                                                                                                             MIW-JLK-193



                                                                                                                                                                                               W-JLK-192
                                                                                                                                                                                                                                               0                   150                 300

                                                                                                                                                                                                                                                                  Feet
                                                                                                                                      S-JLK-069                                                                                                        0            30           60

                                                                                                                                                                                                                                                                  Meters



                                                                                                                                                                                                                                                              BASE MAP SOURC E:
                                                                                                                                                                                                                                            NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                              RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                            FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                              CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                                 GREGERSON SUS PAD
                                                                                                                                                                                                                                                      SITE PLAN
                                                                                                                                                                                                                                          DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                          MIW-JLK-193

                                                                                                                                                   Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 105 of 116
                                                                                                                                                                                                                 W-JLK-192



                                                                                                                                                   S-JLK-069
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                                                                                                                                                                                                                                              LOCATION MAP

                                                                                                                                                                                                                              LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                      Limits of D isturbance

                                                                                                                                                                                                                                      Watercou rse

                                                                                                                                                                                                                                      Stormw ater Feature (SF)

                                                                                                                                                                                                                                      Wetland

                                                                                                                                                                                                                                      Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                      Ope n-End
                                                                                                                                                                                                                              Estim ated Im pact Area
                                                                                                                                                                                                                                      Transient
                                                                                                                                                                                                                                      Habitat A lteration
                                                                                                                                                                                                                                      Fill or Dredge
                                                                                                                                                                                                                                      A-1 Polygon
                                                                                                                                                                                                                                      A-2 Polygon

                                                                                                                                                                                 Resource: S -MAB-055 (INT)                           A-2 Impact
                                                                                                                                      S-MAB -055
                                                                                                                                                                                   Impact Type: Fill or Dredge
                                                                                                                                                                                   Impact Length: 57 feet
                                                                                                                                                                                   Polygon Type: A-2


                                                                                                                                                                                                                                  0                   150                 300

                                                                                                                                                                                                                                                     Feet
                                                                                                                                                                                                                                          0            30           60

                                                                                                                                                                                                                                                     Meters



                                                                                                                                                                                                                                                 BASE MAP SOURC E:
                                                                                                                                                                                                                               NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                 RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                               FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                 CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                    GREGERSON SUS PAD
                                                                                                                                                                                                                                         SITE PLAN
                                                                                                                                                                                                                             DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                      Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 106 of 116

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                                                                                                                                                                                                                                             LOCATION MAP
                                                                                                                                        MIW-JLK-195
                                                                                                                                                                                                                             LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                     Limits of D isturbance

                                                                                                                                                                                                                                     Watercou rse

                                                                                                                                                                                                                                     Stormw ater Feature (SF)
                                                                                                                                      MIW-JLK-196
                                                                                                                                                                                                                                     Wetland

                                                                                                                                                                                                                                     Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                     Ope n-End
                                                                                                                                                                                                                             Estim ated Im pact Area
                                                                                                                                                                                                                                     Transient
                                                                                                                                                                                                                                     Habitat A lteration
                                                                                                                                                                                                                                     Fill or Dredge
                                                                                                                                                                                                                                     A-1 Polygon
                                                                                                                                                                                                                                     A-2 Polygon

                                                                                                                                                                                                                                     A-2 Impact




                                                                                                                                                                                                                                 0                   150                 300

                                                                                                                                                                                                                                                    Feet
                                                                                                                                                                                                                                         0            30           60

                                                                                                                                                                                                                                                    Meters



                                                                                                                                                                                                                                                BASE MAP SOURC E:
                                                                                                                                                                                                                              NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                              FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                       LRJ SUS PAD
                                                                                                                                                                                                                                        SITE PLAN
                                                                                                                                                                                                                            DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                                      MIW-JLK-197
                                                                                                                                      Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 107 of 116

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                                                                                                                                                                                                                                                                  LOCATION MAP

                                                                                                                                                                                                                                                  LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                             Resource: W-JLK-198 (PFO)                                                    Limits of D isturbance
                                                                                                                                                                               Impact Type: Habitat Alteration
                                                                                                                                                                                                                                                          Watercou rse
                                                                                                                                                                               Impact Area: 0.031 acres
                                                                                                                                                                               Polygon Type: A-1                                                          Stormw ater Feature (SF)

                                                                                                                                                                                                                                                          Wetland
                                                                                                                                                                                                                  W-JLK-198
                                                                                                                                                        W-JLK-198                                                                                         Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                                          Ope n-End
                                                                                                                                                                                                                                                  Estim ated Im pact Area
                                                                                                                                                                                                                                                          Transient
                                                                                                                                                                                                                                                          Habitat A lteration
                                                                                                                                                                                                                                                          Fill or Dredge
                                                                                                                                                                                                                                                          A-1 Polygon
                                                                                                                                                                                                                                                          A-2 Polygon

                                                                                                                                                                                                                                                          A-2 Impact




                                                                                                                                                              Resource: W-JLK-198 (PEM)                          Resource: W-JLK-198 (PFO)
                                                                                                                                                                Impact Type: Transient                             Impact Type: Fill or Dredge
                                                                                                                                                                Impact Area: 0.010 acres                           Impact Area: 0.331 acres           0                   150                 300
                                                                                                                                                                Polygon Type: A-1                                  Polygon Type: A-2
                                                                                                                                                                                                                                                                         Feet
                                                                                                                                                                                                                                                              0            30           60

                                                                                                                                                                                                                                                                         Meters



                                                                                                                                                                                                                                                                     BASE MAP SOURC E:
                                                                                                                                                                                                                                                   NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                                     RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                                   FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                                     CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                                            LRJ SUS PAD
                                                                                                                                                                                                                                                             SITE PLAN
                                                                                                                                                                                                                                                 DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                    Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 108 of 116


                                                                                                                                          Resource: McGavin_2 (P FO)
                                                                                                                                            Impact Type: Habitat Alteration
                                                                                                                                            Impact Area: 0.030 acres
                                                                                                                                            Polygon Type: A-1
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                                                                                                                                        Resource: McGavin_3 (P FO)
                                                                                                                                          Impact Type: Habitat Alteration
                                                                                                                                          Impact Area: 0.090 acres                                              Resource: McGavin_1B (P EM)
                                                                                                                                          Polygon Type: A-1                                                       Impact Type: Fill or Dredge
                                                                                                                                                                                                                  Impact Area: 0.120 acres                             LOCATION MAP
                                                                                                                                                                                                                  Polygon Type: A-2
                                                                                                                                                                                                                                                       LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                                               Limits of D isturbance

                                                                                                                                                                                                                                                               Watercou rse

                                                                                                                                                                                                                                                               Stormw ater Feature (SF)

                                                                                                                                                                                                                                                               Wetland
                                                                                                                                                                                                                      Resource: McGavin_1A (PEM)
                                                                                                                                                                                                                                                               Man-Induced Wetland (MIW)
                                                                                                                                                                                                                        Impact Type: Fill or Dredge
                                                                                                                                                                                                                        Impact Area: 0.520 acres               Ope n-End
                                                                                                                                                                                                                        Polygon Type: A-2
                                                                                                                                                                                                                                                       Estim ated Im pact Area
                                                                                                                                                        MIW-JMG-001                                                                                            Transient
                                                                                                                                                                                                                                                               Habitat A lteration
                                                                                                                                                                                                                                                               Fill or Dredge
                                                                                                                                                                                                                                                               A-1 Polygon
                                                                                                                                                                                                                                                               A-2 Polygon

                                                                                                                                                                                                                                                               A-2 Impact




                                                                                                                                                                                                                                                           0                   150                 300

                                                                                                                                                                                                                                                                              Feet
                                                                                                                                                                                                                                                                   0            30           60

                                                                                                                                                                                                                                                                              Meters



                                                                                                                                                                                                                                                                          BASE MAP SOURC E:

                                                                                                                                      W-GJM-001
                                                                                                                                                                                                                                                        NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                                          RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                                        FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                                          CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                                              MCGAVIN SUS PAD
                                                                                                                                                                                                                                                                  SITE PLAN
                                                                                                                                                                                                                                                      DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                                 Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 109 of 116

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                                                                                                                                                                                                                                                        LOCATION MAP

                                                                                                                                                                                                                                        LEGEND (FEATURES WHEN PR ESENT)
                                                                                                                                      MIW-W RA-024
                                                                                                                                                                                                                                                Limits of D isturbance

                                                                                                                                                                                                                                                Watercou rse

                                                                                                                                                                                                                                                Stormw ater Feature (SF)

                                                                                                                                                                                                                                                Wetland

                                                                                                                                                                                                                                                Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                                Ope n-End
                                                                                                                                                                                                                                        Estim ated Im pact Area
                                                                                                                                                                                                                                                Transient
                                                                                                                                                                                                                                                Habitat A lteration
                                                                                                                                                                                                                                                Fill or Dredge
                                                                                                                                                                                                                                                A-1 Polygon
                                                                                                                                                                                                                                                A-2 Polygon

                                                                                                                                                                                                                                                A-2 Impact




                                                                                                                                                                                                                                            0                   150                 300

                                                                                                                                                                                              Resource: W-WRA-043 (P FO)                                       Feet
                                                                                                                                                                                                Impact Type: Transient                              0            30           60
                                                                                                                                                                                                Impact Area: 0.019 acres
                                                                                                                                                                                                Polygon Type: A-1                                              Meters



                                                                                                                                                                                                                                                           BASE MAP SOURC E:
                                                                                                                                                                                                                                         NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                     W-WRA-043                                                                             RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                         FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                           CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                               NICKOLYN SUS PAD
                                                                                                                                                                                                                                                   SITE PLAN
                                                                                                                                                                                                                                       DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                  Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 110 of 116

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                                                                                                                                                                                                                                         LOCATION MAP

                                                                                                                                                                                                                         LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                 Limits of D isturbance

                                                                                                                                                                                                                                 Watercou rse

                                                                                                                                                                                                                                 Stormw ater Feature (SF)

                                                                                                                                                                                                                                 Wetland

                                                                                                                                                                                                                                 Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                 Ope n-End
                                                                                                                                                                                                                         Estim ated Im pact Area
                                                                                                                                                                                                                                 Transient
                                                                                                                                                                                                                                 Habitat A lteration
                                                                                                                                                                                                                                 Fill or Dredge
                                                                                                                                                                                                                                 A-1 Polygon
                                                                                                                                                                                                                                 A-2 Polygon

                                                                                                                                                                                                                                 A-2 Impact




                                                                                                                                                                                                                             0                   150                 300

                                                                                                                                                                                                                                                Feet
                                                                                                                                                                                                                                     0            30           60

                                                                                                                                                                                                                                                Meters

                                                                                                                                      W-MAB-090
                                                                                                                                                                                                                                            BASE MAP SOURC E:
                                                                                                                                                                                                                          NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                            RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                          FIELD OFFIC E, 20191108

                                                                                                                                                                                       W-MAB-088
                                                                                                                                                                                                                            CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                            SUSQ 2F- SQUIER FRAC POND
                                                                                                                                                                                                                                     SITE PLAN
                                                                                                                                                                                                                        DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                                                            Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 111 of 116

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                                                                                                                                                                                                                                                                                   LOCATION MAP
                                                                                                                                                                    W-MAB-090
                                                                                                                                                                                                                                                                   LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                                                           Limits of D isturbance

                                                                                                                                                                                                                                 W-MAB-088                                 Watercou rse

                                                                                                                                                                                                                                                                           Stormw ater Feature (SF)

                                                                                                                                                                                                                                                                           Wetland

                                                                                                                                                                                                                                                                           Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                                                           Ope n-End
                                                                                                                                                                                                                                                                   Estim ated Im pact Area
                                                                                                                                                                                                                                                                           Transient
                                                                                                                                                                                                                                                                           Habitat A lteration
                                                                                                                                                                                                                                                                           Fill or Dredge
                                                                                                                                                                                                                                                                           A-1 Polygon
                                                                                                                                                                                                                                                                           A-2 Polygon

                                                                                                                                                                                                                                                                           A-2 Impact


                                                                                                                                      W-MAB-088 / W-MAB-089 / W-MAB-090 (P EM & PS S)
                                                                                                                                        Impact Type: Fill or Dredge
                                                                                                                                        Impact Area: 2.581 acres
                                                                                                                                        Polygon Type: A-1                                                                                                              0                   150                 300

                                                                                                                                                                                                                                                                                          Feet
                                                                                                                                                                                                                                                                               0            30           60

                                                                                                                                                                                                                                                                                          Meters




                                                                                                                                                                                W-MAB-089                                                                                             BASE MAP SOURC E:
                                                                                                                                                                                                                                                                    NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                                                      RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                                                    FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                                                      CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                                                      SUSQ 2F- SQUIER FRAC POND
                                                                                                                                                                                                                                                                               SITE PLAN
                                                                                                                                                                                                                                                                  DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                         Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 112 of 116




                                                                                                                                                                                       W-SLH-077
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                                                                                                                                                                                                                                                LOCATION MAP

                                                                                                                                      Resource: W-SLH-077 (PE M)                                                                LEGEND (FEATURES WHEN PR ESENT)
                                                                                                                                        Impact Type: Transient
                                                                                                                                        Impact Area: 0.002 acres                                                                        Limits of D isturbance
                                                                                                                                        Polygon Type: A-2
                                                                                                                                                                                                                                        Watercou rse

                                                                                                                                                                                                                                        Stormw ater Feature (SF)

                                                                                                                                                                                                                                        Wetland

                                                                                                                                                                                                                                        Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                        Ope n-End
                                                                                                                                                                                                                                Estim ated Im pact Area
                                                                                                                                                                                                                                        Transient
                                                                                                                                                                                                                                        Habitat A lteration
                                                                                                                                                                                                                                        Fill or Dredge
                                                                                                                                                                                                                                        A-1 Polygon
                                                                                                                                                                                                                                        A-2 Polygon

                                                                                                                                                                                                                                        A-2 Impact




                                                                                                                                                                                                                                    0                   150                 300

                                                                                                                                                                                                                                                       Feet
                                                                                                                                                                                                                                            0            30           60

                                                                                                                                                                                                                                                       Meters



                                                                                                                                                                                                                                                   BASE MAP SOURC E:
                                                                                                                                                                                                                                 NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                   RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                 FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                   CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                       CAPPUCCI WYO PAD
                                                                                                                                                                                                                                           SITE PLAN
                                                                                                                                                                                                                               DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                          Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 113 of 116

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                                                                                                                                                                                              Resource: W-SLH-054 (PFO)                            LOCATION MAP
                                                                                                                                                                                                Impact Type: Habitat Alteration
                                                                                                                                                                                                Impact Area: 0.100 acres           LEGEND (FEATURES WHEN PR ESENT)
                                                                                                                                                                                                Polygon Type: A-1
                                                                                                                                                                                                                                           Limits of D isturbance

                                                                                                                                                                                                                                           Watercou rse

                                                                                                                                                                                                                                           Stormw ater Feature (SF)

                                                                                                                                                                                                                                           Wetland

                                                                                                                                                                                                                                           Man-Induced Wetland (MIW)
                                                                                                                                                                                                                  MIW-S LH -018
                                                                                                                                                                                                                                           Ope n-End
                                                                                                                                                                                                                                   Estim ated Im pact Area
                                                                                                                                                                                                                                           Transient
                                                                                                                                                                                                                                           Habitat A lteration
                                                                                                                                                                                                                                           Fill or Dredge
                                                                                                                                                                                                                                           A-1 Polygon
                                                                                                                                                                                                               S-S LH-025
                                                                                                                                                                                                                                           A-2 Polygon

                                                                                                                                                                                                                                           A-2 Impact




                                                                                                                                                                                                                                       0                   150                 300
                                                                                                                                                                                             MIW-S LH -019
                                                                                                                                                                                                                                                          Feet
                                                                                                                                      MIW-S LH -016                                                                                            0            30           60

                                                                                                                                                                                                                                                          Meters
                                                                                                                                                                                      W-SLH-054
                                                                                                                                         W-SLH-054
                                                                                                                                                                                                                                                      BASE MAP SOURC E:
                                                                                                                                                                                                                                    NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                      RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                    FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                      CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                           DUNNY WYO PAD
                                                                                                                                                                                                                                              SITE PLAN
                                                                                                                                                                                                                                  DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                      Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 114 of 116

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                                                                                                                                                                                                                                        LOCATION MAP

                                                                                                                                                                                                                        LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                Limits of D isturbance

                                                                                                                                                                                                                                Watercou rse

                                                                                                                                                                                                                                Stormw ater Feature (SF)

                                                                                                                                                                                                                                Wetland

                                                                                                                                                                                                                                Man-Induced Wetland (MIW)
                                                                                                                                                                                          Resource: W-SLH-074 (PE M)
                                                                                                                                                                                                                                Ope n-End
                                                                                                                                                                                            Impact Type: Transient
                                                                                                                                                                                            Impact Area: 0.009 acres    Estim ated Im pact Area
                                                                                                                                                                                            Polygon Type: A-1                   Transient
                                                                                                                                                                                                                                Habitat A lteration
                                                                                                                                                                                                                                Fill or Dredge
                                                                                                                                                                                              MIW-S LH -041
                                                                                                                                                                                                                                A-1 Polygon
                                                                                                                                                                                                                                A-2 Polygon

                                                                                                                                                                                                                                A-2 Impact




                                                                                                                                                     W-SLH-074                                                              0                   150                 300

                                                                                                                                                                                                                                               Feet
                                                                                                                                                                                                                                    0            30           60
                                                                                                                                                                 S-S LH-035
                                                                                                                                                                                                                                               Meters



                                                                                                                                                                                                                                           BASE MAP SOURC E:
                                                                                                                                                                                                                         NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                           RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                         FIELD OFFIC E, 20191108


                                                                                                                                                                                                                           CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                               PENECALE WYO PAD
                                                                                                                                                                                                                                   SITE PLAN
                                                                                                                                                                                                                       DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                     Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 115 of 116




                                                                                                                                                                                                          MIW-MAB -017
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                                                                                                                                                                                           MIW-MAB -016

                                                                                                                                                                                                                                                                          LOCATION MAP
                                                                                                                                      MIW-MAB -015
                                                                                                                                                                                                                                                          LEGEND (FEATURES WHEN PR ESENT)

                                                                                                                                                                                                                                                                  Limits of D isturbance
                                                                                                                                                                                          W-MAB-040                                                               Watercou rse

                                                                                                                                                                                                                                                                  Stormw ater Feature (SF)

                                                                                                                                                                                                                                                                  Wetland

                                                                                                                                                                                                                                                                  Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                                                  Ope n-End
                                                                                                                                                                                                                                                          Estim ated Im pact Area
                                                                                                                                                                                                                                                                  Transient
                                                                                                                                                                                                                                                                  Habitat A lteration
                                                                                                                                                                                                                                                                  Fill or Dredge
                                                                                                                                                                                                                                                                  A-1 Polygon
                                                                                                                                                                                                                                                                  A-2 Polygon

                                                                                                                                                                      Resource: W-MA B-039 / W-MAB-040 (PEM)                                                      A-2 Impact
                                                                                                                                                                        Impact Type: Fill or Dredge
                                                                                                                                                                        Impact Area: 0.042 acres
                                                                                                                                                                        Polygon Type: A-2                                  Resource: W-MA B-040 (PE M)
                                                                                                                                                                                                                             Impact Type: Transient
                                                                                                                                                                                Resource: W-MA B-039 (PE M)                  Impact Area: 0.006 acres         0                   150                 300
                                                                                                                                                                                  Impact Type: Transient                     Polygon Type: A-2
                                                                                                                                                                                  Impact Area: 0.010 acres                                                                       Feet
                                                                                                                                                                                  Polygon Type: A-2                                                                   0            30           60

                                                                                                                                                                                                                                                                                 Meters
                                                                                                                                                                                                  W-MAB-039

                                                                                                                                                                                                                                                                             BASE MAP SOURC E:
                                                                                                                                                                                                                                                           NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                                             RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                                           FIELD OFFIC E, 20191108


                                                                                                                                                                                                                                                             CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                                                 WARREN WYO PAD
                                                                                                                                                                                                                                                                     SITE PLAN
                                                                                                                                                                                                                                                         DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                                                            Case 4:21-cv-00538-MWB Document 11-2 Filed 05/20/21 Page 116 of 116

                                                                                                                                                                                                W-BJT-353                           W-BJT-352




                                                                                                                                                                                                                                                               Resource: W-BJT-352 (PEM)
                                                                                                                                                                                                                                                                 Impact Type: Fill or Dredge
                                                                                                                                                                                                                                                                 Impact Area: 0.004 acres
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                                                                                                                                                                                                                                                                 Polygon Type: A-2



                                                                                                                                                                                                                                                             Resource: W-BJT-352 (PEM)
                                                                                                                                                                                                                                                               Impact Type: Transient                           LOCATION MAP
                                                                                                                                                                                                                                                               Impact Area: 0.345 acres
                                                                                                                                      Resource: W-BJT-355 / W-BJT-356 (P EM)                                                                                   Polygon Type: A-1                LEGEND (FEATURES WHEN PR ESENT)
                                                                                                                                        Impact Type: Fill or Dredge
                                                                                                                                        Impact Area: 0.434 acres                                                                                                                                        Limits of D isturbance
                                                                                                                                        Polygon Type: A-2
                                                                                                                                                                                                                                                                                                        Watercou rse

                                                                                                                                                                                                                                                                                                        Stormw ater Feature (SF)

                                                                                                                                                                                                                                                                                                        Wetland

                                                                                                                                                                                                                                                                                                        Man-Induced Wetland (MIW)

                                                                                                                                                                                                                                                                                                        Ope n-End
                                                                                                                                                                                                                                                   Resource: W-BJT-353 (PEM)                    Estim ated Im pact Area
                                                                                                                                                                                                                                                     Impact Type: Transient
                                                                                                                                                                                                                                                     Impact Area: 0.008 acres                           Transient
                                                                                                                                                                                                                                                     Polygon Type: A-1                                  Habitat A lteration
                                                                                                                                                                                                                                                                                                        Fill or Dredge
                                                                                                                                                                                                                                                                                                        A-1 Polygon
                                                                                                                                                                                                                                                 Resource: W-BJT-353 / W-BJT-356 (P EM)
                                                                                                                                                                                                                                                                                                        A-2 Polygon
                                                                                                                                                                                                                                                   Impact Type: Fill or Dredge
                                                                                                                                                   Resource: W-BJT-355 (PEM)                                                                       Impact Area: 0.246 acres                             A-2 Impact
                                                                                                                                                     Impact Type: Transient                                                                        Polygon Type: A-2
                                                                                                                                                     Impact Area: 0.023 acres
                                                                                                                                                     Polygon Type: A-1

                                                                                                                                                                                                                                                                                                    0                   150                 300

                                                                                                                                                                                                                                                                                                                       Feet
                                                                                                                                                                                                                                                                                                            0            30           60

                                                                                                                                                                                                                                                                                                                       Meters

                                                                                                                                                   W-BJT-355

                                                                                                                                                                                                                                                                                                                   BASE MAP SOURC E:
                                                                                                                                                                                                                                                                                                 NAT IONAL AGRICULTURAL IMAGERY PROGRAM ( 0.6 METER
                                                                                                                                                                                                                                                                                                   RESOLUTION) 2019. USDA-FSA AERIAL PHOTOGRAPHY
                                                                                                                                                                                                                                                                                                                 FIELD OFFIC E, 20191108


                                                                                                                                                                      W-BJT-355
                                                                                                                                                                                                                                                                                                   CHESAPEAKE APPALACHIA LLC
Date Saved: 12/17/2020




                                                                                                                                                                                                                                                                                                   WYOM 5 - GUSTIN FRAC POND
                                                                                                                                                                                                                                                                                                            SITE PLAN
                                                                                                                                                                                                                                                                                               DATE: 12/18/2020               1 INCH = 150 FEET
                                                                                                                                                                                                                                      Resource: W-BJT-356 (PEM)
                                                                                                                                                                                W-BJT-356
                                                                                                                                                                                                                                        Impact Type: Transient
                                                                                                                                                                                                                                        Impact Area: 0.057 acres
                                                                                                                                                                                                                                        Polygon Type: A-1
